    Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 1 of 367




                 IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED HEALTHCARE SERVICES, INC.,
                 Plaintiff,              Case No: 19-cv-00629-CMR
     v.
                                         MDL 2724
ACTAVIS HOLDCO U.S., INC.,
ACTAVIS PHARMA, INC., ACTAVIS            FIRST AMENDED
ELIZABETH LLC, AKORN, INC.,              COMPLAINT AND DEMAND
AKORN SALES, INC., APOTEX CORP.,         FOR JURY TRIAL
ASCEND LABORATORIES, LLC,
AUROBINDO PHARMA USA, INC.,              JURY TRIAL DEMANDED
BARR PHARMACEUTICALS, LLC,
BAUSCH HEALTH AMERICAS, INC.,
BAUSCH HEALTH US, LLC,
BRECKENRIDGE                             Public Version
PHARMACEUTICAL, INC., CITRON
PHARMA, LLC, DAVA
PHARMACEUTICALS, LLC, DR.
REDDY’S LABORATORIES, INC.,
EMCURE PHARMACEUTICALS, LTD.,
ENDO INTERNATIONAL PLC, EPIC
PHARMA, LLC, FOUGERA
PHARMACEUTICALS INC.,
GENERICS BIDCO I, LLC,
GLENMARK PHARMACEUTICALS
INC., USA, G&W LABORATORIES,
INC., HERITAGE
PHARMACEUTICALS INC., HI-TECH
PHARMACAL CO., INC., IMPAX
LABORATORIES, INC., LANNETT
COMPANY, INC., LUPIN
PHARMACEUTICALS, INC., MAYNE
PHARMA INC., MORTON GROVE
PHARMACEUTICALS, INC., MUTUAL
PHARMACEUTICAL COMPANY, INC.,
MYLAN INC., MYLAN
PHARMACEUTICALS INC., MYLAN
N.V., PAR PHARMACEUTICAL, INC.,
PERRIGO NEW YORK, INC., PLIVA,
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 2 of 367




INC., SANDOZ, INC., SUN
PHARMACEUTICAL INDUSTRIES,
INC., TARO PHARMACEUTICALS
U.S.A., INC., TELIGENT, INC., TEVA
PHARMACEUTICALS USA, INC., UDL
LABORATORIES, INC., UPSHER-
SMITH LABORATORIES, LLC, WEST-
WARD PHARMACEUTICALS CORP.,
WOCKHARDT USA LLC, AND ZYDUS
PHARMACEUTICALS (USA) INC.,

                Defendants.




                       PUBLIC VERSION
        REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
       Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 3 of 367




                                         TABLE OF CONTENTS


I.      INTRODUCTION ................................................................................................ 1
II.     AT LEAST THE FOLLOWING DRUGS WERE THE SUBJECT OF THE
        CONSPIRACY..................................................................................................... 6
III.    VENUE AND JURISDICTION......................................................................... 11
IV.     PARTIES ............................................................................................................ 13
        A.      Plaintiff ..................................................................................................... 13
        B.      Defendants ................................................................................................ 16
        C.      Co-Conspirators and Agents ..................................................................... 35
V.      TRADE AND COMMERCE ............................................................................. 36
VI.     GENERIC DRUGS, THE FDCA & HATCH-WAXMAN
        AMENDMENTS ................................................................................................ 37
VII.    THE DOJ AND STATE ATTORNEYS GENERAL INVESTIGATIONS ...... 42
        A.      The DOJ is Maintaining an Active, a Broad-Ranging Criminal
                Investigation Into the Anticompetitive Conduct of Generic Drug
                Manufacturers ........................................................................................... 42
        B.      At Least 49 State Attorneys General are Separately Investigating the
                Anticompetitive Conduct in The Generic Drug Industry ......................... 50
VIII. THE GENERIC DRUG INDUSTRY WAS CHARACTERIZED BY AN
      EXTREMELY HIGH LEVEL OF COMPETITOR CONTACTS, WHICH
      FACILITATED COLLUSION BETWEEN DEFENDANTS ........................... 56
        A.      The Principles of “Playing Fair” and “Fair Share” Governed
                Defendants’ Interactions ........................................................................... 57
        B.      Defendants Used Sales Employees and Trade Association Meetings to
                Facilitate Their Collusion ......................................................................... 59
        C.      Defendants Communicated in Secret Through Email, Telephone, and
                Text Messages .......................................................................................... 86
IX.     THE CONSPIRATORIAL PRICE-FIXING AGREEMENTS ......................... 87
        A.      Acetazolamide .......................................................................................... 88
        B.      Albuterol ................................................................................................. 101
        C.      Amitriptyline .......................................................................................... 105
        D.      Baclofen .................................................................................................. 109

                                i
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
       Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 4 of 367




        E.      Benazepril HCTZ ................................................................................... 116
        F.      Clobetasol ............................................................................................... 120
        G.      Clomipramine ......................................................................................... 136
        H.      Desonide ................................................................................................. 142
        I.      Digoxin ................................................................................................... 157
        J.      Divalproex ER ........................................................................................ 161
        K.      Doxycycline ............................................................................................ 165
        L.      Econazole................................................................................................ 186
        N.      Fosinopril HCTZ .................................................................................... 226
        O.      Glipizide-Metformin ............................................................................... 233
        P.      Glyburide ................................................................................................ 237
        Q.      Glyburide-Metformin ............................................................................. 242
        R.      Leflunomide............................................................................................ 246
        S.      Levothyroxine ......................................................................................... 248
        T.      Lidocaine-Prilocaine ............................................................................... 256
        U.      Meprobamate .......................................................................................... 258
        V.      Nimodipine ............................................................................................. 262
        W.      Nystatin ................................................................................................... 269
        X.      Paromomycin .......................................................................................... 288
        Y.      Pravastatin .............................................................................................. 290
        Z.      Propranolol ............................................................................................. 300
        AA. Theophylline ER ..................................................................................... 305
        BB. Ursodiol .................................................................................................. 308
        CC. Verapamil ............................................................................................... 310
        DD. Zoledronic Acid ...................................................................................... 314
X.      THE GENERIC DRUG INDUSTRY WAS SUSCEPTIBLE TO
        COLLUSION ................................................................................................... 319
XI.     DEFENDANTS’ CONSPIRACY WAS EFFECTIVE AND IS STILL
        ONGOING ....................................................................................................... 322
XII.    DISCOVERY WILL ESTABLISH THE FULL SCOPE OF THE
        CONSPIRACY................................................................................................. 324
XIII. ANTITRUST INJURY .................................................................................... 324
                                   ii
                            PUBLIC VERSION
             REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 5 of 367




XIV. TOLLING AND FRAUDULENT CONCEALMENT .................................... 326
XV.     ANTITRUST VIOLATIONS, BY CONSPIRACY ........................................ 334
        A.      Overarching Conspiracy on All Price-Fixed Generic Drugs (All
                Defendants) ............................................................................................. 334
        B.      Individual Conspiracies by Drug ............................................................ 345
XVI. LEGAL CLAIMS FOR RELIEF AND CAUSES OF ACTION ..................... 348
        FIRST CLAIM FOR RELIEF .......................................................................... 348
        SECOND CLAIM FOR RELIEF ..................................................................... 350
        THIRD CLAIM FOR RELIEF ........................................................................ 353
        FOURTH CLAIM FOR RELIEF ..................................................................... 358
XVII. PRAYER FOR RELIEF ................................................................................... 361




                                iii
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
          Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 6 of 367




          United HealthCare Services, Inc. (“Plaintiff” or “UHS”) files this Complaint under

    the antitrust laws of the United States and the State laws as alleged in this Complaint

    against each of the above-captioned Defendants (collectively “Defendants”), and alleges

    as follows:

    I.     INTRODUCTION

           1.     This is a civil action against Defendants for violating federal and state

    antitrust laws by conspiring to fix, increase, stabilize, or maintain prices of generic

    pharmaceutical drugs in a case that continues to grow. Over steak dinners, cocktails, and

    rounds of golf, executives at the Defendant companies developed a term—“sandbox”—

    as a shorthand way to describe how they unlawfully conducted business.                The

    conspirators were expected to “play nice” in the sandbox. This was code for participation

    in an ongoing anticompetitive conspiracy: The companies agreed to fix prices and

    allocate a “fair share” in markets for generic pharmaceuticals to ensure profitability and

    undermine competition.       Rather than compete on price to gain market share,

    manufacturers throughout the generic pharmaceutical industry systematically

    communicated with one another directly to suppress competition and maintain

    anticompetitively high prices. As noted by the States’ Attorneys General at a July 11,

    2018 court conference, “this could be the largest cartel case in the history of the United

    States.”1



1
 July 11, 2018 Hrg. Tr. at 36:1-4; 48:10-16, In re Generic Pharmaceuticals Pricing
Antitrust Litig., MDL 2724 (E.D. Pa.).
                                      1
                               PUBLIC VERSION
                REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 7 of 367




       2.       UHS hereby asserts claims relating to overcharges for the following

generic drugs/products (or “drugs at issue”), including all dosages, strengths, and

formulations:

                Acetazolamide                  Glyburide
                Albuterol                      Glyburide-metformin
                Amitriptyline                  Leflunomide
                Baclofen                       Levothyroxine
                Benazepril HCTZ                Lidocaine-prilocaine
                Clobetasol                     Meprobamate
                Clomipramine                   Nimodipine
                Desonide                       Nystatin
                Digoxin                        Paromomycin
                Divalproex ER                  Pravastatin
                Doxycycline                    Propranolol
                Econazole                      Theophylline ER
                Fluocinonide                   Ursodiol
                Fosinopril HCTZ                Verapamil
                Glipizide-metformin            Zoledronic Acid

       3.       While this Complaint alleges facts and claims as to the above drugs,

Defendants’ unlawful scheme and overarching conspiracy also extends to other drugs,

including those addressed in UHS’s separate Complaints filed on October 11, 2019 and

December 15, 2020 in the District of Minnesota, and which have been (or will be)

transferred for coordinated proceedings to the Eastern District of Pennsylvania as part of

MDL 2724.




                                  2
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
          Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 8 of 367




           4.     Plaintiff UHS, together with its subsidiaries and affiliates, is the single

    largest health insurance carrier and services provider in the United States, administers

    pharmaceutical drug benefits on behalf of millions of Americans, and through its mail-

    order and specialty retail pharmacies is also a direct purchaser of the generic

    pharmaceuticals at issue.     Plaintiff seeks damages against Defendants, jointly and

    severally, injunctive relief to prevent and restrain Defendants’ continuing violations of

    the antitrust laws, and all such other relief as provided by federal law and the State laws

    asserted in this Complaint.

           5.     The existence of collusion in the generic pharmaceutical industry is well

    established at this point: the former President and the former CEO of Defendant Heritage

    have pleaded guilty to federal criminal charges of anticompetitive collusion relating to

    multiple generic drugs, and the States, which include the Attorneys General from 49

    jurisdictions (“State AGs”), have unearthed compelling evidence of widespread

    anticompetitive conduct spanning dozens of manufacturers and more than 200 drugs. 2

           6.     The unlawful and collusive conduct sweeps far broader than the guilty

    pleas, which merely define the minimum parameters of the generic drug price-fixing

    conspiracy.   Widespread anticompetitive conduct is detailed in the several civil

    enforcement actions brought by the State AGs (each of which have been incorporated




2
 The allegations set forth below are based on information currently known to UHS.
UHS reserves the right to amend this Complaint based on discovery or further
proceedings in this case.
                                            3
                                   PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 9 of 367




into MDL 2724). UHS understands that the State AGs’ investigation to date has

included: (1) the review of many thousands of documents produced by dozens of

companies and individuals throughout the generic pharmaceutical industry pursuant to

investigative demands, (2) an industry-wide phone call database consisting of more than

11 million phone call records from hundreds of individuals at various levels of the

Defendant companies and other generic manufacturers, and (3) information provided by

several as-of-yet unidentified cooperating witnesses who were directly involved in the

conduct alleged herein.

       7.     Still other economic evidence confirms the broader scope of the conspiracy

alleged in this Complaint. As alleged below, each of the generic drug price increases

covered by this Complaint is not explained by changes in supply, the costs of production,

or demand. Indeed, there are no market forces that explain the pricing of the drugs

identified in this Complaint other than collusion. Moreover, as alleged below, each of

the generic drugs at issue (or, “Price-Fixed Generic Drugs”) has commodity-like

characteristics, there are barriers to entry of a new competitor, the demand is highly

inelastic, and the market for the sale of each generic drug is relatively concentrated.

These economic conditions make the market for the manufacture and sale of the Price-

Fixed Generic Drugs conducive to cartelization.

       8.     As a result of the information and evidence developed to date, UHS alleges

that the Defendants participated in an overarching conspiracy, the effect of which was to

minimize, if not thwart, competition across the generic drug industry. The overarching


                                  4
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 10 of 367




conspiracy was effectuated by a series of conspiracies that affected and continue to affect

the market for the generic drugs identified in this Complaint (and beyond).

       9.     Defendants consistently and systematically, over a period of several years,

engaged in contracts, combinations, and conspiracies that had the effect of unreasonably

restraining trade, artificially inflating and maintaining prices, and reducing competition

in the generic pharmaceutical industry throughout the United States, including but not

limited to the markets for the dozens of different generic drugs at issue in this Complaint.

       10.    UHS focuses here on the role of these named Defendants and their

participation in and agreement with this overarching conspiracy and with respect to the

generic drugs identified herein. The Complaint describes conspiracies regarding the sale

of specific drugs, and how these specific conspiracies are also part of the larger

overarching conspiracy. UHS continues to investigate the scope of the overarching

conspiracy and additional conspiracies, involving these and other generic drug

manufacturers, and regarding other drugs not identified in this Complaint.

       11.    Defendants’ illicit agreements have raised prices, maintained artificially

inflated prices, thwarted Congress’s goal to lower the prices of drugs, and thus frustrated

the potential of the industry to deliver great value to UHS and others that pay for

pharmaceuticals.

       12.    As a result of the conduct discussed in this Complaint, purchasers and

healthcare payors including UHS paid substantially inflated and anticompetitive prices




                                  5
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
       Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 11 of 367




 for various generic pharmaceutical drugs, and the Defendants illegally profited from

 their unlawful conduct.

        13.     UHS seeks a finding that the Defendants’ actions violated federal and state

 antitrust laws, among others; damages against Defendants, jointly and severally; a

 permanent injunction preventing the Defendants from continuing their illegal conduct

 and remedying the anticompetitive effects caused by their illegal conduct; disgorgement

 of the Defendants’ ill-gotten gains; civil penalties; attorneys’ fees and costs; and other

 relief as a result of Defendants’ violations of law.

 II.    AT LEAST THE FOLLOWING DRUGS WERE THE SUBJECT OF THE
        CONSPIRACY

       14.      “Acetazolamide” is a carbonic anhydrase inhibitor used to treat a wide

range of conditions including epilepsy, glaucoma, temporary paralysis, hypertension,

heart failure, and altitude sickness.

       15.      “Albuterol” is a bronchodilator that specifically targets the β-2 receptor of

the lungs to relax muscles in the airways and increase airflow to the lungs. It was first

discovered in the 1960s and is commonly prescribed to treat wheezing and shortness of

breath caused by, among other things, asthma and chronic obstructive pulmonary disease.

       16.      “Amitriptyline” is an antidepressant also used to treat other conditions

such as migraines and nerve pain.

       17.      “Baclofen” is a commonly prescribed muscle relaxant and anti-spastic

medication used primarily to alleviate the signs and symptoms of spasticity resulting from



                                   6
                            PUBLIC VERSION
             REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
        Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 12 of 367




multiple sclerosis (“MS”), particularly for the relief of flexor spasm and concomitant pain,

clonus, and muscular rigidity.

        18.     Benazepril hydrochlorothiazide (“benazepril HCTZ”) is a commonly

prescribed drug for the treatment of high blood pressure and kidney disease. Benazepril

HCTZ combines an angiotensin converting enzyme (“ACE”) inhibition, benazepril, and

hydrochlorothiazide, a diuretic.

        19.     “Clobetasol” (or clobetasol proprionate) is a highly potent topical

corticosteroid used to treat skin disorders such as eczema, psoriasis, and dermatitis.

Clobetasol is available in topical ointment, solution, emollient-cream, or gel form.

        20.     “Clomipramine” is a prescription oral tricyclic antidepressant used to treat

obsessive compulsive disorder, panic disorder, major depressive disorder, and chronic

pain.

        21.     “Desonide” is a topical corticosteroid used to treat skin disorders such as

eczema, psoriasis, and dermatitis. Because it is less potent than clobetasol, it is more

commonly prescribed for children or for adults to use in sensitive areas like the eyelids.

Desonide is available in cream or ointment form.

        22.     “Digoxin” is a purified cardiac glycoside used to treat atrial fibrillation and

mild to moderate heart failure.

        23.     “Divalproex ER” refers to divalproex sodium extended release. It derives

from valproate, a compound that has been in use for more than 100 years and is a




                                    7
                             PUBLIC VERSION
              REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
       Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 13 of 367




commonly prescribed anticonvulsant indicated for the treatment of migraines and

seizures.

       24.     “Doxycycline” is a tetracycline antibiotic that is used to treat bacterial

infections ranging from malaria to Lyme disease to various STDs. Doxycycline hyclate

(“doxy hyclate”) is a water-soluble form of doxycycline that absorbs quickly into the

bloodstream. A delayed release version of doxy hyclate (“doxy DR”) is used to treat acne.

Doxy hyclate is available in regular release capsules and tablets, and delayed release

tablets. Doxycycline monohydrate (“doxy mono”) is a significantly less water-soluble

form of doxycycline that absorbs more slowly than doxy hyclate.

       25.    “Econazole” is a topical antifungal agent used to treat skin infections such

as ringworm, tinea versicolor, and yeast infections. Econazole is available in topical

cream, ointment, emollient-cream, or gel form.

       26.    “Fluocinonide” is a topical corticosteroid used to treat conditions such as

psoriasis and eczema. Among other things, fluocinonide reduces the swelling, itching,

and redness that can occur in these types of conditions.

       27.    Fosinopril-hydrochlorothiazide     (“fosinopril   HCTZ”)     refers   to   the

combination of fosinopril (an angiotensin converting enzyme) and hydrochlorothiazide (a

diuretic) used to treat hypertension and heart failure.

       28.    “Glipizide-metformin” combines glipizide (a sulfonylurea that stimulates

the body’s natural insulin production) with metformin (a biguanide that reduces the

body’s absorption of sugar) in order to reduce blood sugar in patients with type-2 diabetes.


                                   8
                            PUBLIC VERSION
             REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
       Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 14 of 367




       29.    “Glyburide” is an oral diabetes medication that is used to control blood

sugar levels caused by Type 2 diabetes.

       30.    “Glyburide-metformin” is also taken orally to control blood sugar for

patients with type-2 diabetes that combines glyburide with metformin.

       31.    “Leflunomide” is a pyrimidine synthesis inhibitor used to treat arthritis.

       32.    “Levothyroxine” refers to levothyroxine sodium. It is a synthetic thyroid

hormone replacement used to treat hypothyroidism and other thyroid ailments such as

goiters.

       33.    “Lidocaine-prilocaine” is a combination anesthetic indicated for dermal

anesthesia, meaning it is a combination of two topical anesthetics that is applied to the

skin or genital area to cause numbness or loss of feeling before a medical procedure.

       34.    “Meprobamate” is an oral tranquilizer used to treat various anxiety

disorders.

       35.    “Nimodipine” is a dihydropyridine calcium channel blocker used to manage

and reduce the risk of certain brain hemorrhages.

       36.    “Nystatin” is an antifungal medication used to treat Candida infections and

yeast infections.

       37.    “Paromomycin” is an antibiotic used to treat a wide range of infections,

including amebiasis, giardiasis, leishmaniasis, and tapeworm infection.




                                   9
                            PUBLIC VERSION
             REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
       Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 15 of 367




       38.    “Pravastatin” is a HMG CoA reductase inhibitor used to lower triglycerides

and LDL cholesterol, lowering the risk of stroke, heart attack, and other heart

complications.

       39.    “Propranolol” is a beta-blocker used to prevent heart attack and to treat heart

or circulatory conditions such as hypertension and angina. Propranolol is available in

capsule and tablet form.

       40.    “Theophylline ER” is an extended release form of theophylline used to treat

asthma and other lung conditions such as emphysema and chronic bronchitis.

       41.    “Ursodiol” is a widely-prescribed drug used to treat gallstones. A bile acid,

it works by decreasing the production of cholesterol and by dissolving the cholesterol in

bile so that it cannot form stones.

       42.    “Verapamil,” including verapamil hydrochloride, is a calcium channel

blocker used to treat hypertension (high blood pressure), angina, and certain heart rhythm

disorders.

       43.    “Zoledronic acid” is a bisphosphonate used primarily by cancer patients to

prevent skeletal fractures and treat bone disease. It is also used to treat osteoporosis.

       44.    As it is used in this Complaint, the term “Price-Fixed Generic Drugs”

(individually or collectively, as context requires) refers to all dosages, strengths, and

formulations of generic acetazolamide, albuterol, amitriptyline, baclofen, benazepril

HCTZ, clobetasol, clomipramine, desonide, digoxin, divalproex ER, doxycycline

(including doxy hyclate, doxy DR, and doxy mono), econazole, fosinopril HCTZ,


                                  10
                            PUBLIC VERSION
             REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
        Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 16 of 367




fluocinonide,   glipizide-metformin,     glyburide,   glyburide-metformin,      leflunomide,

levothyroxine, lidocaine-prilocaine, meprobamate, nimodipine, nystatin, paromomycin,

pravastatin, propranolol, theophylline ER, ursodiol, verapamil, and zoledronic acid.

 III.    VENUE AND JURISDICTION

         45.    This Court has jurisdiction over this action pursuant to 15 U.S.C. §§ 15

 and 26, and 28 U.S.C. §§ 1331 and 1337. Plaintiff asserts claims for relief under Section

 1 of the Sherman Act, 15 U.S.C. § 1, and Sections 4 and 16 of the Clayton Act, 15 U.S.C.

 §§ 15, 26. This Court has jurisdiction over the state law claims alleged in this action

 pursuant to 28 U.S.C. § 1367, as the state law claims are so related to the federal antitrust

 claims as to form part of the same case or controversy.

         46.    Venue is proper in this District pursuant to 15 U.S.C. §§ 15(a) and 22, and

 28 U.S.C. § 1391. During the relevant time period (at least March 2011 to the present),

 Defendants resided, transacted business, and/or were found or had agents in the United

 States, including this District. During the alleged time period, Defendants sold and

 shipped the generic drugs at issue in a continuous and uninterrupted flow of interstate

 commerce in the United States, including in this District. Defendants’ conduct had a

 direct, substantial, and reasonably foreseeable effect on interstate commerce in the

 United States, including in this District. Defendants engaged in an unlawful conspiracy

 to artificially increase prices for the generic drugs at issue that was directed at and had

 the intended effect of causing injury to persons residing in, located in, or doing business

 throughout the United States, including in this District, and each Defendant is otherwise


                                11
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 17 of 367




subject to the service of process provisions of 15 U.S.C. § 22. Throughout the time

period alleged herein, there was a continuous and uninterrupted flow of invoices and

other documents essential to the sale and provision of the generic drugs at issue

transmitted interstate between and among offices of Defendants and their customers

throughout the United States.

       47.         Defendants are subject to the personal jurisdiction of this Court for any

one or more of the reasons stated below:

              a.        Defendants are amenable to service of process because, as alleged

in this Complaint, each inhabits, transacts business in, has continuous or systematic

contacts with, or is found or has sufficient minimum contacts in the United States

sufficient to satisfy due process;

              b.        Defendants are amenable to service of process because, as alleged

in this Complaint, each inhabits, transacts business in, or is found in this District.

Defendants headquartered outside this District are nevertheless engaged in the business

of developing, manufacturing, distributing, advertising and/or selling generic drugs

throughout the United States, including in this District;

              c.        Defendants are amenable to service of process because, as alleged

in this Complaint, each Defendant belonged to the conspiracy alleged in this Complaint,

and one or more of them, and their co-conspirators, performed unlawful acts in

furtherance of the conspiracy in or from this District including, without limitation, selling

one or more generic drugs at artificially inflated prices;


                               12
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 18 of 367




                 d.     Defendants are amenable to service of process pursuant to Rule

4(k)(1)(A) of the Federal Rules of Civil Procedure and the long-arm statute of the State

in which this Federal Court sits because, inter alia, and as alleged in this Complaint, each

Defendant has transacted business in this District, each Defendant has contracted to

supply services or things in this District, and because the District’s long-arm statute

extends jurisdiction to the limits of due process and each Defendant has sufficient

minimum contacts with the District to satisfy due process; and/or

                 e.     Based on the allegations in this Complaint, Defendants are subject

to the general and specific personal jurisdiction of this Court because they have

purposefully directed their contacts and conspiratorial conduct at the United States

(including the forum District) and have purposefully availed themselves of the laws of

the United States. As alleged in this Complaint, each Defendant, either directly, or

indirectly through their subsidiaries, engaged in price-fixing activities and

anticompetitive conduct that were intended to have, and did have, direct, substantial and

reasonably foreseeable effects on the commerce throughout the United States, including

this District.

IV.    PARTIES

       A.        Plaintiff

       48.       Plaintiff UHS is a corporation organized and existing under the laws of

Minnesota with its principal place of business in Hennepin County, Minnesota. It is a




                                 13
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
         Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 19 of 367




    wholly owned subsidiary of UnitedHealth Group, Incorporated, which is also

    headquartered in Minnetonka, Minnesota.

           49.     UHS is engaged in servicing prescription drug managed care programs

    provided to members and beneficiaries under insurance plans offered by UHS’s

    subsidiaries and affiliates, which, together, constitute the largest single health insurance

    carrier and services provider in the United States, and serve some 70 million individual

    insureds (“UnitedHealthcare Insureds”). 3        UHS is the centralized and primary

    contracting entity responsible for payments made for pharmaceutical drugs dispensed to

    UnitedHealthcare Insureds throughout the country. From its headquarters in Hennepin

    County, Minnesota, UHS negotiated and executed contracts with Pharmacy Benefit

    Managers (“PBMs”) on behalf of itself and its health plan subsidiaries and affiliates

    (“UnitedHealthcare Plans”), and during the relevant time period, was (and is)

    contractually responsible for the payments made under those contracts, including for the

    Price-Fixed Generic Drugs dispensed to UnitedHealthcare Insureds during the relevant

    time period.

           50.     UHS is the parent company of, or otherwise an affiliate/related company

    to, each of the UnitedHealthcare Plans, which issue health insurance to UnitedHealthcare

    Insureds, including for coverage of prescription drug costs. The UnitedHealthcare Plans




3
 For purposes of this Complaint, UnitedHealthcare Insureds do not include those
members of self-insured health plans, also known as self-funded or Administrative
Services Only (“ASO”) customers.
                                   14
                             PUBLIC VERSION
              REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 20 of 367




 issue insurance to UnitedHealthcare Insureds covering prescription drugs in the form of

 (1) fully insured commercial (“Commercial”) plans; (2) Medicare plans; and (3)

 Medicaid plans. The UnitedHealthcare Plans provide these prescription drug insurance

 benefits to UnitedHealthcare Insureds in all 50 states, the District of Columbia, and

 Puerto Rico. These UnitedHealthcare Plans are listed in the attached Exhibit A.

      51.     UHS is also an affiliate and the assignee of OptumRx Group Holdings, Inc.,

OptumRx, Inc., OptumRx Holdings, LLC, and their wholly owned pharmacy subsidiaries

as pertaining strictly to the purchases made for or arising out of the business of the

pharmacy subsidiaries (collectively, “Pharmacy Assignors”). Pharmacy Assignors buy

prescription drugs and dispense them to prescribed consumers, on a mail-order or

specialty retail pharmacy basis.      Pharmacy Assignors have purchased substantial

quantities of the Price-Fixed Generic Drugs directly from drug manufacturers, including

Defendants and/or their co-conspirators, and have assigned to UHS their claims and the

rights to obtain all recoveries arising out of such direct purchases and the matters alleged

in this Complaint.

      52.     By this Complaint, UHS seeks recovery for all unlawful overcharges

incurred in connection with paying for Price-Fixed Generic Drugs dispensed to

UnitedHealthcare Insureds, including all those receiving insurance or health benefits from

any of the UnitedHealthcare Plans (or their predecessors or successors), as well as in

connection with direct purchases made by Pharmacy Assignors.




                                 15
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 21 of 367




      53.     UHS is the proper entity to pursue all forms of relief, including damages,

for all injury and losses incurred as alleged in this Complaint. In a separate and unrelated

antitrust case, defendants, some of which are Defendants in this case, have suggested that

the UnitedHealthcare Plans were the proper entities to seek indirect purchaser/payor

damages recovery for overcharges for drugs dispensed to UnitedHealthcare Insureds.

That position is incorrect. Nonetheless, out of an abundance of caution, and to further

assure the Court that there is no potential for any duplicative recovery, UHS has obtained

assignments from the UnitedHealthcare Plans, conveying to UHS any claims and rights

to recoveries they may have in connection with the matters alleged in this Complaint.

UHS hereby asserts those assigned claims in the alternative to the claims of UHS, to the

extent that the UnitedHealthcare Plans are found to be sole owners of any claims that are

non-duplicative to those of UHS. Accordingly, to the extent that the Court were to find

such assignments from the UnitedHealthcare Plans are required for any claims, all

subsequent references to “UHS” include both itself and its assignor UnitedHealthcare

Plans, unless expressly indicated otherwise.

        B.    Defendants

        54.    Defendant Actavis Holdco U.S., Inc. (“Actavis Holdco”) is a Delaware

 corporation with its principal place of business in Parsippany, New Jersey. In March

 2015, Actavis plc, the parent company of Defendant Actavis, merged with Allergan plc

 (“Allergan”) and adopted Allergan’s name. In August 2016, Defendant Teva USA

 purchased Actavis’ generics business, which included Actavis Inc., Actavis Elizabeth


                                  16
                            PUBLIC VERSION
             REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 22 of 367




Inc., and Defendant Actavis Pharma Inc., from Allergan plc. All the assets of the entities

were then transferred to the newly formed Actavis Holdco. The acquisition cost Teva

USA $33.43 billion in cash and approximately 100 million shares of Teva securities.

During the time period relevant to Plaintiff’s claims, Actavis Holdco directly participated

in the conspiracy alleged in this Complaint, produced and/or sold one or more Price-

Fixed Generic Drugs throughout the United States and its territories, knowingly received

conspiracy proceeds from Defendant Actavis Pharma, Inc., and engaged in the unlawful

conduct alleged in this Complaint.

       55.    Defendant Actavis Elizabeth LLC (“Actavis Elizabeth”) is a Delaware

company with its principal place of business in Elizabeth, New Jersey. It is a wholly

owned subsidiary of Actavis Holdco and is a research, development and manufacturing

entity for Actavis’ generic operations. During the time period relevant to Plaintiff’s

claims, Actavis Elizabeth directly participated in the conspiracy alleged in this

Complaint, produced and/or sold one or more Price-Fixed Generic Drugs throughout the

United States and its territories, knowingly received conspiracy proceeds from

Defendant Actavis Pharma, Inc., and engaged in the unlawful conduct alleged in this

Complaint.

       56.    Defendant Actavis Pharma, Inc. (“Actavis Pharma”) is a Delaware

corporation with its principal place of business in Parsippany, New Jersey. It is a wholly

owned subsidiary of Actavis Holdco and is now a principal operating company in the

U.S. for Teva’s generic products acquired from Allergan plc. During the time period


                               17
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 23 of 367




relevant to Plaintiff’s claims, Actavis Holdco directly participated in the conspiracy

alleged in this Complaint, produced and/or sold one or more Price-Fixed Generic Drugs

throughout the United States and its territories, and engaged in the unlawful conduct

alleged in this Complaint. Actavis Holdco (and its predecessors), Actavis Pharma, and

Actavis Elizabeth are collectively defined as “Actavis.” Actavis is defined to include its

managers, officers, employees, and agents acting on its behalf.

       57.    Defendant Akorn, Inc. is a Louisiana corporation with its principal place

of business located in Lake Forest, Illinois. It is the parent company of Defendant Hi-

Tech (defined below).      Akorn, Inc. is defined to include its managers, officers,

employees, and agents acting on its behalf. During the time period relevant to Plaintiff’s

claims, Akorn Inc. directly participated in the conspiracy alleged in this Complaint,

produced and/or sold one or more Price-Fixed Generic Drugs throughout the United

States and its territories, and engaged in the unlawful conduct alleged in this Complaint.

       58.    Defendant Akorn Sales, Inc. is a Delaware corporation with its principal

place of business in Lake Forest, Illinois. It is a wholly owned subsidiary of Akorn, Inc.

Akorn Sales, Inc. is defined to include its managers, officers, employees, and agents

acting on its behalf. During the time period relevant to Plaintiff’s claims, Akorn Sales,

Inc. directly participated in the conspiracy alleged in this Complaint, produced and/or

sold one or more Price-Fixed Generic Drugs throughout the United States and its

territories, and engaged in the unlawful conduct alleged in this Complaint. Defendants

Akorn, Inc. and Akorn Sales, Inc. are defined collectively as “Akorn.”


                               18
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 24 of 367




       59.    Defendant Apotex Corp. (“Apotex”) is a Florida corporation with its

principal place of business in Weston, Florida. Apotex is defined to include its managers,

officers, employees, and agents acting on its behalf. During the time period relevant to

Plaintiff’s claims, Apotex directly participated in the conspiracy alleged in this

Complaint, produced and/or sold one or more Price-Fixed Generic Drugs throughout the

United States and its territories, either on its own or through its subsidiaries, and engaged

in the unlawful conduct alleged in this Complaint.

       60.    Defendant Ascend Laboratories, LLC (“Ascend”) is a New Jersey

corporation with its principal place of business in Parsippany, New Jersey. During the

time period relevant to Plaintiff’s claims, Ascend directly participated in the conspiracy

alleged in this Complaint, produced and/or sold one or more Price-Fixed Generic Drugs

throughout the United States and its territories, either on its own or through its

subsidiaries, and engaged in the unlawful conduct alleged in this Complaint.

       61.    Defendant Aurobindo Pharma USA, Inc. (“Aurobindo”) is a Delaware

corporation with its principal place of business located in Dayton, New Jersey.

Aurobindo is defined to include its managers, officers, employees, and agents acting on

its behalf. During the time period relevant to Plaintiff’s claims, Aurobindo directly

participated in the conspiracy alleged in this Complaint, produced and/or sold one or

more Price-Fixed Generic Drugs throughout the United States and its territories, and

engaged in the unlawful conduct alleged in this Complaint.




                               19
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 25 of 367




       62.    Defendant Barr Pharmaceuticals, LLC (“Barr”) is a Delaware company

with its principal place of business in North Wales, Pennsylvania. Barr is a wholly

owned subsidiary of Teva USA, which acquired Barr (then called Barr Pharmaceuticals,

Inc.) in 2008. Barr directly participated in the conspiracy alleged in this Complaint,

produced and/or sold one or more Price-Fixed Generic Drugs throughout the United

States and its territories, and engaged in the unlawful conduct alleged in this Complaint.

       63.    Defendant Bausch Health Americas, Inc. (formerly known as Valeant

Pharmaceuticals International, Inc.) is a Delaware corporation with its U.S. headquarters

located in Bridgewater, New Jersey.

       64.    Bausch Health US, LLC (formerly known as Valeant Pharmaceuticals

North America LLC) is a Delaware limited liability company with its principal place of

business in Bridgewater, New Jersey. Unless addressed individually, Bausch Health

Americas, Inc. and Bausch Health US, LLC are collectively referred to herein as

“Valeant.” At all times relevant to the Complaint, Valeant marketed and sold generic

pharmaceuticals in this District and throughout the United States, and engaged in the

unlawful conduct alleged in this Complaint.

       65.    Defendant Breckenridge Pharmaceutical, Inc. (“Breckenridge”) is a

Delaware corporation with its principal place of business located in Fairfield, New

Jersey. Breckenridge is wholly owned by Pensa Pharma S.A. Breckenridge is defined

to include its managers, officers, employees, and agents acting on its behalf. During the

time period relevant to Plaintiff’s claims, Breckenridge directly participated in the


                               20
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 26 of 367




conspiracy alleged in this Complaint, produced and/or sold one or more Price-Fixed

Generic Drugs throughout the United States and its territories, and engaged in the

unlawful conduct alleged in this Complaint.

       66.    Defendant Citron Pharma, LLC (“Citron”) is a Delaware corporation with

its principal place of business located in East Brunswick, New Jersey. Citron is defined

to include its managers, officers, employees, and agents acting on its behalf. During the

time period relevant to Plaintiff’s claims Citron directly participated in the conspiracy

alleged in this Complaint, produced and/or sold one or more Price-Fixed Generic Drugs

throughout the United States and its territories, and engaged in the unlawful conduct

alleged in this Complaint.

       67.    Defendant DAVA Pharmaceuticals, LLC (“DAVA”) is a Delaware

company with its principal place of business in Fort Lee, New Jersey. DAVA is a wholly

owned subsidiary of Defendant Endo (defined below), and affiliate of Defendant Par

(defined below). During the time period relevant to Plaintiff’s claims, DAVA directly

participated in the conspiracy alleged in this Complaint, produced and/or sold one or

more Price-Fixed Generic Drugs throughout the United States and its territories, and

engaged in the unlawful conduct alleged in this Complaint.

       68.    Defendant Dr. Reddy’s Laboratories, Inc. (“Dr. Reddy’s”) is a New Jersey

corporation with its principal place of business located in Princeton, New Jersey. Dr.

Reddy’s is a wholly owned subsidiary of Dr. Reddy’s Laboratories Ltd., an Indian

pharmaceutical company. Dr. Reddy’s is defined to include its managers, officers,


                               21
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 27 of 367




employees, and agents acting on its behalf. During the time period relevant to Plaintiff’s

claims, Dr. Reddy’s directly participated in the conspiracy alleged in this Complaint,

produced and/or sold one or more Price-Fixed Generic Drugs throughout the United

States and its territories, and engaged in the unlawful conduct alleged in this Complaint.

       69.    Defendant Endo International plc (“Endo”), is an Irish company with its

principal place of business in Dublin, Ireland, and its U.S. headquarters located in

Malvern, Pennsylvania. Endo is the parent company of Defendant Par (defined below).

In September 2015, Endo completed an acquisition of Par Pharmaceuticals Holdings,

Inc. and its subsidiaries, including Par, from a private investment firm for about $8

billion in cash and stock. At that time, Endo created a combined U.S. Generics segment

that included Par, and Endo’s subsidiary co-conspirator, Defendant Generics

Bidco/Qualitest, naming the segment Par Pharmaceutical, Inc. Further, in August 2014,

Endo acquired Defendant DAVA and folded it into Par. During the time period relevant

to Plaintiff’s claims, Endo manufactured and sold in the United States generic

doxycycline, and as alleged below, took affirmative steps to reduce the supply of

doxycycline in the U.S. market, including the forum state. Defendant Endo is defined to

include its managers, officers, employees, and agents acting on its behalf. During the

time period relevant to Plaintiff’s claims, Endo directly participated in the conspiracy

alleged in this Complaint, produced and/or sold one or more Price-Fixed Generic Drugs

throughout the United States and its territories, and engaged in the unlawful conduct

alleged in this Complaint. During the time period relevant to this Complaint, Endo


                               22
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 28 of 367




purposefully directed its activities at the United States (including the forum state) and

also purposefully derived the benefit of conspiracy proceeds taken from the United States

(including the forum state).

       70.    Defendant Emcure Pharmaceuticals Ltd. (“Emcure”) is an Indian

corporation. Emcure is defined to include its managers, officers, employees, and agents

acting on its behalf. During the time period relevant to Plaintiff’s claims, Emcure

directly participated in the conspiracy and engaged in the unlawful conduct alleged in

this Complaint.    Through its wholly owned subsidiary Heritage Pharmaceuticals

Holdings Inc., Emcure is the also sole owner of Defendant Heritage Pharmaceuticals Inc.

Emcure further purposefully directed its activities at the United States (including the

forum state) and also purposefully derived the benefit of conspiracy proceeds taken from

the United States (including the forum state).

       71.    Defendant Epic Pharma, LLC (“Epic”) is a Delaware limited liability

company with its principal place of business in Laurelton, New York. Epic is defined to

include its managers, officers, employees, and agents acting on its behalf. During the

time period relevant to Plaintiff’s claims, Epic directly participated in the conspiracy

alleged in this Complaint, produced and/or sold one or more Price-Fixed Generic Drugs

throughout the United States and its territories, and engaged in the unlawful conduct

alleged in this Complaint.

       72.    Defendant Fougera Pharmaceuticals Inc. (“Fougera”) is a New York

corporation with its principal place of business in Melville, New York. Fougera is a


                               23
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 29 of 367




wholly owned subsidiary of Defendant Sandoz, Inc. In 2012, Sandoz acquired and

integrated Fougera into its U.S.-based generic pharmaceutical business. Fougera is

defined to include its managers, officers, employees, and agents acting on its behalf.

During the time period relevant to Plaintiff’s claims, Fougera directly participated in the

conspiracy alleged in this Complaint, produced and/or sold one or more Price-Fixed

Generic Drugs throughout the United States and its territories, and engaged in the

unlawful conduct alleged in this Complaint.         The term “Sandoz Defendants” or

“Sandoz/Fougera” refers to Fougera and Sandoz, collectively.

       73.    Defendant Generics Bidco I, LLC (“Generics Bidco”) is a Delaware

company with its principal place of business in Huntsville, Alabama, and formerly

conducted business as Qualitest Pharmaceuticals (“Qualitest”). Generics Bidco is a

wholly owned subsidiary of Defendant Endo, and affiliate of Defendant Par (defined

below). During the time period relevant to Plaintiff’s claims, Generics Bidco/Qualitest

directly participated in the conspiracy alleged in this Complaint, produced and/or sold

one or more Price-Fixed Generic Drugs throughout the United States and its territories,

and engaged in the unlawful conduct alleged in this Complaint.

       74.    Defendant Glenmark Pharmaceuticals Inc., USA (“Glenmark”) is a

Delaware corporation with its principal place of business located in Mahwah, New

Jersey. Glenmark is defined to include its managers, officers, employees, and agents

acting on its behalf. During the time period relevant to Plaintiff’s claims, Glenmark

directly participated in the conspiracy alleged in this Complaint, produced and/or sold


                               24
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 30 of 367




one or more Price-Fixed Generic Drugs throughout the United States and its territories,

and engaged in the unlawful conduct alleged in this Complaint.

          75.   Defendant Heritage Pharmaceuticals Inc. (“Heritage”) is a Delaware

corporation with its principal place of business located in Mahwah, New Jersey. In April

2011, Emcure, an Indian company headquartered in Pune, India, acquired Heritage.

Heritage is defined to include its managers, officers, employees, and agents acting on its

behalf.     During the time period relevant to Plaintiff’s claims, Heritage directly

participated in the conspiracy alleged in this Complaint, produced and/or sold one or

more Price-Fixed Generic Drugs throughout the United States and its territories, and

engaged in the unlawful conduct alleged in this Complaint.

          76.   Defendant Hi-Tech Pharmacal Co., Inc. (“Hi-Tech”) is a Delaware

corporation with its principal place of business located in Amityville, New York. Hi-

Tech is a wholly owned subsidiary of Defendant Akorn, which purchased Hi-Tech in

April 2014, for $640 million. Hi-Tech is defined to include its managers, officers,

employees, and agents acting on its behalf. During the time period relevant to Plaintiff’s

claims, Hi-Tech directly participated in the conspiracy alleged in this Complaint,

produced and/or sold one or more Price-Fixed Generic Drugs throughout the United

States and its territories, and engaged in the unlawful conduct alleged in this Complaint.

          77.   Defendant Impax Laboratories, Inc. (“Impax”) is a Delaware corporation

with its principal place of business located in Philadelphia, Pennsylvania. Defendant

Impax is defined to include its managers, officers, employees, and agents acting on its


                                 25
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 31 of 367




behalf. During the time period relevant to Plaintiff’s claims, Impax directly participated

in the conspiracy alleged in this Complaint, produced and/or sold one or more Price-

Fixed Generic Drugs throughout the United States and its territories, and engaged in the

unlawful conduct alleged in this Complaint.

       78.    Defendant Lannett Company, Inc. (“Lannett”) is a Delaware corporation

with its principal place of business located in Philadelphia, Pennsylvania. Defendant

Lannett is defined to include its managers, officers, employees, and agents acting on its

behalf. During the time period relevant to Plaintiff’s claims, Lannett directly participated

in the conspiracy alleged in this Complaint, produced and/or sold one or more Price-

Fixed Generic Drugs throughout the United States and its territories, and engaged in the

unlawful conduct alleged in this Complaint.

       79.    Defendant Lupin Pharmaceuticals, Inc. (“Lupin”) is a Delaware

corporation with its principal place of business located in Baltimore, Maryland. Lupin

is defined to include its managers, officers, employees, and agents acting on its behalf.

During the time period relevant to Plaintiff’s claims, Lupin directly participated in the

conspiracy alleged in this Complaint, produced and/or sold one or more Price-Fixed

Generic Drugs throughout the United States and its territories, and engaged in the

unlawful conduct alleged in this Complaint.

       80.    Defendant Mayne Pharma Inc. (“Mayne”) is a Delaware corporation with

its principal place of business located in Paramus, New Jersey. In 2012, Mayne acquired

Metrics, Inc. and its division, Midlothian Laboratories, and has also operated under the


                               26
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 32 of 367




name Midlothian since that time. In 2013, Mayne also acquired Libertas Pharma. Mayne

is defined to include its managers, officers, employees, and agents acting on its behalf.

During the time period relevant to Plaintiff’s claims, Mayne directly participated in the

conspiracy alleged in this Complaint, produced and/or sold one or more Price-Fixed

Generic Drugs throughout the United States and its territories, and engaged in the

unlawful conduct alleged in this Complaint.

       81.    Defendant Morton Grove Pharmaceuticals, Inc. (“Morton Grove”) is a

Delaware corporation with its principal place of business located in Morton Grove,

Illinois. Wockhardt, Ltd., an Indian company, is the parent company of Morton Grove.

Defendant Morton Grove is defined to include its managers, officers, employees, and

agents acting on its behalf. During the time period relevant to Plaintiff’s claims, Morton

Grove directly participated in the conspiracy alleged in this Complaint, produced and/or

sold one or more Price-Fixed Generic Drugs throughout the United States and its

territories, and engaged in the unlawful conduct alleged in this Complaint.

       82.    Defendant Mutual Pharmaceutical Company, Inc. (“Mutual”) is a

Delaware corporation with its principal place of business located in Philadelphia,

Pennsylvania. It is a wholly owned subsidiary of SPII (defined below). Many of the

pharmaceutical products sold and distributed throughout the United States during the

relevant period by SPII, URL (defined below), and Mutual were marked with the trade

name “MUTUAL” on the pill or capsule. Mutual is defined to include its managers,

officers, employees, and agents acting on its behalf. During the time period relevant to


                               27
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 33 of 367




Plaintiff’s claims Mutual directly participated in the conspiracy alleged in this

Complaint, produced and/or sold one or more Price-Fixed Generic Drugs throughout the

United States and its territories, and engaged in the unlawful conduct alleged in this

Complaint.

          83.   Defendant Mylan N.V. is a Dutch corporation with its principal place of

business and global headquarters in Canonsburg, Pennsylvania. Mylan N.V. is the direct

parent corporation of Defendant Mylan Inc. and the ultimate parent and owner of

Defendants Mylan Pharma and UDL (both defined below). During the time period

relevant to Plaintiff’s claims, Mylan N.V. directly participated in the conspiracy alleged

in this Complaint, produced and/or sold one or more Price-Fixed Generic Drugs

throughout the United States and its territories, either on its own or through its

subsidiaries, and engaged in the unlawful conduct alleged in this Complaint.

          84.   Defendant Mylan Inc. is a Pennsylvania corporation with its principal

place of business in Canonsburg, Pennsylvania. Mylan Inc. is the parent company of

Defendant UDL (defined below) and Defendant Mylan Pharma (defined below). Mylan

Inc. is defined to include its managers, officers, employees, and agents acting on its

behalf.     During the time period relevant to Plaintiff’s claims Mylan Inc. directly

participated in the conspiracy alleged in this Complaint, produced and/or sold one or

more Price-Fixed Generic Drugs throughout the United States and its territories, either

on its own or through its subsidiaries, and engaged in the unlawful conduct alleged in

this Complaint.


                                 28
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 34 of 367




       85.    Defendant Mylan Pharmaceuticals Inc. (“Mylan Pharma”) is a West

Virginia corporation with its principal place of business in Morgantown, West Virginia.

Mylan Pharma is a subsidiary of Defendant Mylan Inc. Mylan Pharma is defined to

include its managers, officers, employees, and agents acting on its behalf. During the

time period relevant to Plaintiff’s claims Mylan Pharma directly participated in the

conspiracy alleged in this Complaint, produced and/or sold one or more Price-Fixed

Generic Drugs throughout the United States and its territories, and engaged in the

unlawful conduct alleged in this Complaint. Mylan N.V., Mylan Inc., Mylan Pharma,

and UDL (defined below) are collectively defined as “Mylan.”

       86.    Defendant Par Pharmaceutical, Inc. (“PPI”) is a New York corporation

with its principal place of business located in Chestnut Ridge, New York. Defendant

Endo is the parent company and owner of Defendant Par.             As alleged above, in

September 2015, Endo purchased Par from a private investment firm. PPI, Generics

Bidco/Qualitest and DAVA collectively do business as Par Pharmaceutical, and are

collectively referred to as “Par.” Defendant Par is defined to include its managers,

officers, employees, and agents acting on its behalf. During the time period relevant to

Plaintiff’s claims, Par directly participated in the conspiracy alleged in this Complaint,

produced and/or sold one or more Price-Fixed Generic Drugs throughout the United

States and its territories, and engaged in the unlawful conduct alleged in this Complaint.

       87.    Defendant Perrigo New York, Inc. (“Perrigo”) is a Delaware corporation

with its principal place of business in Allegan, Michigan. Perrigo is a subsidiary of


                               29
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 35 of 367




Perrigo Company plc, an Irish company. Perrigo is defined to include its managers,

officers, employees, and agents acting on its behalf. During the time period relevant to

Plaintiff’s claims, Perrigo directly participated in the conspiracy alleged in this

Complaint, produced and/or sold one or more Price-Fixed Generic Drugs throughout the

United States and its territories, and engaged in the unlawful conduct alleged in this

Complaint.

       88.    Defendant PLIVA, Inc. (“PLIVA”) is a New Jersey corporation with its

principal place of business in East Hanover, New Jersey. PLIVA is a wholly owned

subsidiary of Defendant Teva (defined below).         PLIVA is defined to include its

managers, officers, employees, and agents acting on its behalf. During the time period

relevant to Plaintiff’s claims PLIVA directly participated in the conspiracy alleged in

this Complaint, produced and/or sold one or more Price-Fixed Generic Drugs throughout

the United States and its territories, and engaged in the unlawful conduct alleged in this

Complaint.

       89.    Defendant    Sun    Pharmaceutical     Industries,   Inc.   (f/k/a   Caraco

Pharmaceutical Laboratories, Ltd.) (“SPII”) is a Michigan corporation with its principal

place of business in Cranbury, New Jersey.         Co-conspirator Sun Pharmaceutical

Industries Ltd. (“Sun Ltd.”), based in Mumbai, India, along with certain of its wholly

owned subsidiaries, owns 100% of SPII. Sun Ltd. also owns approximately 70% of

Defendant Taro (defined below) and Taro’s parent, Taro Pharmaceutical Industries, Ltd.

Beginning in 1997, Sun Ltd. began a series of investments in Caraco Pharmaceutical


                               30
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 36 of 367




Laboratories Ltd. (“Caraco”) and in 2013 acquired 100% of Caraco and merged it into

SPII to become Sun Ltd.’s US operations for generic pharmaceutical products. In late

2012, SPII acquired URL Pharma, Inc. (“URL”), and its subsidiary, Defendant Mutual,

both of which have their principal place of business in Philadelphia, Pennsylvania. Until

at least June 2016, URL and Mutual operated a pharmaceutical manufacturing facility in

Philadelphia. SPII is defined to include its managers, officers, employees, and agents

acting on its behalf. During the time period relevant to Plaintiff’s claims SPII directly

participated in the conspiracy alleged in this Complaint, produced and/or sold one or

more Price-Fixed Generic Drugs throughout the United States and its territories, and

engaged in the unlawful conduct alleged in this Complaint. SPII, URL, Mutual, and

Caraco are collectively defined as “Sun.”

       90.     Defendant Sandoz, Inc. (“Sandoz”) is a Colorado corporation with its

principal place of business located in Princeton, New Jersey. Sandoz is a subsidiary of

Novartis AG, a global pharmaceutical company based in Basel, Switzerland. Defendant

Sandoz is defined to include its managers, officers, employees, and agents acting on its

behalf. During the time period relevant to Plaintiff’s claims, Sandoz USA directly

participated in the conspiracy alleged in this Complaint, produced and/or sold one or

more Price-Fixed Generic Drugs throughout the United States and its territories, and

engaged in the unlawful conduct alleged in this Complaint. Sandoz USA is referred to

as “Sandoz.”




                               31
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 37 of 367




       91.    Defendant Taro Pharmaceuticals U.S.A., Inc. (“Taro”) is a New York

corporation with its principal place of business in Hawthorne, New York. Taro is a

subsidiary of Taro Pharmaceutical Industries, Ltd., an Israeli corporation. Taro is

defined to include its managers, officers, employees, and agents acting on its behalf.

During the time period relevant to Plaintiff’s claims, Taro directly participated in the

conspiracy alleged in this Complaint, produced and/or sold one or more Price-Fixed

Generic Drugs throughout the United States and its territories, and engaged in the

unlawful conduct alleged in this Complaint.

       92.    Defendant Teligent, Inc. (f/k/a IGI Laboratories, Inc.) (“Teligent”) is a

Delaware corporation with its principal place of business located in Buena, New Jersey.

Teligent is defined to include its managers, officers, employees, and agents acting on its

behalf. During the time period relevant to Plaintiff’s claims Teligent directly participated

in the conspiracy alleged in this Complaint, produced and/or sold one or more Price-

Fixed Generic Drugs throughout the United States and its territories, and engaged in the

unlawful conduct alleged in this Complaint.

       93.    Defendant Teva Pharmaceuticals USA, Inc. (“Teva”) is a Delaware

corporation with its principal place of business in North Wales, Pennsylvania. Teva is a

wholly owned subsidiary of Teva Pharmaceutical Industries, Ltd., an Israeli corporation.

Teva is defined to include its managers, officers, employees, and agents acting on its

behalf. During the time period relevant to Plaintiff’s claims, Teva directly participated

in the conspiracy alleged in this Complaint, produced and/or sold one or more Price-


                               32
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 38 of 367




 Fixed Generic Drugs throughout the United States and its territories, and engaged in the

 unlawful conduct alleged in this Complaint.

        94.    Defendant UDL Laboratories, Inc. (“UDL”) is an Illinois corporation with

 its principal place of business in Rockford, Illinois. UDL, n/k/a Mylan Institutional Inc.,

 is a subsidiary of Defendant Mylan Inc. UDL is defined to include its managers, officers,

 employees, and agents acting on its behalf. During the time period relevant to Plaintiff’s

 claims, UDL directly participated in the conspiracy alleged in this Complaint, produced

 and/or sold one or more Price-Fixed Generic Drugs throughout the United States and its

 territories, and engaged in the unlawful conduct alleged in this Complaint.

        95.    Defendant Upsher-Smith Laboratories, LLC (f/k/a Upsher-Smith

 Laboratories, Inc.) (“Upsher-Smith”) is a Minnesota limited liability company with its

 principal place of business located in Maple Grove, Minnesota. Upsher-Smith is defined

 to include its managers, officers, employees, and agents acting on its behalf. During the

 time period relevant to Plaintiff’s claims, Upsher-Smith directly participated in the

 conspiracy alleged in this Complaint, produced and/or sold one or more Price-Fixed

 Generic Drugs throughout the United States and its territories, and engaged in the

 unlawful conduct alleged in this Complaint.

       96.    Defendant West-Ward Pharmaceuticals Corp. (“West-Ward”) is a Delaware

corporation with its principal place of business located in Eatontown, New Jersey. West-

Ward is the United States agent and subsidiary of Hikma Pharmaceuticals PLC

(“Hikma”), a London-based global pharmaceutical company. West-Ward is defined to


                                  33
                            PUBLIC VERSION
             REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 39 of 367




include its managers, officers, employees, and agents acting on its behalf. During the time

period relevant to Plaintiff’s claims, West-Ward directly participated in the conspiracy

alleged in this Complaint, produced and/or sold one or more Price-Fixed Generic Drugs

throughout the United States and its territories, and engaged in the unlawful conduct

alleged in this Complaint.

        97.    Defendant Wockhardt USA LLC (“Wockhardt”) is a Delaware corporation

 with its principal place of business in Parsippany, New Jersey. Wockhardt is a wholly-

 owned subsidiary of Defendant Morton Grove Pharmaceuticals, Inc. Wockhardt is

 defined to include its managers, officers, employees, and agents acting on its behalf.

 During the time period relevant to Plaintiff’s claims, Wockhardt directly participated in

 the conspiracy alleged in this Complaint, produced and/or sold one or more Price-Fixed

 Generic Drugs throughout the United States and its territories, either on its own or

 through its subsidiaries, and engaged in the unlawful conduct alleged in this Complaint.

        98.    Defendant Zydus Pharmaceuticals (USA) Inc. (“Zydus”) is a New Jersey

 corporation with its principal place of business located in Pennington, New Jersey.

 Zydus is defined to include its managers, officers, employees, and agents acting on its

 behalf. During the time period relevant to Plaintiff’s claims, Zydus directly participated

 in the conspiracy alleged in this Complaint, produced and/or sold one or more Price-

 Fixed Generic Drugs throughout the United States and its territories, and engaged in the

 unlawful conduct alleged in this Complaint.




                                34
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 40 of 367




        C.        Co-Conspirators and Agents

        99.       Other entities and individuals not named as Defendants combined,

conspired, or agreed with Defendants and committed acts in furtherance of the unlawful

conspiracy alleged in this Complaint.

        100.      The true names and capacities of additional co-conspirators, whether

individual, corporate, associate, or representative, are presently unknown to Plaintiff.

Plaintiff reserves the right to amend this Complaint to allege the true names and

capacities of additional co-conspirators as they are discovered.

        101.      At all relevant times, other persons, firms, and corporations, referred to in

this Complaint as “co-conspirators,” the identities of which are presently unknown, have

willingly conspired with Defendants in their unlawful scheme as described in this

Complaint.

        102.      The acts alleged in this Complaint that were done by each of the co-

conspirators were fully authorized by each of those co-conspirators, or were ordered or

committed by duly authorized officers, managers, agents, employees, or representatives

of each co-conspirator while actively engaged in the management, direction, or control

of its affairs.

        103.      The wrongful acts alleged to have been done by any one Defendant or co-

conspirator were authorized, ordered, or done by its directors, officers, managers, agents,

employees, or representatives while actively engaged in the management, direction, or

control of such Defendant’s or co-conspirator’s affairs.


                                  35
                            PUBLIC VERSION
             REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 41 of 367




V.     TRADE AND COMMERCE

       104.   During the time period relevant to the claims asserted in this Complaint,

Defendants and their co-conspirators engaged in business that affects or is within the

flow of interstate or foreign commerce, and the effect of that business on interstate or

foreign commerce is substantial. In particular, the activities of Defendants and their co-

conspirators are within the flow of interstate and foreign commerce or have a substantial

effect upon interstate or foreign commerce in that:

              (a)    Defendants and their co-conspirators sold and shipped substantial

quantities of generic drugs in a continuous and uninterrupted flow in interstate commerce

to customers located in States other than the States in which the Defendants and their co-

conspirators produced the generic drugs;

              (b)    Data, information, correspondence and/or financial material were

exchanged between each Defendant in the State in which each is located, incorporated,

or has its principal place of business and other States;

              (c)    Money flowed between banks outside of the State in which each

Defendant is located, incorporated, or has its principal place of business and other States;

              (d)    Defendants and their co-conspirators imported substantial

quantities of raw materials for generic drugs from outside the United States; and/or

              (e)    Prices for the generic drugs at issue have been raised, fixed,

maintained and/or stabilized at artificially high and supracompetitive levels as paid in

interstate transactions throughout the United States.


                               36
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
          Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 42 of 367




           105.   The substantial effect of Defendants and/or their co-conspirators’

    anticompetitive conduct on commerce throughout the United States and in each

    individual State and territory gives rise to the claims asserted in this Complaint.

    VI.    GENERIC DRUGS, THE FDCA & HATCH-WAXMAN AMENDMENTS

           106.   Under the Federal Food, Drug, and Cosmetic Act (“FDCA”),

    manufacturers that create a new drug must obtain Food and Drug Administration

    (“FDA”) approval to sell the product by filing a New Drug Application (“NDA”). 21

    U.S.C. §§ 301-392. An NDA must include specific data concerning the safety and

    effectiveness of the drug, as well as any information on applicable patents. 21 U.S.C. §

    355(a), (b). Congress enacted the Drug Price Competition and Patent Term Restoration

    Act (often referred to as the “Hatch-Waxman Act”) in 1984 to promote competition and

    lower drug prices.4 Under the Hatch-Waxman Act, a manufacturer seeking approval to

    sell a generic version of a brand drug may instead file an Abbreviated New Drug

    Application (“ANDA”). An ANDA relies on the scientific findings of safety and

    effectiveness included in the brand manufacturer’s original NDA by showing that the

    generic drug contains the same active ingredient(s), dosage form, route of administration,

    and strength as the brand drug, and is absorbed at the same rate and to the same extent

    as the brand drug—that is, that the generic drug is pharmaceutically equivalent and

    bioequivalent (together, “therapeutically equivalent”) to the brand drug. The FDA



4
 See Drug Price Competition and Patent Term Restoration Act, Pub. L. No. 98-417, 98
Stat. 1585 (1984).
                                   37
                             PUBLIC VERSION
              REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 43 of 367




assigns generic drugs that are therapeutically equivalent to their brand-name counterpart

an “AB” rating.

       107.   The FDCA and Hatch-Waxman Amendments operate on the presumption

that bioequivalent drug products containing identical amounts of the same active

ingredients, having the same route of administration and dosage form, and meeting

applicable standards of strength, quality, purity, and identity are therapeutically

equivalent and may be substituted for one another. Bioequivalence demonstrates that

the active ingredient of the proposed generic drug would be present in the blood of a

patient to the same extent and for the same amount of time as the branded counterpart.

21 U.S.C. § 355(j)(8)(B).

       108.   Congress enacted the Hatch-Waxman Amendments to expedite the entry

of legitimate generic competitors, thereby reducing healthcare expenses nationwide.

Congress also sought to protect pharmaceutical manufacturers’ incentives to create new

and innovative products.

       109.   The Hatch-Waxman Amendments achieved both goals, advancing

substantially the rate of generic product launches, and ushering in an era of historic high

profit margins for brand manufacturers.          In 1983, before the Hatch-Waxman

Amendments, only 35% of the top-selling drugs with expired patents had generic

alternatives; by 1998, nearly all did. In 1984, prescription drug revenue for branded and

generic drugs totaled $21.6 billion; by 2009, total prescription drug revenue had soared

to $300 billion.


                               38
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
         Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 44 of 367




           110.   Generic versions of brand name drugs contain the same active ingredient

    and are determined by the FDA to be just as safe and effective as their brand name

    counterparts. The only material difference between generic and brand name drugs is

    their price: generics are usually at least 25% less expensive than their brand name

    counterparts when there is a single generic competitor, and this discount typically

    increases to 50% to 80% (or more) when there are multiple generic competitors on the

    market for a given brand. The launch of a generic drug thus usually brings huge cost

    savings for all drug purchasers and payors. The Federal Trade Commission (“FTC”)

    estimates that about one year after market entry, the generic version takes over 90% of

    the brand’s unit sales and sells for 15% of the price of the brand name product. Because

    each generic is readily substitutable for another generic of the same brand drug, the

    products behave like commodities, with pricing being the main differentiator and the

    basis for competition among manufacturers.

           111.   Generic competition usually enables market participants to acquire or pay

    for generic versions of the brand drug at a substantially lower price than the brand drug.

    Generic competition to a single blockbuster brand drug (i.e., a drug that generates annual

    sales of $1 billion or more) can result in billions of dollars in savings to health insurance

    entities, and others. Indeed, one study found that the use of generic drugs saved the

    United States healthcare system $1.68 trillion between 2005 and 2014. 5



5
 GPhA, Generic Drug Savings in the U.S. (7th ed. 2015) at 1, available at
http://www.gphaonline.org/media/wysiwyg/PDF/GPhA_Savings_Report_2015.pdf.
                                   39
                             PUBLIC VERSION
              REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 45 of 367




       112.   Due to the price differentials between brand and generic drugs, and other

institutional features of the pharmaceutical industry, pharmacists liberally and

substantially substitute for the generic version when presented with a prescription for the

brand-name counterpart. Since passage of the Hatch-Waxman Amendments, every State

has adopted substitution laws that either require or permit pharmacies to substitute

generic equivalents for branded prescriptions (unless the prescribing physician has

specifically ordered otherwise by writing “dispense as written” or similar language on

the prescription).

       113.   There is an incentive to choose the less expensive generic equivalent in

every link in the prescription drug chain. Pharmaceutical wholesalers and pharmacy

retailers (such as Pharmacy Assignors) pay lower prices to acquire generic drugs than to

acquire the corresponding brand-name drug, and particularly where there is legitimate

generic competition. Health insurance third-party payors such as UHS, which pays for

prescription drugs dispensed to insureds, also benefit from the lower prices charged as a

result of generic competition.

       114.   Further, the more generic manufacturers that enter a market, the more the

price for the drug decreases.     As an FDA study reflects, “generic competition is

associated with lower drug prices, with the entry of the second generic competitor being

associated with the largest price reduction,” as average prices fall to roughly half the

price of the branded drug.       Further, with the entry of each additional generic

manufacturer up to the ninth manufacturer, the price continues to fall. In mature markets


                               40
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
         Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 46 of 367




    with 19 or more generic manufacturers, the price of the generic drug is as low as 6% of

    the branded version. This phenomenon is demonstrated in the following chart prepared

    by the FDA:




          115.     Generic manufacturers typically report a Wholesale Acquisition Cost

    (“WAC”) for their drugs. WAC prices represent the manufacturer’s benchmark or

    reported list price. The WAC typically functions as the manufacturer’s list or benchmark

    price in sales to wholesalers or other direct purchasers and typically does not include

    discounts that may be provided, e.g., for volume sales. Manufacturers generally provide

    their WACs to purchasers or report them to publishers that compile that information for

    the market.6



6
 At one time, payors relied on cost-based pricing metrics to reimburse pharmacies that
dispensed drugs to their insured customers, paying the dispensing pharmacies an amount
                                             41
                                    PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
        Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 47 of 367




 VII.    THE DOJ AND STATE ATTORNEYS GENERAL INVESTIGATIONS

         116.   As set forth in this Complaint, the fact of a conspiracy to manipulate the

 price of generic drugs is not legitimately in dispute. What remains unknown is the

 complete scope of the vast conspiracy.

         A.     The DOJ is Maintaining an Active, a Broad-Ranging Criminal
                Investigation Into the Anticompetitive Conduct of Generic Drug
                Manufacturers

         117.   The U.S. Department of Justice (“DOJ”) has launched a criminal

 investigation into the generics industry, which remains active and has resulted in

 numerous charges, guilty pleas, and settlements against numerous manufacturers,

 including multiple Defendants to this Complaint. On December 12, 2016, the DOJ filed

 criminal charges against Jeffrey Glazer (the former CEO of Heritage) and Jason Malek

 (the former president of Heritage). Both Glazer and Malek later pleaded guilty to

 violations of Section 1 of the Sherman Act for their participation in conspiracies to fix

 prices, rig bids, and allocate customers for glyburide and doxycycline. The Hon. Barclay

 Surrick of the U.S. District Court for the Eastern District of Pennsylvania determined

 that there was a factual basis for both Glazer’s and Malek’s pleas and convicted each

 individual of a felony violation of the Sherman Act.

         118.   Since the charges against Glazer and Malek, the DOJ’s ongoing criminal

 investigation into the generic pharmaceutical drug industry has resulted in additional



based on the manufacturer’s list price for the drug, plus a small mark-up or dispensing
fee.
                                   42
                             PUBLIC VERSION
              REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 48 of 367




charges against seven generic drug manufacturers: Heritage, Rising, Sandoz, Apotex,

Glenmark, Taro, and Teva. Additionally, Armando Kellum and Ara Aprahamian were

also charged criminally in their individual capacities.

       119.   On May 30, 2019, DOJ charged Heritage with participating in a conspiracy

to fix prices of glyburide and reached a deferred prosecution agreement with Heritage to

resolve that charge. In that agreement, Heritage admitted, accepted, and acknowledged

that it is responsible under United States law for the acts of its officers, directors,

employees, and agents as charged in the Information.

       120.   Heritage further admitted that, from in or around April 2014 and

continuing until at least December 2015, Heritage, through certain of its officers and

employees, including certain of its high-level personnel, participated in a conspiracy with

other persons and entities engaged in the production and sale of various generic

pharmaceutical products, a purpose of which was to suppress and eliminate competition

by allocating customers and fixing and maintaining prices in the United States. To further

the conspiracy, Heritage, through certain of its officers and employees, including certain

of its high-level personnel, engaged in discussions with co-conspirators. During these

discussions, agreements were reached to allocate customers, rig bids, and fix and

maintain the prices in the United States.

       121.   In December 2019, co-conspirator Rising Pharmaceuticals LLC reached a

deferred prosecution agreement with DOJ in which Rising agreed that, between April

2014 and September 2015, it knowingly entered into and engaged in a conspiracy to


                               43
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 49 of 367




suppress and eliminate competition by agreeing to allocate customers for and to stabilize,

maintain, and fix prices of benazepril HCTZ sold in the United States. Rising further

admitted that it (a) discussed the allocation of and agreed to allocate customers located

in the United States; (b) provided or received specific non-public prices paid by the

allocated customers to the existing supplier; (c) submitted offers to and declined requests

to submit offers from customers in accordance with the agreement reached; and (d) sold

and accepted payment for benazepril HCTZ in the United States at collusive and

noncompetitive prices.

       122.   On February 4, 2020, Ara Aprahamian, the former Vice President of Sales

and Marketing of Defendant Taro, was indicted by a Grand Jury for criminal violations

of the Sherman Act. Aprahamian participated in a conspiracy between Sandoz, Taro, and

other conspiring companies, the purpose of which was to suppress and eliminate

competition by agreeing to allocate customers and rig bids for, and stabilize, maintain,

and fix prices of, generic drugs sold in the United States.

       123.   On February 14, 2020, Armando Kellum, formerly a Sandoz senior pricing

and contracts executive, pled guilty to DOJ charges that he participated in a conspiracy

with Sandoz, Taro, and other co-conspirators, the purpose of which was to suppress and

eliminate competition by agreeing to allocate customers and rig bids for, and stabilize,

maintain and fix prices of, generic drugs sold in the United States between at least as

early as March 2013 and continuing until at least June 2015.




                               44
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 50 of 367




       124.   On March 2, 2020, DOJ charged Sandoz with a four-count Information

alleging four separate violations of the Sherman Act. Count 1 of the Information charged

that Sandoz conspired with Taro to suppress and eliminate competition by agreeing to

allocate customers and rig bids for, and stabilize, maintain, and fix prices of, generic

drugs sold in the United States, from at least as early as March 2013 and continuing until

at least December 2015. Count 2 of the Information charged that Sandoz conspired to

suppress and eliminate competition with Kavod Pharmaceuticals LLC (f/k/a Rising

Pharmaceuticals, LLC, f/k/a Rising Pharmaceuticals, Inc.), by agreeing to allocate

customers for, and stabilize, maintain, and fix prices of, benazepril HCTZ sold in the

United States, from at least as early as April 2014 and continuing until at least September

2015. Count 3 of the Information charged that Sandoz conspired with Perrigo to suppress

and eliminate competition by agreeing to allocate customers and rig bids for, and

stabilize, maintain, and fix prices of, generic drugs sold in the United States, from at least

as early as July 2013 and continuing until at least December 2015. Count 4 of the

Information charged that Sandoz conspired with Teva to suppress and eliminate

competition by agreeing to allocate customers and rig bids for, and stabilize, maintain,

and fix prices of, generic drugs sold in the United States, from at least as early as July

2013 and continuing until at least December 2015.

       125.   Sandoz reached a deferred prosecution agreement with DOJ to resolve

these charges in which Sandoz Inc. admitted that it is responsible for the acts of certain

of its current and/or former employees that give rise to the charges in the Information.


                               45
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 51 of 367




Under that agreement, Sandoz Inc. further admitted that, from in or about March 2013

and continuing until in or about December 2015, Sandoz, through certain of its officers

and employees, including an individual within high-level personnel, conspired with other

persons and entities engaged in the production and sale of generic drugs to suppress and

eliminate competition by allocating customers, rigging bids, and increasing and/or

maintaining prices for certain generic drugs sold in the United States.

       126.   Sandoz, through certain of its officers and employees, including an

individual within high-level personnel, engaged in discussions with co-conspirators

involved in the production and sale of certain generic drugs that competed with Sandoz

products. During these discussions, agreements were reached with co-conspirators to

allocate customers, rig bids, and/or stabilize, maintain, and fix the prices of certain

generic drugs sold in the United States.

       127.   Sandoz further admitted that, from in or about March 2013 and continuing

until in or about December 2015, Sandoz conspired to suppress and eliminate

competition by agreeing to allocate customers and rig bids for, and/or stabilize, maintain,

and fix prices of, certain generic drugs, including clobetasol (cream, emollient cream,

gel, ointment, and solution), desonide ointment, and nystatin triamcinolone cream, with

Defendant Taro.

       128.   Sandoz further admitted that, from in or about April 2014 and continuing

until in or about September 2015, Sandoz conspired to suppress and eliminate

competition by agreeing to allocate customers for, and/or stabilize, maintain, and fix


                               46
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 52 of 367




prices of, benazepril HCTZ with Kavod Pharmaceuticals LLC (f/k/a Rising

Pharmaceuticals, LLC, f/k/a Rising Pharmaceuticals, Inc.). Benazepril HCTZ sold by

Sandoz and its co-conspirators, as well as payments for benazepril HCTZ, traveled in

interstate commerce.

       129.   Sandoz further admitted that, from in or about July 2013 and continuing

until in or about December 2015, Sandoz conspired to suppress and eliminate

competition by agreeing to allocate customers and rig bids for, and/or stabilize, maintain,

and fix prices of, certain generic drugs, including desonide ointment, with Defendant

Perrigo.

       130.   Sandoz further admitted that, from in or about July 2013 and continuing

until in or about December 2015, Sandoz Inc. conspired to suppress and eliminate

competition by agreeing to allocate customers and rig bids for, and/or stabilize, maintain,

and fix prices of, certain generic drugs, including tobramycin inhalation solution, with

Defendant Teva Pharmaceuticals USA, Inc.

       131.   On May 6, 2020, DOJ charged Defendant Apotex with participating in a

conspiracy, the purpose of which was to suppress and eliminate competition by agreeing

to increase and maintain prices of pravastatin in the United States between May 2013

and December 2015.

       132.   On May 7, 2020, Apotex entered into a deferred prosecution with DOJ to

resolve that charge. Apotex admitted that, under United States law, it is responsible for

the acts of certain of its current and/or former employees that give rise to the DOJ


                                47
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 53 of 367




charges. Apotex further admitted that, from May 2013 and continuing until at least

December 2015, Apotex, through certain of its current and/or former employees,

conspired with other persons and entities engaged in the sale of generic drugs to suppress

and eliminate competition by agreeing to increase and maintain prices of pravastatin sold

in the United States.

       133.   On July 14, 2020, a Grand Jury charged Defendant Glenmark with criminal

violations of the Sherman Act. Glenmark, Apotex, Teva, and other co-conspirators

knowingly entered into and engaged in a conspiracy to suppress and eliminate

competition by agreeing to increase and maintain prices of pravastatin and other generic

drugs sold in the United States.

       134.   On July 23, 2020, DOJ charged Defendant Taro with conspiring with

Sandoz Inc. to suppress and eliminate competition by agreeing to allocate customers and

rig bids for, and stabilize, maintain, and fix prices of, generic drugs sold in the United

States, from at least as early as March 2013 and continuing until at least December 2015;

and with conspiring with Defendant Teva to suppress and eliminate competition by

agreeing to allocate customers and rig bids for, and stabilize, maintain, and fix prices of,

generic drugs sold in the United States, from at least as early as May 2013 and continuing

until at least December 2015.

       135.   On July 23, 2020, Taro reached a deferred prosecution agreement with

DOJ to resolve these charges. In that agreement, Taro acknowledged that under United

States law, it is responsible for the acts of its officers, directors, employees, and agents


                               48
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 54 of 367




that give rise to the DOJ charges. Ara Aprahamian was one of the “officers, directors,

employees, and agents” for which Taro acknowledged and accepted legal responsibility.

Taro further admitted that, from in or about March 2013 and continuing until in or about

December 2015, through certain of its officers and employees, including Ara

Aprahamian, Taro U.S.A.’s Vice President of Rx Marketing, and beginning in April

2014, Taro U.S.A.’s Vice President of Sales and Marketing, conspired with other

individuals and entities engaged in the manufacture and sale of generic drugs to suppress

and eliminate competition by agreeing to allocate customers and rig bids for, and/or

stabilize, maintain, and fix prices of certain generic drugs sold in the United States in

violation of the Sherman Antitrust Act, 15 U.S.C. § 1.

       136.   Taro further admitted that from in or about March 2013 and continuing

until in or about December 2015, it conspired to suppress and eliminate competition by

agreeing to allocate customers and rig bids for, and stabilize, maintain, and fix prices of,

various generic drugs in the United States, including clobetasol (cream, emollient cream,

gel, ointment, and solution), desonide ointment, and nystatin triamcinolone cream, with

Sandoz; Armando Kellum, Sandoz’s Senior Director of Pricing and Contracts, and

beginning in November 2013, Sandoz’s Vice President of Contracting and Business

Analytics; and other individuals.

       137.   Taro further admitted that, from in or about May 2013 and continuing until

in or about December 2015, Defendant Taro conspired to suppress and eliminate

competition by agreeing to allocate customers and rig bids for, and stabilize, maintain,


                               49
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
         Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 55 of 367




    and fix prices of, certain generic drugs in the United States, including etodolac immediate

    release and extended release and carbamazepine tablets and chews, with Teva.

           138.   On August 25, 2020, a Grand Jury superseded the Indictment issued

    against Glenmark and also charged Teva. In this Second Superseding Indictment, the

    Grand Jury identified as co-conspirators Apotex, Taro, Sandoz, and also various entities

    and individuals both known and unknown to the grand jury. The Grand Jury established

    that, between May 2013 and December 2015, Teva, Glenmark, and their co-conspirators

    knowingly entered into and engaged in a conspiracy to suppress and eliminate

    competition by agreeing to increase and maintain prices of various generic drugs sold in

    the United States—including pravastatin, carbamazepine, clotrimazole, etodolac,

    fluocinonide, warfarin, tobramycin, nadolol, temozolomide, and others.

           B.     At Least 49 State Attorneys General are Separately Investigating the
                  Anticompetitive Conduct in The Generic Drug Industry

           139.   In addition to the DOJ’s criminal enforcement action, at least 49 States’

    Attorneys General, led by the State of Connecticut, have also filed          several civil

    enforcement actions based on their investigation to date into generic drug pricing. The

    State AGs have identified as co-conspirators at least 30 generic drug manufacturers 7 that

    conspired to fix prices of at least 200 different generic drugs.



7
 The Defendants thus far identified by the State AGs include: Actavis, Ascend,
Apotex, Amneal, Aurobindo, Breckenridge, Citron, Dr. Reddy’s, Emcure, Fougera,
G&W, Glenmark, Greenstone, Heritage, Lannett, Lupin, Mallinckrodt, Mayne, Mylan,
Par, Perrigo, Sandoz, Sun, Taro, Teligent, Teva, Upsher-Smith, Valeant, Wockhardt, and
Zydus
                                     50
                               PUBLIC VERSION
                REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 56 of 367




        140.   The State AGs allege—and document with detail based on records

obtained from Defendants through Civil Investigative Demands—that the identified

manufacturers and their co-conspirators participated in an overarching conspiracy to

unlawfully increase prices, allocate markets, and rig bids of numerous generic drugs.

       141.    In essence, the State AGs allege that the market for more than 200 generic

 drugs (along with many others not included in their Complaints) were cartelized based

 on an agreement or understanding between or among Defendants and their co-

 conspirators to refrain from competing with each other on the pricing and sale of the

 generic drugs in the United States. This agreement or understanding that the Defendants

 and their co-conspirators adhered to provides that each generic manufacturer “is entitled

 to its ‘fair share’ of the market, whether the market is a particular drug, or a number of

 generic drugs. Coined ‘fair share,’ the term is generally understood as an approximation

 of how much market share each competitor is entitled to, based on the number of

 competitors in the particular drug market, with a potential adjustment based on the timing

 of their entry . . . . The objective is to attain a state of equilibrium, where none are

 incentivized to compete for additional market share by eroding price.” State AGs’

 Consolidated Amended Complaint, ECF No. 3, Case No. 17-cv-3768-CMR (E.D. Pa.)

 (June 15, 2018) (hereinafter “State AGs’ Heritage Complaint”), ¶¶ 90, 97. In other

 words, generic drug manufacturers followed an express agreement to apply a negotiated

 formula that allocated the market share for the manufacturers of numerous generic drugs.




                                51
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 57 of 367




       142.    The State AGs establish that this formula was developed and agreed to as

the result of “an almost constant ability for Defendants to meet in person and discuss their

business plans.” Id. at ¶ 91. For example, anticompetitive agreements are reached at:

                [o]rganized recreational and social events, such as golf outings,
                lunches, cocktail parties, dinners, and other scheduled activities that
                provide further opportunity to meet with competitors outside of the
                traditional business setting. Of particular importance here, generic
                drug manufacturer representatives who attend these functions . . .
                use these opportunities to discuss and share upcoming bids, specific
                generic drug markets, pricing strategies and pricing terms in their
                contracts with customers, among other competitively sensitive
                information.

                These trade shows and customer conferences provide generic drug
                manufacturers, including but not limited to [the identified
                Defendants], with ample opportunity to meet, discuss, devise and
                implement a host of anticompetitive schemes that unreasonably
                restrain competition in the United States’ market for generic drugs.

 Id. at ¶¶ 79-80.

        143.    In furtherance of the conspiracy, the State AGs’ Complaint establishes that

 Defendants would frequently rig bids by increasing pricing to existing customers in order

 to allow another conspirator to win the business of that customer and obtain the market

 share to which it was entitled by the conspiracy’s formula. This process of purposefully

 abandoning existing customers would occur most frequently when a new conspirator

 enters the market for a generic drug. Whereas fundamental economic principles dictate

 that the price of the drug should decrease as the number of suppliers of that drug

 increases, the opposite typically occurred as a direct result of the conspiracy, because the




                                52
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 58 of 367




existing competitors would walk away from their customers in order to allow the new

entrant a portion of the market. Id. at ¶ 100.

       144.     These market allocation and price-fixing agreements were often negotiated

across more than one generic drug. In order to maintain supracompetitive prices,

“customers in one drug market might be traded for customers in another drug market . .

. . Alternatively, competitors might allow price increases on one or more generic drugs

without competing based on a quid pro quo from other competitors on different drugs.”

Id. at ¶ 101.

       145.     For example, Rajiv Malik of Mylan, N.V., spoke with Jeffrey Glazer of

Heritage, and Malik agreed that Mylan would walk away from two large accounts for

doxycycline DR so that Heritage could win this business. Malik noted that Mylan’s

consideration for abandoning this business had been provided previously, when Heritage

intentionally forfeited accounts to Mylan on a different drug. Id. at ¶ 103. During this

exchange, as with all collusive communications involving Mylan alleged in this

Complaint, the senior executive from Mylan (in this case Mr. Malik) acted on behalf of

and reached an agreement that bound all of the Mylan entities identified in this

Complaint.

       146.     By adhering to the common understanding regarding the market share that

each conspirator was entitled to, the Defendants also facilitated substantial price

increases. “As long as everyone in the ‘sandbox’ is playing fair, and the manufacturers

believe that they have their [predetermined market share], the larger understanding


                               53
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 59 of 367




dictates that they will not seek to compete or take advantage of a competitor’s price

increase by bidding a lower price to take that business. Doing so is viewed as ‘punishing’

a competitor for raising prices—which is against the rules.” Id. at ¶ 106.

       147.   The allegations from the States’ investigation to date are supported by

direct evidence from numerous cooperating witnesses. The expected testimony from

these cooperating witnesses will directly support and corroborate the allegations

throughout this Complaint. Some of those cooperating witnesses include:

                (a)     A former pricing executive at Defendant Sandoz during the

   time period relevant to this Complaint [referred to herein as CW-1];

                (b)     A former sales and marketing executive at Rising

   Pharmaceuticals, Inc. (“Rising”) and Defendant Sandoz during the time period

   relevant to this Complaint [referred to herein as CW-2];

                (c)     A former senior sales executive at Defendant Sandoz and

   Defendant Fougera during the time period relevant to this Complaint [referred to

   herein as CW-3];

                (d)     A former senior sales executive at Defendant Sandoz during

   the time period relevant to this Complaint [referred to herein as CW-4];

                (e)     A former senior executive at Defendant Glenmark during

   the time period relevant to this Complaint [referred to herein as CW-5];

                (f)     A former senior executive at Defendant Fougera and

   Defendant Aurobindo during the time period relevant to this Complaint [referred


                               54
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 60 of 367




   to herein as CW-6]; and

                (g)     Jason Malek (“Malek”), the former Vice President of

   Commercial Operations at Defendant Heritage who pled guilty to his role in the

   price-fixing Glyburide and Doxycycline.

       148.   In addition, the States have disclosed that, in the course of their

investigation, they have obtained contemporaneous handwritten notes taken by CW-3

during the time period relevant to this Complaint, containing direct evidence of his

collusion with several competitors. CW-3 maintained these notes in a two-volume

notebook that his colleague, CW-1, referred to as the                        (referred to

herein as the “Notebook”). The Notebook contains CW-3’s notes from internal Sandoz

meetings, as well as some, but not all, of his phone calls with competitors. CW-3 took

these notes chronologically between 2009 and 2015. In 2012 and 2013, the notes are

fairly comprehensive; however, the Notebook is less comprehensive starting in 2014

because CW-3 changed his note-taking practices. CW-3 took notes because he was

discussing many different prices and products with competitors and he could not keep

track of it all without notes. CW-3 generally traveled with the Notebook and did not hide

it from people, including competitors. Indeed, competitors often joked with him about

his “little black books.” References to the Notebook are discussed throughout this

Complaint to support the allegations alleged herein.




                               55
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
         Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 61 of 367




    VIII. THE GENERIC DRUG INDUSTRY WAS CHARACTERIZED
           BY AN EXTREMELY HIGH LEVEL OF COMPETITOR
           CONTACTS, WHICH FACILITATED COLLUSION BETWEEN
           DEFENDANTS

           149.   All Defendants are competitors or potential competitors with each other

    for each and every Price-Fixed Generic Drug at issue in this Complaint. The collusion

    alleged in this Complaint infected the generic drug industry, and at a minimum it

    contaminated the pricing and sale of the Price-Fixed Generic Drugs.

           150.   As Connecticut’s Attorney General George C. Jepsen commented, there is

    “a culture of cronyism [in the generic drugs industry] where, whether it’s over a game of

    golf or a dinner or drinks, there’s just systematic cooperation.” 8

           151.   As alleged in this Complaint, these numerous competitor contacts resulted

    in express agreements between Defendants and their co-conspirators to fix prices,

    allocate markets, and rig bids on the pricing and sale of generic drugs sold throughout

    the United States, including the Price-Fixed Generic Drugs.           In other words, the

    Defendants got together and exchanged assurances of common action and also adopted

    a common plan to cartelize the pricing and sale of the Price-Fixed Generic Drugs.




8
  K. Thomas, 20 States Accuse Generic Drug Companies of Price Fixing, NY TIMES
(Dec. 15, 2016), https://www.nytimes.com/2016/12/15/business/generic-drug-price-
lawsuit-teva-mylan.html?mcubz=3.
                                   56
                             PUBLIC VERSION
              REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 62 of 367




       A.     The Principles of “Playing Fair” and “Fair Share” Governed
              Defendants’ Interactions

       152.   In an unrestrained generic drug market, new market entrants typically price

their product below the prevailing market price in order to gain market share. As a result,

each subsequent entry into a generic market should decrease the market prices as

manufacturers compete for market share. As discussed in detail below, this did not

happen for the generic drugs at issue because Defendants used their “fair play” and “fair

share” agreement to coordinate market share and pricing.

       153.   The practice of contacting competitors to determine their market

intentions—whether through in-person meetings, telephone communications, or other

interactions—is a longstanding industry practice and dates back to at least 2006. Indeed,

when Glazer began working at Heritage in early 2006, the then-head of sales,

Konstantine Ostaficiuk, taught him the importance of speaking to competitors in order

to figure out pricing and how to secure adequate customer volume without depressing

prices market wide.

       154.   Defendants understood and engaged in the practice of contacting their

competitors when they were preparing to enter a particular generic market so that they

could allocate the market according to their “fair share” agreement. Reaching out to

competitors was part of the “tool kit” used in the ordinary course of business.

       155.   “Fair shares” were allocated to Defendants within a particular drug market

based upon the number of competitors in the market and the timing of their entry into

the market. Traditionally, the first entrant to the market received the largest share of the

                                 57
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 63 of 367




market, and each subsequent entrant received a progressively smaller share. This system

aimed to allocate to each Defendant a “fair share” of the market without depressing

prices. As detailed below, through this overarching conspiracy, Defendants often were

able to raise prices or enter the market at elevated prices.

       156.   The “fair share” agreement was so ingrained that some Defendant account

managers and sales teams viewed contacting their counterparts at other companies—

even to discuss market allocation and/or price increases—as part of the normal course of

business.

       157.   Defendants understood the “rules of the road” and that they needed to

“play nice in the sandbox.” This understanding meant that Defendants did not compete

with each other on price and did not take advantage of another Defendant’s price increase

by providing a lower bid to “steal” the customer.

       158.   The concept of a “fair share” was not limited to a specific drug. Rather,

the concept of “fair share” extended across generic drugs, and at least to the Price-Fixed

Generic Drugs. Defendants that “played fair” and maintained a “fair share” would

benefit from the overarching conspiracy as a whole, even if Defendants would

occasionally “lose out” on one specific drug. For example, customers in one generic

drug market were sometimes traded for customers in a different generic drug market so

that fair shares could be allocated across the larger market.        In other instances,

competitors would support a price increase for one drug with the understanding that their

competitors would support a price increase for a different drug. Defendants who


                                 58
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 64 of 367




undercut other Defendants’ prices were seen as “not playing fair” and “punishing” a

competitor, which was contrary to the “fair share” agreement.

       159.   The “fair share” agreement was utilized repeatedly throughout the relevant

period. Defendants routinely and readily agreed to follow or not to compete on price

increases for a number of generic drugs. Additionally, when customers requested new

bids in response to price increases instituted from other Defendants, the Defendant-

competitors spoke to each other and devised strategies for responding without

undermining pricing. Consequently, consistent with their understanding of fair share,

Defendants sometimes refused to bid or provided a cover bid that allowed a competitor’s

price increase to succeed.

       B.     Defendants Used Sales Employees and Trade Association Meetings to
              Facilitate Their Collusion

       160.   As the civil and criminal enforcement actions indicate, Defendants were

also members of numerous trade associations and used the meetings of those associations

to facilitate their collusion. The frequent trade association meetings provided an ideal

mechanism through which Defendants could and did meet in person and reach

agreements with their competitors to increase prices on the Price-Fixed Generic Drugs

sold throughout the United States.

       161.   Defendants’ anticompetitive conduct was a result of an agreement (or

series of agreements) to fix, maintain, and stabilize prices, rig bids, and allocate

customers for the sale of the Price-Fixed Generic Drugs. The agreement was furthered

by discussions held at industry meetings and events hosted by various trade associations,

                                 59
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 65 of 367




including GPhA, HDMA, ECRM, and MMCAP (all defined below) as well as other

meetings and communications.

      162.   In formulating and effectuating their conspiracy, Defendants engaged in

numerous anticompetitive activities, including, among other acts:

             (a)    Participating, directing, authorizing, or consenting to the

participation of subordinate employees in meetings, conversations, and communications

with co-conspirators to discuss the sale and pricing of Price-Fixed Generic Drugs in the

United States;

             (b)    Participating, directing, authorizing, or consenting to the

participation of subordinate employees in meetings, conversations, and communications

with co-conspirators to engage in market and customer allocation or bid rigging for

Price-Fixed Generic Drugs sold in the United States;

             (c)    Agreeing     during     those      meetings,    conversations,   and

communications to engage in market and customer allocation or bid rigging for Price-

Fixed Generic Drugs sold in the United States;

             (d)    Agreeing     during     those      meetings,    conversations,   and

communications not to compete against each other for certain customers for Price-Fixed

Generic Drugs sold in the United States;

             (e)    Submitting bids, withholding bids, and issuing price proposals in

accordance with the agreements reached;




                              60
                        PUBLIC VERSION
         REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 66 of 367




              (f)    Selling Price-Fixed Generic Drugs in the United States at collusive

and noncompetitive prices; and

              (g)    Accepting payment for Price-Fixed Generic Drugs sold in the

United States at collusive and noncompetitive prices.

       163.   To sustain a conspiracy, conspirators often communicate to ensure that all

are adhering to the collective scheme. Here, such communications occurred primarily

in and around: (1) trade association meetings and conferences, (2) private meetings,

dinners, and outings among smaller groups of employees of various generic drug

manufacturers, and (3) individual private communications between and among

Defendants’ employees through use of the phone, electronic messaging and similar

means.

       164.   These secret, conspiratorial meetings, discussions, and communications

helped to ensure that all Defendants agreed to participate in, implement, and maintain an

unlawful bid rigging, price-fixing, and market and customer allocation scheme.

       165.   The industry intelligence-gathering reporting firm Policy and Regulatory

Report has reportedly obtained information regarding the investigation of generic drug

companies by the DOJ, and has indicated that the DOJ is investigating the extent to which

trade associations and industry conferences have been used as forums for collusion

among competing generic drug companies. The State AGs have similarly noted the

centrality of trade associations and industry conferences in their investigation, stating

that they have uncovered evidence that certain generic drug companies “routinely


                               61
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 67 of 367




coordinated their schemes through direct interaction with their competitors at industry

trade shows, customer conferences, and other events, as well as through direct e-mail,

phone, and text message communications.”

       166.    Defendants were members of numerous trade associations, which they

used to facilitate their conspiratorial communications and implement their

anticompetitive scheme to raise, maintain, and stabilize prices, rig bids, and engage in

market and customer allocation concerning Price-Fixed Generic Drugs, including but not

limited to GPhA and HDMA. In addition, Defendants regularly attended industry events

hosted by the MMCAP.

       167.    The GPhA bills itself as “the nation’s leading trade association for

manufacturers and distributors of generic prescription drugs, manufacturers of bulk

active pharmaceutical chemicals, and suppliers of other goods and services to the generic

industry.” The trade association was the result of a 2000 merger between the GPhA and

two rival trade associations (the National Association of Pharmaceutical Manufacturers,

and the National Pharmaceutical Alliance). According to GPhA’s website, its “member

companies supply approximately 90 percent of the generic prescription drugs dispensed

in the U.S. each year.”       The GPhA’s website touts the “business networking

opportunities” and the “peer-to-peer connections” as the primary reasons to join the trade

association.   See http://www.gphaonline.org/about/ membership.         GPhA members

during the relevant time period have included Defendants Actavis, Apotex, Aurobindo,




                               62
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 68 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 69 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 70 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 71 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 72 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 73 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 74 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 75 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 76 of 367
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 77 of 367




       170. Upon information and belief, each of the conspiratorial price increases

alleged in this Complaint was discussed, at least in part, at the GPhA’s three annual

meetings (including the numerous social events that were attendant to these meetings,

such as golf outings, cocktail parties, and even informal dinners). In many of the

instances alleged above, attendees for each conspirator included individuals with pricing

authority over generic pharmaceutical drugs, including the Price-Fixed Generic Drugs.

Indeed, the State AGs allege that the GPhA meetings and other events “provide generic

drug manufacturers, including but not limited to [the 17 corporate Defendants named in

the State AGs’ Heritage Complaint], with ample opportunity to meet, discuss, devise and

implement a host of anticompetitive schemes that unreasonably restrain competition in

the United States’ market for generic drugs.”

       171.   In addition to the GPhA meetings, other industry events provided

Defendants with opportunities to collude, and Defendants did in fact use these

opportunities to discuss their unlawful agreements.

       172.   The HDMA (now called HDA) is a national trade association that

represents “primary pharmaceutical distributors” which links the nation’s drug

manufacturers and more than 200,000 pharmacies, hospitals, long-term care facilities,

and clinics. HDMA holds regular conferences where its members, including generic

drug manufacturers, meet to discuss various issues affecting the pharmaceutical industry.

HDMA members, during the relevant time period, have included Defendants Apotex,

Breckenridge, Citron, Dr. Reddy’s, Heritage, Impax, Lannett, Lupin, Mayne, Mylan,


                               72
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 78 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 79 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 80 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 81 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 82 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 83 of 367
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 84 of 367




       174.    According to its website, NACDS “advances a pro-patient and pro-

pharmacy agenda.      For the ultimate benefit of the consumers served by NACDS

members, the mission of NACDS is to advance the interests and objectives of the chain

community pharmacy industry, by fostering its growth and promoting its role as a

provider of healthcare services and consumer products.”

       175.    NACDS hosts an Annual Meeting every year that it claims is “the

industry’s most prestigious gathering of its most influential leaders. It is the classic ‘Top-

to-Top’ business conference, attended by industry decision makers.”              Its website

promises that it will give companies “a unique opportunity to gain new insights into

today’s changing marketplace and set your course for the future.” It provides companies

with the “opportunity to meet and discuss strategic issues with key trading partners” to

“set[] the stage for profitable business.” Participation is restricted to executives from

NACDS member companies.

       176.    NACDS also hosts an annual Total Store Expo. Its website claims it is

“the industry’s largest gathering of its most influential leaders. It will give you and your

company a unique opportunity to gain new insights into today’s evolving marketplace

and set your course for the future.”

       177.    NACDS members include Defendants Akorn, Apotex, Ascend,

Aurobindo, Breckenridge, Citron, Dr. Reddy’s, Epic, Glenmark, Heritage, Impax,

Lannett, Lupin, Mayne, Mylan, Perrigo, Sandoz, Sun, Taro, Teva, Upsher-Smith,

Wockhardt, and Zydus.


                               79
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 85 of 367




       178.   According to its website, MMCAP is a “free, voluntary group purchasing

organization for government facilities that provide healthcare services. MMCAP has

been delivering pharmacy and healthcare value to members since 1985. MMCAP’s

membership extends across nearly every state in the nation, delivering volume buying

power. Members receive access to a full range of pharmaceuticals and other healthcare

products and services; such as, medical supplies, influenza vaccine, dental supplies, drug

testing, wholesaler invoice auditing and returned goods processing.”

       179.   MMCAP’s Charter provides that “[i]n 1989, the Minnesota Department of

Administration, an agency of the State of Minnesota, began a cooperative purchasing

venture program to procure pharmaceutical products at the best price possible for the

benefit of any other state interested in participating in the program.... In 1996, the

cooperative purchasing venture was named Minnesota Multistate Contracting Alliance

for Pharmacy ... and currently provide healthcare-related contracting to state and local

government members located across the United States of America.” Total purchases by

MMCAP member facilities for all MMCAP programs exceed $1 billion annually.

       180.   MMCAP held its National Member Conference in Bloomington,

Minnesota on May 12-15, 2014. At MMCAP’s 2014 National Member Conference,

topics included “RFPs under consideration for Pharmacy,” “contract evaluation,” and

“pharmaceutical price increases.” At the MMCAP conference, a Heritage employee met

in person and discussed price increase strategies with a number of different competitors




                               80
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 86 of 367




and was able to personally confirm agreement to raise prices of one or more Price-Fixed

Generic Drugs.

       181.   MMCAP’s May 12-15, 2014 National Member Conference was attended

by at least the following representatives from Defendants, who were key executives for

generic drug sales and pricing:

              (a)    Actavis: Mark Blitman, Executive Director of Sales for

Government Markets;

              (b)    Mylan: Jan Bell, Director, National Accounts; and

              (c)    Heritage: Anne Sather, Director, National Accounts.

       182.   According to its website, ECRM conducts Efficient Program Planning

Sessions that are made up of one -on-one strategic meetings that connect decision makers

in an effort to maximize time, grow sales, and uncover industry trends.

       183.   At these various conferences and trade shows, representatives from at least

some Defendants, as well as other generic drug manufacturers, discussed their respective

businesses and customers. These discussions would occur at social events, including

lunches, cocktail parties, dinners, and golf outings, that usually accompanied these

conferences and trade shows. Defendants’ employees used these opportunities to discuss

and share upcoming bids, specific generic drug markets, pricing strategies and pricing

terms in their contracts with customers.

       184.   In conjunction with meetings at these conferences and trade shows,

representatives of generic drug manufacturers got together separately, in more limited


                               81
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 87 of 367




groups, allowing them to further meet face-to-face with their competitors and discuss

their business. In fact, high-level executives of many generic drug manufacturers got

together periodically for what at least some of them referred to as industry dinners.

       185.   A large number of generic drug manufacturers, including many

Defendants here, are headquartered in close proximity to one another in New York, New

Jersey, and eastern Pennsylvania, giving them easier and more frequent opportunities to

meet and collude. For example, in January 2014, at a time when the prices of a number

of generic drugs were reportedly soaring, at least thirteen high-ranking male executives,

including CEOs, Presidents, and Senior Vice Presidents of various generic drug

manufacturers, met at a steakhouse in Bridgewater, New Jersey.

       186.   Generic drug manufacturer employees also got together regularly for what

they referred to as a “Girls’ Night Out” (“GNO”), or alternatively “Women in the

Industry” meetings and dinners. During these GNOs, meetings and dinners, these

employees meet with their competitors and discussed competitively sensitive

information. For example, several different GNOs were held in 2015, including: (1) at

the ECRM conference in February (involving sales executives from Citron, Dr. Reddy’s,

Heritage, Lannett, and Teva, among others); (2) in Baltimore, Maryland in May

(involving sales executives from Citron, Dr. Reddy’s, Heritage, Teva, and Zydus, among

others); and (3) upon information and belief, in August in Denver, Colorado (involving

sales executives from Citron, Dr. Reddy’s, and Heritage, among others).




                               82
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 88 of 367




       187.   Many “Women in the Industry” dinners were organized by a salesperson

from Defendant Heritage who resides in the State of Minnesota. Other participants in

these meetings were employees of generic drug manufacturers located in Minnesota, or

salespeople residing in the area. However, out-of-town sales representatives were also

aware of these dinners and were included when in the area.

       188.   Through these various interactions, Defendants’ employees were often

acutely aware of their competition and, more importantly, each other’s current and future

business plans.     This familiarity and opportunity often led to agreements among

competitors to fix prices or to allocate a given market so as to avoid competing with one

another on price.

       189.   Defendants also routinely communicated and shared information with each

other about bids and pricing strategy. This included forwarding bid packages received

from a customer (e.g., a Request for Proposal or “RFP”) to a competitor, either on their

own initiative, at the request of a competitor, or by contacting a competitor to request

that the competitor share that type of information. Upon information and belief, these

information exchanges were made by individuals with pricing and bidding authority and

impacted the prices charged by Defendants for the Price-Fixed Generic Drugs.

       190.   Additionally, Defendants shared information regarding the terms of their

contracts with customers, including various terms relating to pricing, price protection,

and rebates. Defendants used this information from their competitors to negotiate higher

prices or superior terms with their customers, which was to the ultimate detriment of


                               83
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 89 of 367




consumers. Again, this information sharing was undertaken for the purpose of impacting

(and increasing) Defendants and their conspirators’ prices for the Price-Fixed Generic

Drugs.

         191.   In sum, during meetings of the GPhA, HDMA, ECRM, and MMCAP, and

the other meetings described above, Defendants and co-conspirators exchanged

confidential, commercial sensitive information in furtherance of the conspiracy, or

agreed to fix prices, or both, of Price-Fixed Generic Drugs.

         192.   In addition, National Account Managers (“NAMs”) are the sales force

within the pharmaceutical industry. Although NAMs at the various Defendants compete

for the same customers, they also have developed close relationships. NAMs frequently

met with each other in various social settings, which made it easy to exchange

competitive information.

         193.   Many of the NAMs and other marketing and sales personnel employed by

Defendants have worked at multiple companies—including other Defendants—during

their careers. These employees maintained contact with people at their prior employers.

In turn, this facilitated the ease with which conspiratorial agreements could be reached.

         194.   For example, Susan Knoblauch worked at Sun for nearly 10 years before

moving to a different sales position at Citron. Beth Hamilton worked at Apotex before

moving to Mayne. Heritage’s Daniel Lukasiewicz began his career at Aurobindo, moved

to Zydus and currently works at Defendant Heritage.




                                84
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 90 of 367




      195.     Among Defendants, this familiarity spawned collusion. For example, as

discussed below, in the spring and summer of 2014, Heritage’s Lukasiewicz—at the

direction of CEO Glazer—reached out to Aurobindo, his former place of employment,

to coordinate pricing on glyburide, glyburide-metformin, and fosinopril HCTZ.

      196.     Similarly, Teva’s Director of Strategic Customer Marketing Nisha Patel

met Heritage’s then-Sr. Vice President Malek when she worked at Amerisource Bergen,

which was a Heritage customer that Malek managed. When Patel moved to Defendant

Teva in April 2013, she contacted Malek to determine which generic drug products Teva

sold that overlapped with generic drugs sold by Heritage so that they could coordinate

pricing. As detailed below, Malek and Patel used their relationship to orchestrate a

number of price increases throughout the relevant period—some led by Teva, others led

by Heritage.

      197.     Malek and Patel’s relationship was valued and accepted by Malek’s

supervisors. For example, in April 2014, Malek and Glazer met with the CEO (Satish

Mehta) and President (Vikas Thapar) of Emcure, Heritage’s parent, to discuss potential

price increases for several drugs. During that meeting, Heritage’s Malek told Emcure’s

Mehta and Thapar about his contact at Teva, Nisha Patel. Malek, who already had been

discussing price increases for nystatin with Patel since mid-2013, told them that Patel

could be a vehicle for communicating with Teva about price increases and customer

allocation. Mehta and Thapar approved of Malek’s strategy to coordinate prices and

allocate customers with Teva.


                               85
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 91 of 367




      198.    Defendants’ geographic proximity to each other—at least 41 different

generic drug manufacturers are concentrated between the New York City and

Philadelphia metropolitan areas—facilitated Defendants’ frequent in-person meetings at

“industry dinners” and other social events. These events provided Defendants with

additional opportunities to collude.

       C.     Defendants Communicated in Secret Through Email, Telephone,
              and Text Messages

       199.   In addition to the in-person meetings, Defendants also communicated

regularly in furtherance of the conspiracy via email, telephone, and text.

       200.   For example, telephone records produced to the State AGs establish that,

during just a one-year period between July 2013 and July 2014, senior sales executives

and other individuals with responsibility for pricing at Heritage had at least 513 contacts

with executives from Actavis, Apotex, Ascend, Aurobindo, Citron, Dr. Reddy’s,

Glenmark, Lannett, Mayne, Par, Sandoz, Sun, Teva, and Zydus. State AGs’ Heritage

Complaint, ¶ 94 (as the State AGs’ Heritage Complaint further notes, the 513 figure

likely underrepresents the actual number of phone contacts during this period, “because

it is based on phone and text message records from only some of the executives and

salespeople at issue.”).

       201.   Similarly, during that same period, senior sales executives and other

individuals responsible for pricing at Teva had at least 1,501 contacts with executives

from Actavis, Apotex, Ascend, Aurobindo, Citron, Dr. Reddy’s, Glenmark, Heritage,

Lannett, Mayne, Par, Sandoz, Sun, and Zydus.
                                 86
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 92 of 367




       202.   It is clear from the limited information adduced to date, that there was a

widespread pattern of communications occurring simultaneously between and among

Defendants that marketed and sold the generic drugs at issue. This extraordinary level

of inter-firm contacts is consistent with collusion and inconsistent with independent

action. Upon information and belief, Defendants used these contacts to discuss the

unlawful agreements alleged in this Complaint.

IX.    THE CONSPIRATORIAL PRICE-FIXING AGREEMENTS

       203.   As part of their overarching conspiracy, and as a result of their frequent in-

person meetings and the collusive communications that ensued as a result of these

meetings via email, telephone, and text messages, Defendants and their co-conspirators

were able to implement, and did implement unlawful price increases on Price-Fixed

Generic Drugs identified in this Complaint.

       204.   There were no market-based justifications for any of the abrupt price

increases described below. The increases in price were not necessitated by increased

manufacturing costs, or research and development costs. Federal law requires drug

manufacturers to report potential drug shortages to the FDA, and no supply disruption

was reported during the duration of the alleged conspiracy as to any of the Price-Fixed

Generic Drugs (except where expressly alleged below). Similarly, during the time frame

relevant to these allegations, there were no known raw material shortages affecting the

manufacture of any of the Price-Fixed Generic Drugs in the United States, nor did

demand for any of these drugs suddenly increase.

                              87
                        PUBLIC VERSION
         REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 93 of 367




       205.    In the absence of coordinated pricing activity among generic

manufacturers, an individual generic manufacturer cannot significantly increase its price

without incurring the loss of a significant volume of sales, and the price increases of the

Price-Fixed Generic Drugs described in this Complaint were against each Defendant’s

individual self-interest.

       206.    While the direct evidence currently known or available to Plaintiff focuses

predominantly on Heritage’s communications within the industry, these communications

are just one window into Defendants’ overarching conspiracy, which cuts across all of

the generic drugs at issue in this Complaint and inculpates all Defendants. Upon

information and belief, each Defendant, including the Defendants who did not

manufacture the particular drug involved in each drug-specific agreement, was a party

to the broader, overarching conspiracy to abide by the “fair share” agreement covering

all of the Price-Fixed Drugs. The purpose and effect of these agreements was to lessen

competition in the markets for each drug.

       A.      Acetazolamide

       207.    The market for acetazolamide is mature, as the drug has been available in

the United States since 1952. The World Health Organization (“WHO”) includes

acetazolamide on its list of essential medicines. During the relevant time period, Taro,

Lannett, Heritage, Teva, and Zydus sold generic acetazolamide throughout the United

States. Acetazolamide is sold in two formulations—tablets (manufactured by Taro and

Lannett) and sustained-release capsules (manufactured by Heritage, Teva, and Zydus).

                                 88
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 94 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 95 of 367
         Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 96 of 367




Blashinsky meant was that Taro had an understanding with Lannett that Lannett would

follow Taro’s price increase and it would not poach any of Taro’s customers. On April

10, 2012, Taro submitted reduced pricing to Cardinal for several of the products, but the

price of Acetazolamide remained unchanged.

          215. Also on April 3, 2012, Tracy Sullivan, a Lannett sales executive, e-mailed

her supervisor, K.S., about bidding on a Target RFP and listed several products including

Acetazolamide for which Taro was the current supplier. Consistent with the ongoing

agreement with Taro, K.S. directed Sullivan not to bid on the Acetazolamide business.

The next day, April 4, 2013, Lannett submitted a response to the Target RFP that did not

include Acetazolamide.

          216. In March 2013, Taro hired Ara Aprahamian as a senior sales and marketing

executive. Aprahamian and A.B., a senior-most executive officer at Lannett, had a social

relationship that preceded Aprahamian’s tenure at Taro. The two men met up for meals,

contemplated joining a horse racing investment group, and did other favors for each

other.

          217. Shortly after Aprahamian began working at Taro, in the late fall of 2013,

that relationship became collusive and Taro and Lannett coordinated to again raise the

price of Acetazolamide—this time by raising it more than 220%.

          218. In the months leading up to the increases, representatives of Taro and

Lannett had the opportunity to discuss and coordinate the late fall 2013 price increases

in person at trade association meetings and other social occasions.

                                 91
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 97 of 367
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 98 of 367




       223. Shortly after these calls, on November 26, 2013, Lannett raised its WAC

price on Acetazolamide by 275.5% to $230.65.

       224. Following the increase, Lannett customers reached out to Taro asking the

competitor to bid on Acetazolamide. Consistent with its ongoing understanding with

Lannett, Taro turned the business away.

       225. For example, Wal-Mart, a Lannett customer, e-mailed D.S. of Taro on

November 26, 2013, asking if Taro was interested in bidding on its Acetazolamide

business. In response, Aprahamian sent an internal e-mail to D.S., and others at Taro,

instructing them

Aprahamian further advised that they should



       226. Later that same day, another Lannett customer, Meijer, reached out to S.B.,

a Taro sales executive, asking for a bid on Acetazolamide. S.B. responded,



                                                   But that explanation was a lie; Taro

was not having supply issues at that time.

       227. Following Lannett’s increase, Taro’s customers, including Cardinal,

McKesson, and Morris & Dickson, tried to increase their Acetazolamide orders with Taro

at the lower pricing, anticipating that Taro might try to raise its prices as well.

Aprahamian told Taro’s supply chain personnel to monitor these increased orders and




                               93
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 99 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 100 of 367
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 101 of 367




       235.   That same day, on December 16, 2013, in a Sales and Marketing

conference call, Aprahamian noted to the invitees, including M.L., that the

Acetazolamide pricing adjustments

       236.   Taro’s and Lannett’s revenue from Acetazolamide grew substantially with

the coordinated price increases. In 2012, total sales for Acetazolamide were $16,480,000.

Revenue from sales in 2013 rose to $21,270,000 and, in 2014 after the late fall 2013

price increases, total sales of Acetazolamide reached $60,680,000.

       237.   Throughout the period of the price increases referenced above, Lannett and

Taro maintained a virtually even split of the 250mg market, with each having around

50% of the market. Overall, combining the markets for the 125mg dosage and 250mg

dosage, Taro had approximately 56% of the total market and Lannett had 43%.

       238.    The list and AWP prices for acetazolamide tablets remained elevated

above competitive levels thereafter.

       239.   The graph below shows combined market share (total dollar sales) for

acetazolamide 125 mg and 250 mg tablets since 2012:




                               96
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
         Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 102 of 367




          240.   The lockstep price increases and nearly perfect market share split across

    multiple dosages by Taro and Lannett is consistent with Defendants’ “fair share”

    agreement.

          241.   The pricing conduct of Taro and Lannett is not consistent with

    competition. Manufacturers would not impose a large price increase absent some

    assurance that their competitor would do the same, lest they lose market share.

          242.   With respect to capsules, Heritage, Teva, and Zydus have sold the vast

    majority of acetazolamide capsules, with Heritage and Teva combining for

    approximately 78% of sales.9




9
 Teva marketed and sold acetazolamide capsules during the relevant period at least in
part through its subsidiary, Barr.
                                  97
                            PUBLIC VERSION
             REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 103 of 367




       243.    During the week of April 14, 2014, Heritage’s Malek met with two

employees and asked them to start analyzing the impact of price increases for numerous

generic drugs, including acetazolamide.

       244.    Before introducing the market-wide price increases to the rest of his sales

team, Malek began communication with Patel at Teva, who was a competitor for multiple

(at least seven) drugs on Malek’s initial list. On April 15, 2014, Heritage’s Malek spoke

with Patel of Teva for more than seventeen minutes. During that phone call, Patel agreed

to support and follow Heritage’s price increase for acetazolamide (which would be

approximately 75%) and a series of other drugs, and that Patel would communicate the

details of the price increase to the sales executive at Zydus,                 , who was

responsible for acetazolamide. Patel already had secured Heritage’s agreement to

support Teva’s price increases for nystatin and theophylline.

       245.    Malek and Patel spoke several more times over the next several months to

confirm their agreement to raise prices and to keep abreast of the progress of the price

increases.

       246.    On April 16, 2014, the day after Malek spoke to Patel, a Teva employee—

believed to be Patel—then called            at Zydus to discuss the pricing of at least

acetazolamide. The two spoke for nearly twenty minutes, and spoke again the next day

for nearly twelve minutes. Over the next several months, the two communicated

frequently.




                                  98
                            PUBLIC VERSION
             REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 104 of 367




       247.   As noted above, on April 22, 2014, Heritage’s Malek held a telephone

conference with the sales team and dictated a pricing strategy that targeted numerous

drugs for a price increase. This list included acetazolamide.

       248.   As with the other drugs he targeted, Malek believed it was important to

“socialize” the idea of an acetazolamide price increase with competitors before

implementing it. To that end, he and the Heritage NAMs contacted Teva and Zydus to

discuss pricing and customers either via phone, text or email, or in person, often through

industry trade association meetings and conferences.

       249.   Malek personally took responsibility to communicate with Defendants

Teva and Zydus. Anne Sather was responsible for Lannett as well as two other

Defendants. Matt Edelson, Daniel Lukasiewicz, and Neal O’Mara were responsible for

contacting four other Defendants about pricing for various drugs.

       250.   Four days after this phone call, on April 26-29, CEO Glazer attended the

NACDS Annual Meeting where he had the opportunity to meet with representatives from

numerous Defendants, including the other manufacturers of acetazolamide capsules,

Teva and Zydus.

       251.   While Teva’s Patel and Heritage’s Malek were discussing increasing

prices for multiple generic drugs, on April 24, 2014, Malek contacted                   at

Zydus through the website LinkedIn to discuss at least acetazolamide.          responded

later that day, and the two communicated the next day about the acetazolamide price

increase as well.


                               99
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 105 of 367




       252.   In order to ensure that the price increase was successful, Heritage, Zydus,

and Teva agreed that they would not underbid each other’s Acetazolamide business while

they implemented the price increase. Malek and            confirmed this agreement with

each other by telephone on May 7, 2014.

       253.   In a May 6 and 7 email exchange, Malek explained that he had obtained

agreements to raise the price of acetazolamide.         Malek had previously told an

unidentified Heritage sales person to hold off on responding to a large customer’s request

for a price reduction. After confirming his agreement with Teva and Zydus to raise the

price of acetazolamide, he informed his sales person that Heritage would not agree to

reduce its price.

       254.   During this time Heritage avoided bidding on any potential customers

where Zydus was already supplying acetazolamide. Heritage did this in furtherance of

Defendants’ agreement not to compete.

       255.   During this time, employees at Teva and Zydus were also in close contact

with each other about acetazolamide. On May 14, 2014, employees of Teva and Zydus

exchanged numerous text messages.

       256.   All Defendants had plentiful opportunities to speak in person about these

agreements. Between April and October 2014, all U.S. Defendants attended at least one

of the many trade events organized during this time period, by NACDS, MMCAP,

HDMA, or GPhA, in addition to several customer conferences.




                               100
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 106 of 367




       257.   Defendants used these meetings as an opportunity to confirm agreements

on pricing and otherwise engage in anticompetitive conduct related to the generic drugs

at issue. For example, on June 3, at the HDMA Business and Leadership Conference,

Heritage’s Sather had dinner and drinks with sales people from Sandoz, Par, and Lannett.

       258.   On June 23, the Heritage sales team had a meeting where they discussed

the specific percentage amounts they would seek to increase on the identified drugs and

their strategy for doing so. The proposed increase for acetazolamide capsules was 75%.

       259.   On June 26, 2014, as agreed with Teva and Zydus, Heritage began

notifying its customers that it was increasing prices for nine different drugs, including

acetazolamide by approximately 75%. By July 9, 2014, Heritage had fully implemented

this collusive price increase on all major accounts, at least seventeen different customers

nationwide.

       260.   Teva and Zydus likewise increased their prices of Acetazolamide by

approximately 75%.

       B.     Albuterol

       261.   The market for albuterol is mature, as albuterol has been available in the

United States for over twenty-five years. The World Health Organization includes

albuterol on its list of essential medicines. During the relevant time period, Mylan sold

albuterol pursuant to an ANDA approved by the FDA in or around January 1991. Sun

(either directly or through its subsidiary Mutual) sold albuterol pursuant to ANDAs that

were approved by the FDA in or around December 1989.


                                 101
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 107 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 108 of 367




                         103
                   PUBLIC VERSION
    REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 109 of 367




       266.   Upon information and belief, the price increases on albuterol were the

result of collusive agreements between and among Defendants to increase pricing and

restrain competition for the sale of albuterol in the United States.

       267.   These collusive agreements were furthered, at least in part, through in-

person discussions conducted at meetings and industry events hosted by GPhA and

HDMA as well as other meetings and communications (as identified throughout this

Complaint).

       268.   For example, price increases closely followed Defendants’ participation in

the October 2012 GPhA meeting in Bethesda, Maryland.




                               104
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 110 of 367




       269.   On April 20-23, 2013, NACDS held its 2013 Annual Meeting in Palm

Beach, Florida. NACDS’s 2013 Annual Meeting was attended by representatives from

Mylan and Sun.

       270.   On June 2-5, 2013, HDMA held its 2013 BLC in Orlando, Florida. This

meeting was attended by representatives from Mylan and Sun.

       271.   On August 10-13, 2013, NACDS held its 2013 Total Store Expo at the

Sands Expo Convention Center in Las Vegas, Nevada. This conference was attended by

representatives from both Mylan and Sun.

       272.   In 2014, 2015, and 2016, Defendants continued to regularly attend trade

association meetings, conferences and events together, including those of GPhA,

NACDS, and HDMA.

       C.     Amitriptyline

       273.   The market for amitriptyline is mature, as amitriptyline has been available

in the United States for over sixty years. Amitriptyline is on the WHO’s List of Essential

Medicines. During the relevant time period, Defendants Mylan, Par, and Sandoz sold

amitriptyline throughout the United States.

       274.   At all times relevant to this lawsuit there has been more than one

manufacturer of amitriptyline on the market. Defendants Mylan, Par, and Sandoz

dominate the market for amitriptyline.

       275.   In the years prior to the conspiracy period, Defendants’ average price in

the U.S. for amitriptyline was remarkably stable. Beginning in May 2014, Defendants


                                 105
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 111 of 367
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 112 of 367




       277.   National Average Drug Acquisition Cost (“NADAC”) data for

amitriptyline likewise show the low and stable prices of amitriptyline characteristic of

the market prior to the Defendants’ price hikes, and the huge spike in price that occurred

abruptly in May 2014.       Since that time, Defendants have continued to charge

supracompetitive prices.




                               107
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 113 of 367




      278.   Upon information and belief, the price increases on amitriptyline were the

result of collusive agreements between and among Defendants to increase pricing and

restrain competition for the sale of amitriptyline in the United States. These collusive

agreements were furthered, at least in part, through in-person discussions conducted at

meetings and industry events hosted by GPhA, ECRM, and HDMA as well as other

meetings and communications (as identified throughout this Complaint).

      279.   The price increases above closely followed, for example, Defendants’

participation in the 2014 Annual Meeting of the NACDS in Scottsdale, Arizona. In the

months prior to implementing their agreement, Defendants also attended the annual

meetings of GPhA and ECRM in February 2014.




                              108
                        PUBLIC VERSION
         REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 114 of 367




       D.      Baclofen

       280.    The market for baclofen is mature, as baclofen has been available in the

United States for nearly 50 years. During the relevant time period and continuing today,

Defendant Lannett sells baclofen pursuant to an ANDA that was approved by the FDA

in or around July 2007, and Defendant Par sells baclofen pursuant to ANDAs approved

by the FDA in or around August 2005. Teva sells baclofen pursuant to ANDAs approved

in February 1992, and Upsher-Smith sells baclofen pursuant to ANDAs approved in May

1988 and August 1996. Lannett, Par, Teva, and Upsher-Smith each sold baclofen

throughout the United States.

       281.    At all times relevant to this lawsuit, there has been more than one

manufacturer of baclofen on the market. Defendants Lannett, Par, Teva, and Upsher-

Smith dominate the market for baclofen. In the years prior to the conspiracy period,

Defendants’ average price in the U.S. for baclofen was remarkably stable. Beginning in

February 2014, Defendants increased their prices abruptly and in unison.

       282.    Effective February 21, 2014, Defendant Upsher-Smith took a significant

price increase on Baclofen, ranging from 350-420% to the WAC price, depending on the

formulation. Prior to the increase, Baclofen was not a profitable drug for Upsher-Smith,

and Upsher-Smith was considering whether to exit the market or significantly raise price.

It chose the latter.

       283.    The primary competitors in the market for Baclofen at this time were Teva

(62.4%), Par/Qualitest (22.5%), and Upsher-Smith (6.8%).


                                 109
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 115 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 116 of 367
    Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 117 of 367




      292.   Pursuant to the agreement between the companies, Teva did not seek to

take any customers from Upsher-Smith during the time period after Upsher-Smith’s

increase and before Teva could follow. Even after Teva’s increase, when Par/Qualitest

customers approached Teva for a bid due to Par/Qualitest’s supply problems, Teva

                              112
                        PUBLIC VERSION
         REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 118 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 119 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 120 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 121 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 122 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 123 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 124 of 367




                         119
                   PUBLIC VERSION
    REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 125 of 367




       314.   A third competitor – Rising – entered the Benazepril HCTZ market on

April 2, 2014 as the authorized generic. When Rising entered, it essentially matched the

WAC pricing of Sandoz and Mylan. Both before and after entering the market, CW-2 –

then at Rising –communicated with his former colleagues at Sandoz (CW-1, CW-3, and

L.J.) about obtaining market share on Benazepril HCTZ. Through those

communications, Sandoz ultimately agreed to relinquish AmerisourceBergen (“ABC”)

to Rising so that the new entrant could achieve its fair share of the market.

       315.   In December 2019, Co-conspirator Rising reached a deferred prosecution

agreement in which it admitted to price-fixing Benazepril HCTZ between at least April

2014 and September 2015.

       F.     Clobetasol

       316.   The market for clobetasol is mature, as clobetasol has been available in the

United States for decades. During the relevant time period, Defendants Actavis, Akorn,

Hi-Tech, Sandoz/Fougera, Perrigo, Taro, Wockhardt, and Morton Grove sold clobetasol

throughout the United States.

       317.   For more than two years prior to June 2014, Defendants’ average price in

the U.S. for clobetasol was remarkably stable.

       318.   Beginning in approximately June 2014, Defendants abruptly—and

collusively increased their prices for clobetasol on multiple formulations and sizes.

       319.   In June 2014, Taro increased pricing on several different products (the

“June 2014 Increases”), including clobetasol.


                                 120
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 126 of 367




       320.   As it had done in the past, Taro communicated with several of its

competitors in advance of the June 2014 Increases and, consistent with their ongoing

understandings, the competitors agreed to follow with comparable price increases of

their own.

       321.   On Friday May 15, 2014, the day after Taro finalized its June 2014

Increase list, Ara Aprahamian called CW-3 of Sandoz and the two competitors spoke for

fifteen (15) minutes. Taro overlapped with Sandoz on seven of the June 2014 Increase

products—including various formulations of clobetasol. The following Monday, on May

19, 2014, CW-3 sent an internal e-mail, including to Kellum and CW-1, advising them

of the Taro increases:




Notably, the source of the information was not “a customer,” but his competitor,

Aprahamian. Further, Taro had not yet increased pricing on these products and would

not do so for another several weeks. Later that day, CW-3 called Aprahamian. The call

lasted one (1) minute.


                               121
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 127 of 367
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 128 of 367




       324.   Consistent with their ongoing understandings, the competitors uniformly

followed the July 2014 Increases and matched Taro’s increased WAC pricing. These

competitor price increases, and their corresponding dates, are detailed in the chart below:




                               123
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 129 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 130 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 131 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 132 of 367
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 133 of 367




and carbamazepine ER (at issue in another UHS Complaint). In all, Aprahamian

identified more than seventy (70) different price points for these products. CW-3 took

contemporaneous notes of these conversations in his Notebook. A snapshot of these

notes is pictured below:




                               128
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 134 of 367




                         129
                   PUBLIC VERSION
    REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 135 of 367
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 136 of 367




       335.   Over the next several days, Hi-Tech held several internal meetings during

which they discussed the clobetasol price increase—including on July 1, July 2, and July

8. E.B. attended all three meetings. On July 8, the day of the third meeting, E.B. called

Aprahamian. The call lasted one (1) minute. Less than a half hour later, Aprahamian

called CW-3 of Sandoz. The call lasted one (1) minute.

       336.   Three days later, on July 11, 2014, Hi-Tech sent letters to its customers

notifying them that it was increasing WAC pricing on the various formulations of

clobetasol effective August 9, 2014. The new pricing matched Taro’s pricing exactly.

That same day, Aprahamian exchanged two calls with CW-3—lasting three (3) minutes

and five (5) minutes—and two calls with E.B—each lasting one (1) minute. Notably,

these were the last calls that Aprahamian and E.B. exchanged, according to the available

phone records.

       337.   Shortly after Hi-Tech increased its price on clobetasol, the other

competitors followed suit. On July 18, 2014, Sandoz increased its WAC pricing on

clobetasol to match both Taro and Hi-Tech. On August 26, 2014, it raised its WAC

pricing on carbamazepine ER to match Taro. Further, on September 2, 2014, Wockhardt

increased its WAC pricing to match Taro, Hi-Tech, and Sandoz. As had been the pattern,

Aprahamian spoke with both CW-3 of Sandoz and M.C. of Wockhardt in advance of

these price increases. These calls are detailed in the chart below:


                               131
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 137 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 138 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 139 of 367
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 140 of 367




       345. Upon information and belief, between June and August 2014, Akorn,

Morton Grove, Fougera, and Perrigo all increased their list prices for clobetasol by

similar amounts, even though these prices were not publicly reported.

       346. NADAC data for clobetasol likewise show the low and stable prices of

clobetasol that were characteristic of the market prior to the Defendants’ price hikes, as

well as the huge spike in price that occurred abruptly in June 2014. Since that time,

Defendants have continued to charge supracompetitive prices. Starting in June of 2014,

the average price of clobetasol increased by approximately 1,144%, with certain

formulations increasing as much as 1,738%.

       347. Defendants’ collusive agreements were also furthered, at least in part,

through in-person discussions conducted at meetings and industry events hosted by

GPhA, NACDS, and HDMA as well as other meetings and communications (as

identified throughout this Complaint).

       348. For example, the price increases closely followed Defendants’

participation in the workshop hosted by GPhA in North Bethesda, Maryland on June 3

and June 4, 2014. In the months prior to implementing their agreement, Defendants also

attended the annual meetings of the GPhA in February 2014 and NACDS in April 2014.

Prior to entering the market and selling their clobetasol products, Actavis and Perrigo

attended trade association meetings with the other Defendants, including GPhA meetings

in February 2015, June 2015, and February 2016, and joined the conspiracy and agreed

to sell their products at the same elevated levels as their co-conspirators.


                               135
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 141 of 367
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 142 of 367




period, Aprahamian hung up the phone with one competitor and immediately called the

next. At the same time, CW-4 of Sandoz was also speaking with                    , a senior

sales and national account executive at Taro. During these conversations, Defendants

Taro, Sandoz, and Mylan agreed to raise the price of clomipramine.

       354.   CW-3 of Sandoz also took contemporaneous notes of some of his

conversations with competitors. For example, after speaking with Aprahamian of Taro

twice on April 30, 2013, CW-3 made the notes identifying clomipramine as one of the

products that Taro planned to increase on May 1.

       355.   Indeed, there are notations in CW-3’s notebook that demonstrate that he

began communicating with Aprahamian about Taro’s May 1 increase as early as April

2, 2013.

       356.   As part of the agreement to raise prices and not poach each other’s

customers on clomipramine, Sandoz consistently refused to bid for Taro’s customers

after Taro raised its price. For example, on April 30, 2013, Publix e-mailed Sandoz stating

that it had received a price increase letter from Taro regarding several Sandoz overlap

products, including clomipramine, and asked whether Sandoz wanted to bid for the

business. Kellum e-mailed CW-4 stating:




       357.   Taro did agree to concede one customer to Sandoz so that the competitor

could achieve its fair share of the market. On May 1, 2013, Rite Aid e-mailed Sandoz


                                137
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 143 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 144 of 367
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 145 of 367




       367.    In October 2013, CW-4 and Nesta spoke by phone several times, including

multiple calls on October 3rd and 4th.

       368.    After this series of calls, during the morning of October 15, 2013, CW-4 of

Sandoz called Kellum. The call lasted one minute. Approximately one half hour later,

Kellum e-mailed McKesson and asked if Sandoz could submit a bid for clomipramine.

       369.    On October 23, 2013, Sandoz submitted a bid to McKesson and the

customer responded that a reduction was needed to bring the pricing in line with their

current supplier, Taro.

       370.    CW-1 was surprised and forwarded the request to CW-4, copying Kellum,

stating: “



                                          ”

       371.    In December 2013, Sandoz received an inquiry from a Bloomberg

reporter who questioned the propriety of the large increases that Sandoz had taken in

recent months on a whole host of drugs, including clomipramine. Kellum prepared a

response claiming that Sandoz had simply followed the market price increase after

learning of it through public sources.

       372.    As is clear from the above allegations, Kellum’s statement was a lie. In

reality, Sandoz had raised its prices after coordinating the increases with Taro and Mylan

in advance, and stayed true to its commitments to keep those prices high.




                                  140
                            PUBLIC VERSION
             REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 146 of 367
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 147 of 367




       375.   These prices show the dramatic and sustained price increases for generic

clomipramine starting in mid-2013. The prices also reflect a “one-way ratchet”—prices

never decreased substantially, as one would expect if sudden price increases reflected

temporary supply shortages, cost increases, or other benign market explanations.

       376.   Defendants’ collusive agreements were also furthered at least in part,

through in-person discussions conducted at meetings and industry events hosted by

GPhA and HDMA as well as other meetings and communications (as identified

throughout this Complaint).

       H.     Desonide

       377.   The market for desonide is mature, as both the ointment and cream form

of the drug have been available in the United States since the 1970s, and generic desonide

has been available in the United States since 1994.

       378.   During the relevant time period, Defendants Actavis, Perrigo,

Sandoz/Fougera, and Taro sold desonide throughout the United States in cream,

ointment, and lotion form.

       379.   At all times relevant to this lawsuit there has been more than one

manufacturer of desonide on the market. Defendants Actavis, Perrigo, Sandoz/Fougera,

and Taro dominate the market for desonide.

       380.   Between 2009 and 2011, Actavis and Fougera were the only two generic

manufacturers of desonide lotion. In those years, the competitors instituted WAC price

increases that were in lock step with one another. For example, on June 1, 2009, Fougera


                                 142
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
    Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 148 of 367




increased WAC pricing by roughly 90% and Actavis followed and matched on

September 1, 2009. Similarly, on July 22, 2011, Actavis increased WAC pricing by

nearly 200% and Fougera followed three (3) days later, on July 25, 2011.

      381.   Following the increases, and consistent with fair share principles, the

competitors declined opportunities to bid on each other’s business so as not to take

advantage of the price increases. For example, when CW-3, then a Fougera sales

executive, asked CW-6, his colleague at Fougera, whether Walgreens had accepted the

2011 price increase, CW-6 responded:




      382.   As of August 2012, the market for desonide lotion was evenly split

between the two competitors with Sandoz at 56% market share and Actavis at 44%.

      383.   On August 23, 2012, Kellum circulated a list of Fougera products that he

recommended taking price increases on, including desonide lotion.

      384.   Between August 25 and August 28, 2012, the NACDS held its Pharmacy

and Technology Conference in Denver, Colorado. Representatives from Defendants

Actavis and Sandoz attended the conference, including CW-3 and Kellum of Sandoz and

Aprahamian, then a senior pricing executive at Actavis.

      385.   At the conference, Aprahamian approached CW-3 and told him that

Actavis was having supply issues on desonide lotion and would be exiting the market for
                              143
                        PUBLIC VERSION
         REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 149 of 367
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 150 of 367




       388.    Later that evening on October 18, 2012, CW-3 sent the following e-mail

to Kellum and other Sandoz colleagues reporting what he had learned from Aprahamian:




       389.    As would become his customary practice, CW-3 referred to his source

vaguely as a              because he wanted to avoid putting anything incriminating in

writing. Further, CW-3 knew that Kellum understood that his true source for the

information was not a customer, but rather his contact at Actavis, Aprahamian.

       390.    After confirming their own ability to supply, Sandoz decided to move

forward with a price increase on desonide lotion. In November 2012, Sandoz generated

a price increase analysis for the product. In that analysis, Sandoz assumed



       391.    On December 5, 2012, Sandoz raised its WAC prices for desonide lotion

by 75%. On the day before and the day of the price increase, CW-3 called Aprahamian

twice, letting him know the details of the increase. The calls lasted seven (7) minutes and

two (2) minutes, respectively. Several months later, on May 10, 2013, Sandoz again

increased WAC pricing for desonide lotion—this time by 11%.



                               145
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 151 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 152 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 153 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 154 of 367
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 155 of 367




not yet increased pricing on several of those products, including desonide ointment. CW-

3’s contemporaneous notes from that call are detailed below:




      405.   Later that day, CW-3 typed up the information into an e-mail and

forwarded it along internally, including to Kellum:




                              150
                        PUBLIC VERSION
         REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 156 of 367




      406.    The next day, April 2, 2013, CW-3 called Aprahamian and they spoke for

six (6) minutes. CW-3 hung up and immediately called T.P. of Perrigo. The call lasted

five (5) minutes. On these calls, and as discussed in detail in an earlier Section, the

competitors spoke about the products that Taro planned to increase prices on in May

2013, including desonide ointment. CW-3’s contemporaneous notes from these calls

reflect as much:




      407.    Several months later, after both Taro and Perrigo had implemented their

price increases on desonide ointment, Sandoz was readying to re-enter the market. On

December 18, 2013, M.A., a marketing executive at Sandoz, sent the following internal

e-mail summarizing the facts surrounding the re-launch:




                               151
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 157 of 367




       408.   That same day, CW-3 of Sandoz called T.P. of Perrigo and they spoke for

five (5) minutes. CW-3 hung up and called CW-1 twice. First thing the next morning, on

December 19, 2013, CW-3 called T.P. again. The call lasted one (1) minute. CW-3 hung

up and immediately called CW-1 and they spoke for four (4) minutes. Later that day,

CW-3 spoke with Aprahamian at Taro. The call lasted fifteen (15) minutes.

       409.   On January 6, 2014, Sandoz held a Commercial Operations call during

which they discussed, among other things, the desonide ointment re-launch. In particular,

they discussed the market share breakdown between Taro and Perrigo, Sandoz’s target

market share, and the anticipated re-launch date of January 17, 2014. CW-3’s

contemporaneous notes from the call are below:




       410.   Two days later, on January 8, 2014, CW-3 called T.P. of Perrigo. The call

lasted one (1) minute. The next day, on January 9, 2014, CW-3 called T.P. again and

they spoke for nearly sixteen (16) minutes. During that call, T.P. provided CW-3 with

Perrigo’s non-public pricing for desonide ointment at various customers. T.P. also

warned CW-3 not to go after Walgreens. CW-3’s contemporaneous notes from that call

are below:




                               152
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 158 of 367




         411.   Immediately upon hanging up with T.P., CW-3 called Aprahamian and

they spoke for nine (9) minutes. That same day, Perfetto of Taro and Boothe of Perrigo

also exchanged two calls lasting six (6) minutes and twenty-nine (29) minutes,

respectively.

         412.   On January 16, 2014—the day before Sandoz’s anticipated re-launch—

CW-3 called T.P. of Perrigo and they spoke for ten (10) minutes. CW-3 hung up and

immediately called CW-1. The call lasted eight (8) minutes. A few days later, on January

22, 2014, Aprahamian called CW-3. The call lasted one (1) minute. On January 24, 2014,

CW-3 called Aprahamian back and they spoke for twenty-two (22) minutes.

         413.   On these calls, T.P. of Perrigo and Aprahamian of Taro provided CW-3

with non-public pricing for desonide ointment at various customers. The competitors

also discussed which customers they would agree to cede to Sandoz. CW-3

contemporaneously listed this information in his Notebook and placed check marks next

to the customers that Perrigo and Taro agreed to give up to Sandoz. These notes are

below:




                                153
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 159 of 367




       414.   In accordance with their agreement, on January 28 and January 29, 2014,

Sandoz submitted bids for desonide ointment to Taro’s customers Econdisc, McKesson,

and Omnicare, and to Perrigo’s customer, Rite Aid. In each instance, the competitors

declined to reduce their pricing to retain the business. As a result, the customers awarded

their desonide ointment business to the new entrant, Sandoz.

       415.   On February 13, 2014, Sandoz was presented with the opportunity to

supply Cardinal with desonide ointment. Not wanting to disturb the delicate market

balance it had negotiated with its competitors, CW-1 responded,




       416.   As a result of Defendants’ collusion, by way of example, Defendants all

set the same WACs for their desonide ointment products beginning in May 2013,

reflecting increases from previous WACs of more than 140%:




                               154
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 160 of 367
    Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 161 of 367




      419. Defendants’ collusive agreements were furthered, at least in part, through

in-person discussions conducted at meetings and industry events hosted by GPhA and

                              156
                        PUBLIC VERSION
         REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 162 of 367




HDMA as well as other meetings and communications (as identified throughout this

Complaint).

       420. For example, price increases closely followed Defendants’ participation in

the annual meetings of the GPhA in February 2013 and the NACDS in April 2013. Prior

to selling their desonide products at elevated prices along with Taro and Perrigo, Actavis

and Sandoz attended other trade association meetings with Taro and Perrigo, including

GPhA meetings in October 2013 and February 2014.

       I.     Digoxin

       421. The market for digoxin is mature, as digoxin has been available in the

United States for more than a decade. Generic digoxin is prescribed to approximately

6.5 million patients in the United States and it is considered an essential medicine by the

World Health Organization. Variants of the drug have been in existence since the 18th

century. Because digoxin was in existence prior to the 1938 passage of the Federal Food,

Drug, and Cosmetic Act, the drug was manufactured and sold by a large number of

companies outside the NDA/ANDA process.

       422.   In 1997, GlaxoSmithKline obtained an NDA authorizing it to market

Lanoxin, a branded version of digoxin. Because digoxin was not a new chemical

compound, its NDA allowed for just a three-year period of exclusivity, and by 2003 there

were at least eight manufacturers of generic digoxin in the United States, including

Defendants Impax, Lannett, Mylan, Par, and West-Ward.




                                 157
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 163 of 367




       423.   During the relevant time period, Defendants Impax, Lannett, Mylan, Par,

Sun, and West-Ward sold digoxin throughout the United States.

       424.   At all times relevant to this lawsuit there has been more than one

manufacturer of digoxin on the market. Defendants Impax, Lannett, Mylan, Par, and

West-Ward dominate the market for digoxin.

       425.   Due to industry consolidation and manufacturing difficulties experienced

by Mylan, Par, and West-Ward, by the end of 2012, just Lannett and Impax remained

active in the market for generic digoxin. Despite the existence of a duopoly, until

October 2013, the price of digoxin charged by Lannett and Impax remained stable.

       426.   Beginning in October 2013, however, Defendants issued abrupt and

substantial price increases.

       427.   Defendants continued to increase the prices they charged for digoxin

during the first six months of 2014, despite Par’s entry into the digoxin market in early

2014 and West-Ward’s re-entry soon after. Mylan also re-entered in early 2015 and

followed the pricing agreed to by the conspirators. Upon information and belief, Par,

West-Ward, and Mylan each communicated their entry into the generic digoxin market

to their co-conspirators well in advance of the date each entrant began marketing the

drug, so that agreements could be reached on price without any disruption to the

prevailing supracompetitive prices.

       428.   By way of example, with respect to WAC pricing, in October 2013,

Lannett and Impax implemented lockstep WAC prices on their 0.125 mg products,


                               158
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 164 of 367
    Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 165 of 367




      430.   Defendants’ pricing of digoxin is the exact opposite of what one would

expect to see in a competitive market, where the entry of new manufacturers brings the
                                         160
                                 PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 166 of 367




price down. Instead, as a result of their collusion, Defendants’ pricing for digoxin in the

United States increased as the number of “competitors” in the market grew. Thus, the

pricing of digoxin mirrors Defendants’ collusion on glyburide, where Mylan, Heritage,

and Mayne agreed to increase prices on the diabetes drug in advance of the entry into the

market by Heritage and Mayne.

       431.   In early 2015, Mylan re-entered the market and Defendants continued to

adhere to their anticompetitive agreements on pricing, which continue to persist in the

market even as of the filing of this Complaint.

       432.   Upon information and belief, the price increases on digoxin were the result

of collusive agreements between and among Defendants to increase pricing and restrain

competition for the sale of digoxin in the United States. These collusive agreements

were furthered, at least in part, through in-person discussions conducted at meetings and

industry events hosted by GPhA and HDMA as well as other meetings and

communications (as identified throughout this Complaint).

       J.     Divalproex ER

       433.   The market for divalproex ER is mature, as generic versions of the drug

have been available in the United States for almost a decade. Valproate, the base

compound in divalproex ER, has been in use for more than a century and is recognized

as an essential medicine by the World Health Organization.




                                 161
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
    Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 167 of 367




      434.   In 1999, Abbot Laboratories received FDA approval to market Depakote

ER, a branded version of the drug. Depakote ER was a blockbuster drug that achieved

nearly $1,000,000,000 in sales for Abbot.

      435.   Between January and May of 2009, Mylan, Zydus, and Par (through

Anchen Pharmaceuticals, its predecessor-in-interest) all received ANDAs authorizing

them to market divalproex ER as generic versions of Depakote ER. Defendant Dr.

Reddy’s sells divalproex ER pursuant to ANDAs approved by the FDA in March 2012.

      436.   During the relevant time period, Defendants Mylan, Zydus, Dr. Reddy’s,

and Par sold divalproex ER throughout the United States.

      437.   At all times relevant to this lawsuit there has been more than one

manufacturer of divalproex ER on the market. Defendants Mylan, Zydus, Dr. Reddy’s,

and Par dominate the market for divalproex ER.

      438.   Between 2009 and June 2013, Defendants’ prices for divalproex ER

remained relatively stable. However, in early July 2013, Defendants implemented in

unison abrupt and substantial price increases on divalproex ER.         For example,

Defendants increased the price for a bottle of 500 pills at 250 mg strength from

approximately $30 to more than $200 per bottle. Bottles of 500 mg strength pills

increased at even greater rates, increasing from approximately $130 per bottle to more

than $1,600 per bottle, an increase of more than 1,100%.

      439.   By way of example, with respect to WAC pricing, Mylan and Par set

identical WAC prices within a couple of weeks of each other in June 2013; and Dr.


                              162
                        PUBLIC VERSION
         REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 168 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 169 of 367




                         164
                   PUBLIC VERSION
    REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 170 of 367




       441.   As alleged throughout this Complaint, employees from Defendants

including at least Mylan and Par spoke directly numerous times between June and July

2013. For example, Mylan and Par had several calls on June 7, 2013 and June 13, 2013.

Mylan and Par both increased their prices of divalproex shortly after these calls, on June

14 and June 26, respectively. Dr. Reddy’s and Zydus followed suit when they entered

the market shortly thereafter.

       442.   Upon information and belief, the price increases on divalproex ER were

the result of collusive agreements between and among Defendants to increase pricing

and restrain competition for the sale of divalproex ER in the United States. These

collusive agreements were furthered, at least in part, through in-person discussions

conducted at meetings and industry events hosted by GPhA and HDMA as well as other

meetings and communications (as identified throughout this Complaint).

       K.     Doxycycline

       443.   The doxycycline market is mature, as generic doxycycline—which

includes generic versions of branded doxycycline such as Vibramycin, Vibra-Tabs, and

Monodox—has been available in the United States since the mid-1980s in tablet and

capsule form. Doxycycline has been designated by the WHO as an essential medicine.

Doxy DR (the delayed release version of doxy hyclate) is the generic version of the

branded acne medication Doryx, for which Warner Chilcott received an NDA in May

2005. Although doxy hyclate and doxy mono are not bioequivalent drugs, doctors will




                                 165
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 171 of 367




often simply write a prescription for doxycycline, which allows pharmacists to supply

consumers with either doxy hyclate or doxy mono.

      444.   Although there were, at one point, approximately 20 manufacturers of

doxycycline, by early 2012, the primary manufacturers became Actavis, Mylan, Par, Sun

(including its subsidiaries Mutual and Caraco), and West-Ward (for doxy hyclate) and

Heritage, Lannett, Mylan, and Par (for doxy mono).        In 2012, Mylan received

authorization to market both doxy hyclate and doxy DR. Because Mylan was the first

generic manufacturer to receive an ANDA for doxy DR, it received 180 days of

exclusivity as the sole authorized generic manufacturer, which expired in early 2013.

Mylan remained the only generic manufacturer of doxy DR until Heritage and Mayne

entered the market in 2013. Historically, doxy mono cost more than doxy hyclate, and

for that reason, doxy hyclate was the most commonly used version of doxycycline.

      445.   Defendants Actavis, Heritage, Lannett, Mayne, Mylan, Par, Sun (including

Mutual and Caraco), and West-Ward each sold at least one variation of doxycycline

throughout the United States.

             1.     The Doxy Hyclate Collusive Price Increases

      446.   Although prices of doxycycline had remained low and stable for several

years, beginning in approximately November 2012, Defendants implemented an abrupt

and substantial price increase across all doses of doxy hyclate. Throughout 2012,

Defendants attended a number of trade events where they met and discussed the pricing

of doxycycline hyclate. By May 2013, Defendants’ prices for doxy hyclate increased on

                              166
                        PUBLIC VERSION
         REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 172 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 173 of 367
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 174 of 367




        452.   When Defendants Par (through DAVA) and Mylan entered the market,

 rather than undercut pricing of the incumbent manufacturers, they priced at similarly

 elevated prices, consistent with Defendants’ “fair share” agreement. Even today their

 prices are far above competitive, pre-conspiracy prices.

        453.   By April 2014, DAVA launched doxy hyclate pursuant to an exclusive

 supply and distribution agreement with Chartwell Therapeutics Licensing, LLC and

 Chartwell Pharmaceuticals, LLC (“Chartwell”).         Around this time, Endo was in

 discussions with DAVA to acquire it, which it did in August 2014.

        454.   Following DAVA’s acquisition by Endo, Chartwell and Endo sued each

 other in New York state court for alleged failures to comply with the terms of the supply

 and distribution agreement for doxycycline.13 Chartwell alleged that DAVA, DAVA’s

 former President Aram Moezinia, and Endo (through its generics subsidiaries) were

 refusing to take delivery of doxycycline shipments from Chartwell despite the fact that

 there was demand for doxycycline in the market. Because Endo (through its generics

 subsidiaries including DAVA) refused to accept the available doxycycline supply,

 Chartwell attempted to rescind its agreement with DAVA in order to find other generic

 drug marketers, which Chartwell claims it was able to accomplish.

        455.   Chartwell recognized that its supply of doxycycline provided an

 opportunity to “reduc[e] prices for consumers, all while earning significant profits.” But



13
  See Dava Pharm., LLC v. Chartwell Therapeutics Licensing, LLC, Index No.
502775/15 (N.Y. Supreme Court, County of Kings).
                                169
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 175 of 367




Endo (and, subsequently, Par) withheld doxycycline supply from the U.S. market and

priced its doxycycline at the supracompetitive price of its co-conspirators. Chartwell

suggested a reason for Endo’s economically irrational decision to withhold additional

doxycycline supply when there was ample demand in the market. It accused Endo and

its generic subsidiaries of engaging in an illegal price-fixing and market allocation

scheme: “Having bought DAVA, Endo implemented its withhold- and-price-gouge

scheme, did virtually nothing to sell the Chartwell Entities’ doxycycline, and, in

collusion with its alleged ‘competitors,’ set doxycycline’s price at the exact same level

its competitors were charging for the drug.” (Emphasis in original). Chartwell further

alleged that “DAVA and Moezinia dedicated efforts to withhold [doxycycline] from the

marketplace..., to keep the overall price of Doxy high.” (Emphasis in original). For

example, Chartwell cites to an email dated on or about July 11, 2014 where Moezinia

emailed Chartwell and stated that DAVA’s plan was to sell doxycycline “slowly not to

disturb pricing.” Upon information and belief, all actions taken by DAVA as described

in Chartwell’s complaint were done at the direction of Endo and targeted at the U.S.

market.

       456.   Chartwell sought discovery of the materials that Par and Endo have

produced to DOJ and the State AGs. Notably, the regulators’ inquiries to Endo have

focused on at least three drugs that Endo acquired rights to via DAVA: doxy hyclate,

doxazosin mesylate, and methotrexate sodium. Chartwell and Endo settled their claims

in November 2016.


                               170
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 176 of 367




               2.    Collusion on Doxy DR

       457.    With respect to doxy DR, Mylan and Heritage were the dominant

manufacturers, with Mayne entering in 2014. Mylan, as the sole generic manufacturer

of the drug for a period of time in 2012, was able to charge a supracompetitive price

during the period of generic exclusivity. (As explained above, the FDA estimates that,

in a market with one generic manufacturer, the generic drug will typically sell at 94% of

the branded drug).

      458.     Beginning in 2013, Heritage reached out to Mylan for the purpose of

colluding to allocate the doxy DR market without disturbing the supracompetitive price.

Heritage was to begin selling Doxy DR in July 2013, and before entering the market,

Heritage contacted Mylan about refraining from price competition. Heritage did not want

Doxy DR prices to erode when it entered the market. Mylan also wanted to maintain its

prices. Consistent with their overarching “fair share” agreement, both Heritage and

Mylan understood that cooperation and coordination was required to keep Doxy DR

prices high.

      459.     In April 2013, Heritage’s Glazer and Malek traveled to India to meet with

two Emcure executives, CEO Mehta and President Thapar. The purpose of the trip was

to discuss Heritage’s plans to enter the Doxy DR market. These meetings included

discussions about how to coordinate with Mylan so as to minimize the competition

between the two companies for Doxy DR.




                               171
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 177 of 367




      460.    During these discussions, it was decided that in order to work out an

agreement between Heritage and Mylan relating to (at least) Doxy DR, Mehta would

reach out to Rajiv Malik, a high-level counterpart at Mylan, in order to facilitate

communication between Glazer and Malek and their Mylan counterparts.

      461.    After returning to the U.S., on or about May 3, 2013, Heritage’s Malek

tried to set up a call with the Vice-President of Sales at Mylan. Malek learned, however,

that the Vice-President of Sales had little to do with National Accounts and was instead

directed to the person at Mylan who did have responsibility for such accounts. On

information and belief, that person was Jan Bell, who was a Senior Key Account

Manager at Mylan from September 2010 to January 2013 and has served as Director of

National Accounts at Mylan since January of 2013. Malek promptly contacted Bell

through LinkedIn. Malek and Bell communicated by phone on multiple occasions and

continued to communicate about various drugs, including Doxy DR.

      462.    While Malek was in contact with Bell, other Heritage employees began

reaching out to their counterparts at Mylan to discuss Doxy DR and other drugs. For

instance, beginning on or about May 7, 2013, Glazer emailed Mylan’s President and

Executive Director, Rajiv Malik. He copied both Mehta and Thapar at Emcure on the

email. Malik responded with a phone number where he could be reached in England,

and the two spoke the next day.

      463.    During their May 8 telephone conversation, Heritage CEO Glazer and

Mylan President Malik reached an agreement to refrain from competing in the Doxy DR

                               172
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 178 of 367




market. Glazer told Malik that Heritage intended to pursue two of Mylan’s large Doxy

DR customers (wholesaler McKesson and retail pharmacy CVS), who collectively made

up 30% of the market. Glazer further told Malik that Heritage wanted to gain market

share without lowering the pricing of Doxy DR. After numerous discussions, Malik

reached an agreement with Glazer in which Mylan agreed to give up its accounts with

McKesson and CVS based upon Mylan’s understanding that Heritage would work with

Mylan to keep the prices of Doxy DR elevated.

      464.    In the course of his communications with Glazer, Malik made clear that

Mylan was willing to enter into this agreement relating to Doxy DR because Heritage

had, in the past, abided by its “fair share” agreements with Mylan on other drugs.

      465.    Malik told Glazer that he would inform others at Mylan about their

agreement. Glazer also kept Heritage’s Malek informed about his conversations with

Mylan.

      466.    In the months following Malik and Glazer’s agreement, Mylan surrendered

the McKesson and CVS accounts to Heritage.

      467.    By allocating the McKesson and CVS accounts in the Doxy DR market,

Mylan and Heritage were able to stabilize Doxy DR prices across the market. In a

competitive market, Heritage’s entry would have spurred price competition across all

customers, which would have lowered market prices. By foregoing this competition,

Mylan and Heritage kept Doxy DR prices higher than they otherwise would have been.




                               173
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 179 of 367




      468.    As discussed above, beginning in July 2013 and continuing through July

2014, Heritage had at least 513 different contacts with various generic drug

manufacturers about the pricing of generic drugs, including doxycycline hyclate.

Defendants also had the opportunity to discuss Doxy DR and other drugs while attending

a number of industry meetings.

      469.    Following a number of spring and summer trade meetings in 2013, a series

of inter-competitor communications led to anticompetitive agreements relating to

multiple drugs. For example, on June 11, 2013, an employee from Mylan (possibly

Aigner or Nesta) called an employee at Heritage (possibly O’Mara). They spoke for ten

minutes. Immediately after the telephone call, the Heritage employee called Malek and

left a voicemail providing a report. Malek called the employee back fifteen minutes later

and they spoke for seven minutes. That same day, Heritage also was in contact with

other generic drug manufacturers, who in turn communicated with other Defendants,

including Par and Mylan. The next day, while Defendants were also discussing pricing

for at least Doxy DR, Lannett, consistent with the conspiratorial agreement discussed

below, increased the prices for doxy mono.

      470.    On June 18, 2013, a senior manager at Wholesaler A (believed to be

McKesson) contacted a Mylan employee to inform him that Wholesaler A received an

unsolicited bid for Doxy DR from a new entrant (Heritage). Mylan was asked to submit

a bid by the close of business on June 21, 2013 to retain the business with the wholesaler.




                               174
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 180 of 367




Consistent with its agreement to cede its Doxy DR business to Heritage, Mylan failed to

submit a counterbid.

      471.    On June 27, 2013, following Mylan’s failure to bid, Heritage entered into

a distribution agreement with Wholesaler A for Doxy DR.

      472.    The conversations among Defendants continued throughout 2013. In July

2013, when Heritage began selling Doxy DR, Heritage contacted Mylan three times and

Sun once. Heritage spoke with Mylan once and Sun twice in August; spoke with Sun

once in October; and with Mylan once in November.

      473.    On July 8, 2013, Heritage submitted a proposal to a pharmacy (believed to

be CVS) to obtain Doxy DR business. The next day, the pharmacy rejected the proposal

as too high. Heritage submitted a revised bid to the pharmacy on July 11, 2013. During

this time, Heritage and its parent, Emcure, continued to communicate with Mylan to

make sure Mylan was committed to their Doxy DR agreement.

      474.    As part of this effort, Emcure’s Mehta spoke to Mylan’s Malik on July 18,

2013. Information about the call was communicated to Glazer by an Emcure employee

shortly after Mehta and Malik spoke.

      475.    In response, Glazer emailed Malik trying to schedule a phone call that day.

Malik told Glazer they could speak in the evening, and later that evening, Malik left

Glazer a voicemail. Fifteen minutes later, Glazer returned Malik’s call and they spoke

for four minutes. During the call, Glazer informed Malik of Heritage’s strategy with

respect to at least Doxy DR and its bid to the pharmacy.

                               175
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
       Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 181 of 367




        476.   In response to their conversation, Malik immediately spoke to certain

Mylan employees, and ultimately, Mylan would walk away from the pharmacy customer

in order to avoid price erosion.

        477.   In August 2013, Mylan was contacted by an executive at the pharmacy and

was told that the pharmacy had received an unsolicited bid for Doxy DR. Mylan was

given a chance to submit a counterbid. In response, Mylan submitted a bid that it knew

would not be low enough to retain the business. When Mylan was given a second

opportunity to lower its pricing, Mylan failed to submit a revised bid, consistent with its

agreement with Heritage. In September 2013, the pharmacy awarded its Doxy DR

business to Heritage.

        478.   The business obtained from Wholesaler A and the pharmacy accounts for

more than 80% of Heritage’s Doxy DR business. Heritage maintains that business to this

day.

        479.   After Heritage obtained the pharmacy’s business, on several occasions

Heritage walked away from other Mylan customers in order to maintain the agreement

with Mylan. For example, in November 2013, Heritage did not pursue a large account,

believed to be Walmart, because it was Mylan’s customer and was not allocated to

Heritage.

        480.   When Mayne prepared to enter the Doxy DR market, anticompetitive

conversations continued. On January 7, 2014, about a month before Mayne’s entry into

the Doxy DR market, an employee at Mayne and Heritage’s Sather had a twelve-minute

                                 176
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 182 of 367




telephone conversation about agreeing not to compete in the market for Doxy DR. These

conversations continued throughout early 2014, with the Heritage employee, believed to

be Sather, continuing to communicate with the Mayne employee, believed to be Gloria

Peluso-Schmid, via text messages, email, and including telephone conversations on

March 13 and 17. The Heritage employee emailed and texted Malek, providing him with

the information on Mayne’s market share and strategy that she had obtained. The shared

goal of Heritage and Mayne was to maintain pricing within the Doxy DR market.

      481.   After Mayne entered the market, it initially avoided competing with

Heritage and instead targeted customers of Mylan. In one such instance, Mayne made a

bid to a large wholesaler where Mylan was the incumbent provider and the wholesaler

asked Heritage to also submit a bid. Heritage declined, honoring its ongoing agreement

with Mylan, and provided a false, pretextual reason (inadequate supply) to the

wholesaler. Malek knew Heritage had sufficient supply of Doxy DR to fulfill the bid,

but instructed Heritage not to submit a bid in order to honor Heritage’s agreement with

Mylan.

      482.   In March 2014, Sather continued to communicate with her contact at

Mayne about Doxy DR, speaking briefly via telephone on March 13 and again on March

17 for seventeen minutes.

      483.   At the end of March, Mayne presented a bid to one of Heritage’s

nationwide pharmacy accounts. This led to telephonic, email and text discussions

between Mayne and Heritage over the next several months, including on April 1, 2014,

                               177
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 183 of 367




when Heritage’s Sather and a Mayne employee spoke for twenty-seven minutes. After

the call, Sather and Malek exchanged text messages, likely about the substance of the

conversation.

      484.      Sather and a Mayne employee spoke again the next day for eleven minutes.

The same day, Malek emailed CEO Glazer to provide an update on negotiations with

Mayne. Sather and a Mayne employee spoke for three minutes on April 9, 2014 and the

next day they exchanged multiple text messages. Sather reported these conversations to

employees of Heritage, including at least Malek.

      485.      Ultimately, because of the agreement between Heritage and Mayne not to

compete in the market for Doxy DR, Heritage was able to retain the pharmacy customer

at prices higher than they would have been in a competitive market.

      486.      In May 2014, it was Mayne’s turn. Instead of competing on price, Heritage

walked away from a customer being pursued by Mayne.

      487.      Similarly, in August 2014, consistent with its agreement with Mylan,

Heritage again refused to bid on an RFP issued by a Mylan customer.

      488.      In November of 2014, Mayne made offers to the One Stop Program of

McKesson Corporation (“McKesson”) (a wholesaler) and Econdisc Contracting

Solutions (“Econdisc”) (a group purchasing organization (“GPO”) that includes Express

Scripts, Kroger, and Supervalu). Malek contacted personnel at Mayne to discuss the

situation and raised the idea that Heritage and Mayne could allocate customers by having

Mayne withdraw its offer to McKesson. Malek worked out an agreement with Mayne

                               178
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 184 of 367




by November 25, 2014, which Glazer subsequently confirmed.                     Follow-up

communications occurred in December 2014 by text message and an in-person meeting

at a conference of the American Society of Health-System Pharmacists held on

December 9, 2014.

      489.    The agreement resulted in elimination of price competition and higher

prices for Doxy DR. When Econdisc put its business out for bid again in January 2015,

Heritage deliberately bid a higher price than Mayne, fulfilling its agreement to walk away

from the Econdisc business. Likewise, when Heritage was requested to submit a bid by

a large nationwide pharmacy chain in September of 2015, it declined to do so after

learning that Mayne was the incumbent supplier.

              3.     The Doxy Mono Collusive Price Increases

       490.   During the relevant time period, Defendants Heritage, Lannett, Mylan, and

Par were the dominant players selling doxy mono.

       491.   In February 2013, Heritage believed that demand for some doxycycline

products was increasing, and wanted to use this as a pretext to raise the prices of doxy

mono. Accordingly, Heritage began reaching out to Lannett, Mylan, and Par to institute

a price increase for doxy mono. These pricing discussions occurred at the same time as

Heritage and Dr. Reddy’s were discussing pricing and market share for zoledronic acid

and meprobamate, as discussed below.

       492.   Starting in March 2013, Heritage’s Sather began communicating with

Lannett about pricing for at least doxy mono. On March 7, 2013, Heritage’s Sather spoke

                               179
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 185 of 367




to Lannett’s Sullivan for fourteen minutes about an opportunity Heritage had at Cardinal

(a large purchaser).

       493.   Six days later, on March 13, 2013, Sather sent an email to Lannett’s

Sullivan about pricing for at least doxy mono. They spoke for five minutes later the

same day, again about pricing.

       494.   On March 21, 2013—the same day that Malek instructed O’Mara and

Edelson to seek a price increase on Meprobamate from Dr. Reddy’s (discussed below)—

Malek decided he also wanted to increase the price of doxy mono by four times the

current price. He consulted with Glazer about the price increase.

       495.   On March 25, 2013, a Lannett employee—likely Tracy Sullivan—sent an

email to her boss at Lannett to provide an update on her conversations with Heritage

about price increases for certain drugs, including doxy mono. Lannett’s Sullivan and

Heritage’s Sather communicated about doxy mono by phone, text message, and in-

person meetings over the next several months.

       496.   That same day, Malek sent an email to his sales team discussing Heritage’s

price increases for at least doxy mono and another drug—likely meprobamate or

zoledronic acid.

       497.   Heritage’s Sather continued to “socialize” the idea of a doxy mono price

increase, and called Lannett’s Sullivan and left a message on April 25, 2013. Sullivan

returned her call the next day and they spoke for more than eight minutes.




                               180
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
    Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 186 of 367




      498.   As discussed above, while Heritage’s NAMs were speaking with

competitors about doxy mono, in April 2013 Heritage’s Malek and Glazer were in India

meeting with Emcure’s Mehta and Thapar discussing, among other things, how Heritage

and Mylan could minimize competition and avoid price erosion when Heritage entered

the Doxy DR market. Mehta decided to reach out to Mylan’s Malik to facilitate

subsequent communications between Glazer and Malek and their Mylan counterparts.

      499.   Consistent with how the overarching conspiracy operated, throughout the

rest of 2013, Heritage spoke with its competitors about pricing for a number of drugs,

including doxy mono. These communications often overlapped with trade association

meetings. For example, on May 14, 2013, the day after Lannett’s Sullivan and Heritage’s

Sather spoke for almost six minutes, the two attended a conference together where they

spoke in person and exchanged text messages discussing at least doxy mono.

      500.   On June 4, 2013, Sather called and texted an employee at Lannett—likely

Sullivan. While Sather was exchanging text messages with this Lannett employee, she

was attending the HDMA’s June 2-5, 2013 Business and Leadership Conference in

Orlando, Florida. That conference was attended by key executives for generic sales and

pricing from at least Actavis, Apotex (including Hamilton), Aurobindo, Citron, Dr.

Reddy’s, Glenmark, Heritage (including O’Mara and Sather), Lannett (including

Sullivan), Mylan (including Bell, Nesta and Aigner), Par, Sandoz, Sun, Teva, West-

Ward and Zydus.




                              181
                        PUBLIC VERSION
         REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 187 of 367




        501.   Defendants agreed to implement price increases for doxy mono in the late

 spring and summer of 2013.

        502.   In the lead-up to the price increases, the four competitors selling doxy

 mono—Par, Lannett, Heritage, and Mylan—were in frequent communication. For

 example, on June 11, 2013, the day before Lannett’s price increase, a Heritage employee

 (likely O’Mara) spoke with a Mylan employee (believed to be either Aigner or Nesta)

 for nearly ten minutes.     During this same time period, a Lannett employee was

 communicating with an employee at Par.          In turn, this Par employee frequently

 communicated with a Mylan employee. The Lannett and Par employees were friends

 and frequently spoke in person at trade association conferences, including about

 competitive information.

        503.   In fact, these employees from Mylan and Par spoke numerous times

 between June and July 2013. The two had several calls on June 7, 2013 and June 13,

 2013—the day after Lannett confirmed that it would increase its prices for doxy mono. 14

 Further, an unidentified employee at Lannett exchanged nine text messages with an

 unidentified competitor on June 11 and June 12, 2013.

        504.   Heritage was concerned about supply issues for doxy mono in 2013, and

 thus was cautious about the doxy mono price increases. In a competitive market, supply

 challenges for one supplier would typically create competitive opportunities for other



14
  Mylan and Par both increased their prices of divalproex shortly after these calls, on
June 14 and June 26, respectively.
                                182
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 188 of 367




suppliers. But Defendants’ “fair share” agreement aimed to mitigate these risks of

competition. Accordingly, Sather kept in frequent communication with Lannett during

this period to stay abreast of any developments, and to reaffirm Heritage’s commitment

to their agreement. She also met with a Par employee while at a conference in Arizona

on August 1 and 2. Following Sather’s meeting with Par in Arizona, there was a flurry

of communications between Par, Mylan, Lannett, and Heritage about at least the pricing

of doxy mono.

       505.   The NACDS Total Store Expo in Las Vegas, Nevada on August 10-13,

2013 was attended by numerous Defendants, including those known to have exchanged

pricing and customer information throughout the relevant period, including: Apotex

(Hamilton), Aurobindo (Cunard), Citron, Dr. Reddy’s, Glenmark, Heritage (Glazer,

Malek, O’Mara, and Sather), Lannett (Sullivan), Mylan (Nesta, Aigner), Par, Perrigo,

Sandoz, Sun (Knoblauch), Taro, Teva, West-Ward, and Zydus (Lukasiewicz). Just as

their convergence at the HDMA trade show in June led to numerous anticompetitive

inter-competitor communications, Defendants’ attendance at the Total Store Expo

facilitated discussions about market allocation and pricing for generic drugs at issue.

       506.   For example, when Malek asked Sather to obtain specific information

about Lannett’s price increase for doxy mono, Sather used the Total Store Expo as an

opportunity to meet in person with Lannett’s Sullivan. On August 12, 2013, after

meeting in person at the conference, and in response to a directive from Malek,

Heritage’s Sather sent a text message to Lannett’s Sullivan.


                               183
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 189 of 367




        507.   The next day, while still at the Total Store Expo, Sather and Sullivan texted

again. Sather also exchanged several text messages and phone calls with another

employee at Lannett. In addition, a Lannett employee also sent a text message to an

employee at Par.

        508.   Later in the evening of August 13, an employee at Par sent an internal

email, which was subsequently circulated at Par internally.           The email included

information about pricing agreements related to the prices of doxy mono and other drugs.

        509.   On August 20, 2013, a week after Par’s internal discussion, Heritage’s

Sather emailed Malek and confirmed Lannett’s agreement related to the pricing of doxy

mono.

        510.   By March 2014, Heritage increased its doxy mono price to at least one

customer and was working on a much larger across-the-board price increase on doxy

mono, as well as price increases on several other drugs.

        511.   As discussed above, on April 22, 2014, Malek held a teleconference with

Heritage’s sales team to discuss the strategy for obtaining price increases for numerous

drugs, including doxy mono.

        512.   Malek and the Heritage NAMs took responsibility for communicating with

specific Defendants about specific drugs, including Sather, who, among her other

assignments, was responsible for communicating with Lannett about doxy mono.

        513.   Right after the Heritage conference call on April 22, Sather communicated

with three different competitors—including a twenty-nine-minute phone conversation


                               184
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 190 of 367




 with Lannett’s Sullivan about pricing for doxy mono. Through these conversations,

 Sather reached a number of pricing agreements covering doxy mono and four other drugs

 (glyburide-metformin, verapamil, nystatin, and paromomycin).

       514.     Similarly, on April 23, O’Mara, the employee at Heritage who was

 primarily responsible for communicating with Mylan, contacted his counterpart at Mylan

 (either Aigner or Nesta) and obtained an agreement to raise prices on doxy mono (as well

 as glipizide-metformin and verapamil). Immediately after speaking with Mylan, O’Mara

 sent an email to Malek advising him of his discussions with Mylan.

       515.     On May 8, 2014, Malek requested an update on discussions with

 competitors.    Sather responded to Malek’s email, providing an update on her

 communications with three Defendants about five drugs, including her conversations

 with Sullivan at Lannett about doxy mono.

       516.     Shortly thereafter, on May 14, 2014, Sather attended the MMCAP

 National Member Conference where she was able to confirm, among other agreements,

 an agreement with Lannett on doxy mono pricing. 15

       517.     The market allocation and price-fixing agreements on doxycycline

 (including doxy hyclate, doxy DR, and doxy mono) remain in force or effect (or both)

 as of the date of the filing of this Complaint, and UHS and Pharmacy Assignors have

 been and continue to be injured by this unlawful conduct.



15
 Sather also secured agreements with at least Aurobindo on glyburide, glyburide-
metformin, and fosinopril HCTZ, and Sandoz (fosinopril HCTZ).
                               185
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 191 of 367




       L.     Econazole

       518.   The market for econazole is mature, as econazole has been available in the

United States for almost 20 years. Defendants Taro and Fougera sell generic econazole

pursuant to ANDAs approved by the FDA in November 2002. Defendants Perrigo and

Teligent sell econazole pursuant to ANDAs approved in 2004.

       519.   During the relevant time period, Defendants Sandoz/Fougera, Perrigo,

Taro, and Teligent sold econazole throughout the United States.

       520.   At all times relevant to this lawsuit there has been more than one

manufacturer of econazole on the market. Defendants Sandoz/Fougera, Perrigo, Taro,

and Teligent sold econazole throughout the United States.

       521.   Between 2009 and September 2013, Defendants’ prices for econazole

remained relatively stable. However, beginning in September 2013and continuing

thereafter, Defendants began implementing abrupt and substantial price increases on

econazole.

       522.   Between September 2013 and the Summer of 2014, econazole, which had

cost roughly 12 cents/unit shot up to more than four dollars/unit. This skyrocketing price

cannot be explained by supply shortages or other market events. The only material

change in the months preceding the price increases was Teligent’s entry into the market.

       523.   On February 1, 2013, Teligent acquired an ANDA for econazole from

Prasco LLC. During that month, the CEO of Teligent attended trade conferences with

Perrigo and Taro, where the primary sellers of econazole had opportunities to discuss


                                 186
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 192 of 367




 Teligent's entry to the market. Of particular note, the CEOs of Perrigo and Taro joined

 the Teligent CEO at the GPhA Annual Meeting on February 20-22. Jason Malek and

 Jeffrey Glazer of Heritage, and Rajiv Malik of Mylan, each of whom is directly

 implicated in the Defendants’ overarching “fair share” conspiracy, also attended this

 meeting. In addition, on February 24-27, 2013, ECRM held its annual Retail Pharmacy

 Efficient Program Planning Session at the Sheraton Hotel, Dallas, Texas, and

 representatives from Defendant Perrigo, Taro, and Telligent attended, as did Heritage.

        524.   During this period, Teligent—which had in the past focused on contract

 manufacturing and product development for other companies—announced its intent to

 become a generic pharmaceutical manufacturer.16 Its ambitions were not limited to

 econazole. Teligent touted its strategic plan to enter the market for numerous topical

 generic drugs. It launched its first topical generic drug in December 2012, followed by

 its acquisition of the econazole assets and ANDA from Prasco in February 2013. By

 September 2013, Teligent had 12 ANDAs pending at the FDA. 17 By June 20, 2014 that

 number had jumped to 17, with four additional ANDAs submitted under joint-

 development plans with other manufacturers and another five ANDAs planned for




16
   See, e.g., IGI Laboratories Inc. 2014 Annual Report (SEC 10-K) at 3, available at:
https://www.sec.gov/Archives/edgar/data/352998/000114420415016338/v404166_10k.ht
m.
17
   Teligent Press Release (Sept. 18, 2013), available at:
http://investors.teligent.com/news-releases/news-release-details/igi-laboratories-inc-
announces- twelfth-anda-submission.
                                187
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 193 of 367




 submission by the end of 2014.18 When Teligent acquired the right to sell econazole, it

 was the start of a publicly announced plan that would place Teligent in direct competition

 with Taro and Perrigo across numerous drugs. Teligent now makes 20 topical drugs.

 Seventeen of these drugs are also made by Taro; fifteen are made by Perrigo.

        525.   This scenario—where a drug manufacturer plans to enter a market with

 established, incumbent manufacturers, and where those manufacturers are competitors

 or potential competitors across multiple drugs—is particularly ripe for a “fair share”

 agreement. Rather than allow competition to drive the price of drugs even lower,

 manufacturers can instead agree to “play nice in the sandbox” and keep prices higher.

 The conduct of Teligent, Perrigo, Fougera/Sandoz and Taro after Teligent entered the

 econazole market is the result of their price-fixing, market allocation and/or “fair share”

 agreement.

        526.   Teligent launched econazole under its own label in September 2013. In a

 competitive generic drug market, new market entrants typically price their product below

 the prevailing market price in order to gain market share. Rather than competing for

 market share by lowering prices (or merely seeking to preserve market share by

 maintaining existing prices), Teligent made the economically irrational decision to raise

 prices. In a competitive market, this would have provided an opportunity for Perrigo




18
   Teligent Press Release (June 20, 2014), available at:
http://investors.teligent.com/news-releases/news-release-details/igi-laboratories-inc-
announces- 18th-and-19th-anda-submissions.
                                188
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 194 of 367




and Taro to punish Teligent and gain market share by capitalizing on lower pricing. But

that did not happen. Instead, Teligent’s conduct reflected an agreement with Perrigo,

Fougera/Sandoz, and Taro that Teligent would enter with higher – rather than lower –

prices in exchange for the incumbents’ promise to cede market share to Teligent.

       527.     On October 28-30, right before Teligent’s higher prices took effect in the

marketplace, representatives from Fougera, Perrigo, Taro, and Teligent had met at a

GPhA conference and again had an opportunity to discuss econazole market shares and

pricing.

       528.     By January 2014, Teligent’s effective pricing for econazole was more than

double that of Perrigo and Taro. Pursuant to their agreement, the incumbents also

matched Teligent’s high prices.

       529.     In February 2014, Perrigo began to increase its effective prices, and by

March, Perrigo’s effective prices had risen to the level of Teligent’s prices. Taro’s prices

remained relatively stable, but that changed after representatives from Perrigo, Teligent,

and Taro, met at the June 3-4, 2014 GPhA meeting in Bethesda, Maryland.

       530.     Consistent with their price-fixing agreement, in mid to late 2014, Teligent,

Perrigo, and Taro each implemented abrupt and substantial price increases on the

econazole products they sold to Plaintiffs and others in the United States in lockstep.

       531.     In June 2014, Perrigo began planning a price increase. On June 17, 2014,

Boothe of Perrigo called a Taro employee – likely Perfetto – and they spoke for forty-

five minutes.


                                189
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 195 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 196 of 367
   Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 197 of 367




85 gm   Teligent   52565002285     $0.52     $4.09    1-Sep-14         688%
15 gm   Taro       51672130301     $0.66     $5.80   18-Nov-14         779%
30 gm   Taro       51672130302     $0.59     $5.80   18-Nov-14         890%
85 gm   Taro       51672130308     $0.42     $4.09   18-Nov-14         871%




                             192
                       PUBLIC VERSION
        REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 198 of 367




                         193
                   PUBLIC VERSION
    REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 199 of 367
    Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 200 of 367




already given up one customer to the new entrant and was not inclined to hand over

another.

      545.   Intent on working out a deal with the market share leader, CW-3 and T.P.

of Perrigo exchanged four calls on December 16, 2015. The next day, on December 17,

2015, Sandoz contacted Morris & Dickson and convinced the customer to consider a

revised offer from Sandoz. This time, Perrigo ceded the customer to Sandoz.

      546.   When Sandoz’s re-launch of econazole finally came to fruition in late

2015, it matched its competitors’ increased WAC prices.

      547.   Defendants’ price increases also coincide with increases reflected in

NADAC data:




                                195
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 201 of 367




       548.   Although the conspirators have not been able to maintain their full

conspiracy price increase, Defendants continue to charge significantly more per dose for

econazole than the prevailing market price before their anticompetitive and

conspiratorial pricing.

       549.   Upon information and belief, the Defendants further coordinated this

collusion at numerous trade association meetings that each attended between 2013 and

2016. See Ex. 1.

       550.   Additionally, a number of individuals with leadership roles at Teligent

have ties to other Defendants that are implicated in the conspiracy. For example, Jason

Grenfell-Gardner joined Teligent as CEO in July 2012. Prior to that time, he had served

in a number of roles at West-Ward. Damian Finio, who worked with Grenfell-Gardner

at West-Ward, served briefly on Teligent’s Board in 2014 before leaving that job to

become the CFO of Heritage. In 2018, he returned to Teligent and is now Teligent’s CEO.

Carole Ben-Maimon joined the Teligent Board in 2016. She has held leadership positions

at Impax, Par, and Teva. Narendra Borkar served on the Board of Teligent and is the

former CEO of Aurobindo and Caraco (now part of Sun). Bhaskar Chaudhuri served on

the Teligent Board and previously worked for Valeant and Mylan.

       M.     Fluocinonide

       551.   The market for fluocinonide is mature.        Fluocinonide is a topical

corticosteroid that has been available in the United States for more than 40 years.

Generic fluocinonide has been available for more than 20 years and is widely prescribed.


                                 196
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 202 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 203 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 204 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 205 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 206 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 207 of 367
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 208 of 367




with contract pricing for fluocinonide .1% for various customers, including Walgreens,

HEB, Target, McKesson, and Econdisc. None of these customers were CW-3’s

customers. Later that day, CW-3 e-mailed the information he had obtained from his

competitor to CW-1, W.W., and others at Sandoz.

      573.   A few days later, on September 28, 2015, Sandoz provided CW-3 with an

offer for fluocinonide .1% to submit to his customer, Morris & Dickson. CW-3

responded stating

and then re-forwarded his e- mail from September 24, 2015.

      574.   The next day, on September 29, 2015, CW-3 called Aprahamian and they

spoke for eleven (11) minutes. After that call, CW-3 sent the following e-mail to CW-1

and others at Sandoz:




      575.   Thereafter, Sandoz revised its offer to Morris & Dickson and the customer

awarded Sandoz the business. On October 12, 2015, Sandoz also secured the

fluocinonide 1% business at Wal-Mart, a Taro customer.

      576.   With respect to fluocinonide ointment, the market was evenly split

between Teva and Taro under fair share principles prior to Sandoz’s entry in early 2013.


                              203
                        PUBLIC VERSION
         REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 209 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 210 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 211 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 212 of 367
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 213 of 367




       589.   The second coordinated increase of fluocinonide was much more

significant. Taro raised its prices for all four fluocinonide formulations effective June 3,

2014. For each, the increases to Taro’s WAC prices are set forth below:




       590.   Taro notified its customers of the increases the day before they became

effective – June 2, 2014.

       591.   Patel knew of these (and other) Taro increases well in advance, and was

prepared so that Teva would be able to quickly follow the price increases. Patel was

already preparing for the next round of Teva price increases in June 2014; many of which

would ultimately be implemented by Teva in August.

       592.   On May 14, 2014, Patel and Aprahamian exchanged eight (8) text

messages, and had one phone conversation lasting more than four (4) minutes.

       593.   Subsequent to the May 14 communications Patel directed a colleague to

create a list of future price increase candidates, based on a set of instructions and data

she had given him. On May 28, 2014, that colleague sent her a list titled “2014 Future

Price Increase Candidate Analysis.” The list included several drugs sold by Taro –

including the four formulations of fluocinonide (plus carbamazepine and clotrimazole)

– with the notation “Follow/Urgent” listed as the reason for the increase, even though



                               208
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 214 of 367




Taro had not yet increased its price on those drugs or notified its customers that it would

be doing so. The relevant portions of that spreadsheet are set forth below:




       594.   On June 3, 2014 – the day the Taro increases on fluocinonide became

effective – CVS reached out to T.C., a senior sales executive at Teva, indicating that it

had an “immediate opportunity” on fluocinonide 0.05% cream and fluocinonide 0.05%

emollient cream, but did not give a reason for providing that opportunity to Teva. The

CVS representative offered to move a significant amount of business from Taro to Teva,

stating: “Opportunity knocks.” The e-mail was forwarded to Patel, who responded:




                               209
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 215 of 367




         595.   Of course Patel already knew the bid request was due to a price increase,

because she had spoken to Aprahamian in May and included fluocinonide on her list of

price increases with a notation to “Follow/Urgent.” But she still needed to determine the

specific price points so that Teva could follow quickly.

         596.   T.C. stated that she had not heard about a price increase from anyone else,

but indicated that she would “snoop around.” Patel stated: “OK. Thanks. I’ll do the

same.”

         597.   Patel immediately began snooping around by exchanging five (5) text

messages with Aprahamian at Taro. Later that afternoon, she reported that she had

“[c]onfirmed that Taro increased,” but that she was “still working on intel.” K.G. at Teva

suggested that it might be a good opportunity to take some share from Taro – the market

share leader on several of the fluocinonide formulations. He asked Patel to provide

“guidance” by the next day. Patel responded at 4:23pm, making it clear that she had been

talking to Aprahamian not only about fluocinonide, but other drugs as well:

         598.   I expect to provide guidance at some point in the morning. I’m also hearing

Warfarin, Carbamazepine as well. I’ll be looking at shares and intel tomorrow and will

provide commentary. (Taro is a high quality competitor. It’s just a matter of who the

others are.)

         599.   Shortly after sending that e-mail Patel called Aprahamian and they spoke

for nearly seven (7) minutes. As discussed more fully below, Taro had also increased its




                                210
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 216 of 367




prices for Warfarin and Carbamazepine on June 3. Teva followed those substantial Taro

price increases with equally substantial increases of its own in August.

       600.   First thing the next morning – June 4, 2014 – Patel exchanged two (2) more

text messages with Aprahamian, and then the two spoke on the phone for more than

twenty-five (25) minutes. Within minutes after hanging up the phone with Aprahamian,

Patel sent the following e-mail to K.G., making it clear that she had obtained additional

“intel” that she did not want to put in writing:




       601.   That same day, Teva received a bid request from another large customer,

Walmart. Shortly after that e-mail was forwarded to her, Patel responded by making it

clear that Teva would play nice in the sandbox with Taro:




                               211
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 217 of 367




       602.    After further deliberation, Teva decided not to bid on any of the Walmart

business at all.

       603.    On June 23, 2014, as Teva was planning to implement a price increase on

fluocinonide to follow the Taro increase, Patel forwarded a spreadsheet to a subordinate

with “intel” she had obtained directly from Aprahamian. That spreadsheet contained

specific Taro customer price points for the different formulations of fluocinonide for

each of the various classes of trade (i.e., wholesalers, chain drug stores, mail order and

GPO). Prior to sending that “intel,” Patel had spoken to Aprahamian on June 17 for

fifteen (15) minutes, and June 19 for nearly fourteen (14) minutes. The contract price

points obtained by Patel were not otherwise publicly available.

       604.    Sandoz was also a competitor on two formulations of fluocinonide –

ointment and gel – but was only actively marketing the gel. Not coincidentally,

Aprahamian was having similar communications with his contact at Sandoz, CW-3,

during this time period. At least some of those calls are set forth below:

                               212
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 218 of 367




       605.   During one of the calls on June 20 referenced above, Aprahamian dictated

to CW-3 over the telephone specific Taro contract price points for each of the same

classes of trade that he had provided to Patel, for fluocinonide ointment, fluocinonide

gel, and various other drugs that Taro had increased that overlapped with Sandoz. CW-

3 took very detailed notes of the pricing information Aprahamian provided, which again

were not publicly available. Based on a histo1y and pattern of practice between CW-3

and Aprahamian, it was understood that Sandoz would follow the Taro price increase.

       606.   On June 26, 2014, Teva sent out a calendar notice to a number of sales and

pricing employees- including Patel and Rekenthaler - for a 3pm conference call that day.

The notice stated: “We will discuss the upcoming price increase for all Fluocinonide

products: Fluocinonide Cream, Fluocinonide E-Cream, Fluocinonide Gel, Fluocinonide

ointment. We are targeting an announcement date of Monday, June 30 th for an effective

date of July 1st .” The next morning, at 9:57am, Patel and Aprahamian spoke again for

nearly thirteen (13) minutes.

       607.   Taro and Teva set identical WAC prices within a month of each other in

the Summer of 2014, reflecting increases of more than 200%:


                               213
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 219 of 367
    Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 220 of 367




491%. That same day, Patel spoke to CW-1 at Sandoz by phone for more than three (3)

minutes.

      611.   During this time period, Actavis had also started to re-enter the market for

Fluocinonide 0.05% cream, but had not yet gained any significant market share due to

supply problems. Nonetheless, Actavis still followed the Taro and Teva price increases

in December 2014 by raising its prices to the exact WAC prices as Teva and Taro. The

Actavis price increase on Fluocinonide cream was effective December 19, 2014. Not

surprisingly, in the days and weeks leading up to the Actavis price increase, the co-

conspirators at Actavis, Taro and Teva were all communicating frequently. At least some

of those communications are set forth below:




      612.



                                215
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 221 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 222 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 223 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 224 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 225 of 367




                         220
                   PUBLIC VERSION
    REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 226 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 227 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 228 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 229 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 230 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 231 of 367
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 232 of 367




       653.    Even though it was not offering better pricing, Heritage quickly captured

market share for fosinopril HCTZ, consistent with the “fair share” agreement between

Defendants.

       654.    During this period, all the fosinopril HCTZ manufacturers at the time—

Aurobindo, Glenmark, Heritage, and Sandoz—met on numerous occasions at trade

events.

       655.    Prices remained stable in the fosinopril HCTZ market from 2012 into

2014, at which time Heritage included fosinopril HCTZ on its target list for price

increases.

       656.    During the week of April 14, 2014, Heritage’s Malek asked two employees

to analyze the impact of price increases for numerous generic drugs, including fosinopril

HCTZ, and during an April 22, 2014 Heritage conference call, Malek informed the sales

team that fosinopril HCTZ was targeted for a price increase.

       657.    As with Heritage’s other targeted price increases, Malek aimed to

“socialize” the idea of price increases with the other fosinopril HCTZ manufacturers by

direct outreach and communication about Heritage’s intentions. Both Malek and Glazer

pushed Heritage employees to communicate with their competitors and to obtain

agreement to raise prices.

       658.    Between the time of the sales team call in April and Heritage’s price

increase in July, Heritage communicated by phone call or text with every other

manufacturer of fosinopril HCTZ, totaling at least 100 contacts.


                                  227
                            PUBLIC VERSION
             REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 233 of 367




       659.   On April 26, representatives from Aurobindo, Citron, Glenmark, Heritage,

and Sandoz met at the NACDS 2014 Annual Meeting in Scottsdale, Arizona.

       660.   On April 28, 2014, Malek emailed Lukasiewicz directing him to contact

Aurobindo about pricing for fosinopril HCTZ, glyburide, and glyburide-metformin.

Tellingly, Glazer told Lukasiewicz not to put any of his communications with Aurobindo

on pricing in writing. Lukasiewicz exchanged several voicemails with his contact at

Aurobindo on April 28 and 29, 2014.

       661.   In May 2014, Heritage’s Lukasiewicz began speaking with employees at

Aurobindo and Glenmark—both via phone and through LinkedIn—about price increases

for fosinopril HCTZ. On May 2, 2014, a Heritage employee—likely Lukasiewicz—

contacted an employee at Glenmark via LinkedIn to discuss pricing for at least fosinopril

HCTZ.

       662.   A Heritage employee—likely Lukasiewicz—spoke by phone with his

Aurobindo contact for sixteen minutes on May 8, 2014. During this call, they reached

an agreement to raise the price of at least fosinopril HCTZ, glyburide-metformin, and

glyburide.

       663.   On May 8, 2014—the same day Lukasiewicz spoke with Aurobindo—

Lukasiewicz called an employee at Glenmark, and they spoke for more than fourteen

minutes. The next day, on May 9, the Aurobindo employee spoke with an employee at

Glenmark for over nine minutes.




                               228
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 234 of 367




       664.   On May 9, Heritage had another internal conference call discussing the list

of drugs proposed for increases. Fosinopril HCTZ, verapamil, theophylline,

paromomycin, nystatin, nimodipine, leflunomide, glyburide-metformin, and glyburide

were all on the May 9 price increase list. During the conference call, the Heritage sales

team shared the results of their conversations with competitors in seeking agreements to

raise prices on certain drugs.

       665.   Lukasiewicz was not the only Heritage employee communicating with

other manufacturers of fosinopril HCTZ.       On May 14, 2014, Sather attended the

MMCAP National Member Conference in Bloomington, Minnesota. She used this

conference as an opportunity to speak in person with a number of different competitors

about pricing.    Sather confirmed agreements on pricing with at least Aurobindo

(fosinopril HCTZ, glyburide, and glyburide-metformin), Sandoz (fosinopril HCTZ), and

Lannett (doxy mono). Sather emailed Malek on May 15, telling him of the agreements

with Aurobindo, Sandoz, and Lannett.

       666.   Also on May 15, the day after speaking with Heritage’s Sather and while

the MMCAP National Member Conference was still ongoing, the same Aurobindo and

Sandoz employees spoke by phone and texted each other multiple times. A week later,

a competitor—likely an employee from Aurobindo or Heritage—exchanged text

messages with the same employee at Sandoz to confirm she had his correct cell phone

number.




                               229
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 235 of 367




         667.   During this time, an employee at Aurobindo also spoke with employees at

Glenmark and Sandoz about price increases for fosinopril HCTZ.

         668.   On May 15, 2014, a large pharmacy customer informed Heritage that

Aurobindo had recently provided a lower bid for fosinopril HCTZ. Sather recommended

that Heritage not reduce its price to retain business, because she was confident that

Aurobindo would stick to the pricing strategy she and Aurobindo had reached the day

prior.

         669.   Heritage’s Sather continued her pricing discussions on fosinopril HCTZ in

person while at the June 2014 HDMA Business and Leadership Conference. On June 3,

Sather had dinner and drinks with a number of Heritage’s competitors at the Sandbar

Restaurant, including a contact at Sandoz.

         670.   Following these trade association meetings, there was a sharp uptick in

discussions among competitors. Between June 3, 2014 and June 10, 2014, an Aurobindo

employee had three phone calls with a Sandoz employee and five phone calls and

multiple text messages with Glenmark, likely to discuss pricing of at least fosinopril

HCTZ.

         671.   On June 16, 2014, a different Glenmark employee called a different

Aurobindo employee and they spoke for twenty-two minutes. Again, these discussions

were presumably about the pricing of the generic drugs at issue, including fosinopril

HCTZ.




                                230
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 236 of 367




       672.   On June 23, the Heritage sales team had a meeting where they discussed

the price increases targeted for the identified drugs. The proposed increase for fosinopril

HCTZ was 200%.

       673.   Heritage’s Lukasiewicz spoke with his contact at Aurobindo for eighteen

minutes on June 25, the day before Heritage issued price increase letters for numerous

drugs, including fosinopril HCTZ. They would speak for three and a half minutes again

on July 7, 2014.

       674.   Also on June 25, a Heritage employee texted a friend at Citron to discuss

Citron’s entry into the glyburide market and proposed price increases in that market.

During this text exchange, Heritage learned for the first time that Citron was planning to

enter the market for fosinopril HCTZ as well. After learning about Citron’s proposed

entry into the fosinopril HCTZ market, the Heritage employee disclosed Heritage’s plan

to increase the pricing for fosinopril HCTZ. She also informed the Citron employee that

Aurobindo was a competitor for fosinopril HCTZ.

       675.   This exchange between Heritage and Citron provides another example of

the overarching conspiracy at work. Although Heritage contacted Citron to discuss

pricing on glyburide, the communications—and anticompetitive agreement—naturally

and inevitably expanded to include additional drugs at issue, in this instance, fosinopril

HCTZ.

       676.   On June 26, 2014, Heritage issued price increases for nine drugs, including

fosinopril HCTZ.


                               231
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 237 of 367




       677.   On June 27, the day after Heritage began sending out price increase notices

for fosinopril HCTZ, an employee of Aurobindo and an employee of Glenmark spoke

twice, with one of their calls lasting almost eighteen minutes. Over the next several

months, Glenmark and Aurobindo continued to speak about at least fosinopril HCTZ.

       678.   On July 1, 2014, Citron called an employee at Heritage to discuss Citron’s

agreement to raise prices on certain drugs and to discuss Heritage’s price increase plan

for fosinopril HCTZ. They spoke for thirteen minutes. During this conversation, the

Citron employee told Heritage that they should not communicate with Citron through

email, but should instead call to convey any sensitive information about pricing for

fosinopril HCTZ or any other drugs.

       679.   Employees of Heritage and Citron spoke for nearly twenty-two minutes

again on July 2, 2014 about fosinopril HCTZ and other drugs. These conversations

continued throughout July and August 2014.

       680.   On July 18, 2014, a Heritage employee—likely Lukasiewicz—spoke

directly with a Glenmark employee for twenty-three minutes about at least fosinopril

HCTZ. On July 30, 2014, they spoke for more than five minutes.

       681.   By July, Heritage had raised its list (WAC) prices by 100% for fosinopril

HCTZ, and prices remained elevated thereafter.

       682.   The “fair share” agreement among Defendants enabled Heritage to

maintain or even increase its market share for fosinopril HCTZ, even though it had raised

prices above a competitive level.


                               232
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 238 of 367




       683.   During this time, Citron also was communicating directly with Aurobindo.

On July 28, 2014, an employee of Citron called and texted an employee at Aurobindo

several times until the two were finally able to connect by phone. They spoke later that

day for more than twenty-four minutes. That day, Citron confirmed internally that

Heritage had increased its list prices for fosinopril HCTZ, and also had raised prices on

two other drugs that Citron was trying to match on price increases (glyburide and

glyburide-metformin).

       684.   Citron spoke with an employee of Glenmark twice on July 14, 2014. The

first call lasted for seven minutes. The second call, which occurred shortly thereafter,

was for more than thirteen minutes. The next day, Citron increased its fosinopril HCTZ

prices to be in line with the price increases adopted by Heritage.

       685.   Although Heritage significantly raised its prices for fosinopril HCTZ, it

did not lose market share until at least 2016 (when it appears to have begun to exit the

market). Maintaining a dominant share of the market was possible because of the “fair

share” agreement among Defendants including Heritage, Aurobindo, Citron, Glenmark,

and Sandoz.

       O.     Glipizide-Metformin

       686.   The market for glipizide-metformin is mature, as the drug has been

available in generic form since 2005. During the relevant time period, Heritage, Teva,

and Mylan have been the primary sellers of glipizide-metformin sold throughout the

United States.


                                 233
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 239 of 367




       687.    Since 2009, numerous Defendants have sold glipizide-metformin,

including Mylan, Teva, Sandoz (mostly exited the market by 2010), Actavis (mostly

exited the market by 2014), Heritage (entered the market in 2010 and mostly exited the

market by July 2017), Sun (sold de minimis amounts up until 2016), and Zydus (entered

the market in September 2016).

       688.    By April 2014, Defendants Heritage, Teva, and Mylan controlled nearly

the entire glipizide-metformin market.

       689.    As noted above, on April 15, 2014, Heritage’s Malek called Teva’s Patel

and the two spoke for more than seventeen minutes and discussed various different

generic drugs for which Teva was a competitor of Heritage, including glipizide-

metformin. During their conversation, Patel agreed that if Heritage increased prices for

the drugs they discussed, including glipizide-metformin, Teva would support the price

increases.

       690.    Heritage’s Malek and Teva’s Patel spoke several more times over the next

several months to confirm and finalize their agreements regarding numerous drugs,

including glipizide-metformin.

       691.    As discussed above, during an April 22, 2014 Heritage sales team

teleconference, numerous drugs were slated for a price increase, including glipizide-

metformin.

       692.    Concurrent with these discussions, and as outlined throughout, Heritage

sales staff were also speaking with Defendants to formalize pricing agreements. For


                                  234
                            PUBLIC VERSION
             REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 240 of 367




Heritage, O’Mara was responsible for communicating with Mylan (either Aigner or

Nesta) about a number of drugs, including glipizide-metformin. On April 23, the day

after Malek directed Heritage’s sales team to contact Defendants about price increases,

Mylan and Heritage agreed to raise prices on at least three different drugs, including

glipizide-metformin (as well as doxy and verapamil). O’Mara conveyed this agreement

with Mylan to Malek via email the same day.

       693.   Teva and Mylan were also in frequent communication with each other

about pricing. On May 9, 2014, an employee at Mylan and an employee at Teva spoke

with each other multiple times about pricing for at least glipizide-metformin. Their

conversations included one call that lasted more than seven minutes. They continued to

be in contact throughout 2014.

       694.   Also on May 9, 2014, Heritage held an internal call about price increases.

Glipizide-metformin was one of the drugs slated for a price increase.

       695.   Heritage had a call on June 25 and discussed an analysis of the proposed

price increases and reviewed inter-competitor communications. The next day, Heritage

began notifying customers of price increases for nine drugs, including glipizide-

metformin. Glipizide-metformin was slated for a 100% increase effective July 1, 2014.

Price increase notices were mailed the same day.

       696.   By July 9, 2014, Heritage had increased prices of glipizide-metformin

nationwide for at least 27 different customers.




                               235
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 241 of 367




       697.   On August 20, 2014, an unidentified individual—likely a Heritage

employee—updated a Sun employee via text messages on the agreements Heritage had

reached with Actavis to increase the prices of glyburide-metformin and verapamil.

These text messages occurred just days before the start of the 2014 NACDS Total Store

Expo, which was attended by individuals from Heritage, Teva, Mylan, and Sun that are

directly implicated in anticompetitive communications: Heritage (Glazer, Malek,

O’Mara, and Sather), Mylan (Aigner and Nesta), and Teva (Patel). Numerous other

Defendants attended as well.

       698.   Consistent with their agreement, neither Teva nor Mylan challenged

Heritage on its price increases. By November 2014, Teva had increased its bid prices of

glipizide-metformin to potential customers.

       699.   Although Heritage, Mylan and Teva imposed price increases on their

customers, throughout the relevant period, the list (WAC) prices announced for

glipizide-metformin by Heritage, Mylan, and Teva, as well as by Defendants Actavis,

Sandoz, and Zydus, were virtually identical and unchanged. Regardless of the number

of sellers in the market, and despite multiple entrances and exits from the market, list

prices did not change or vary. This suggests an absence of price competition and is

consistent with Defendants’ “fair share” agreement. Rather than compete in the market,

Defendants announced identical list prices, then, as described above, colluded with each

other to elevate the prices paid by their customers.




                               236
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 242 of 367




       P.     Glyburide

       700.   The market for glyburide is mature, as glyburide has been available in the

United States for decades and has been available in generic form in the United States for

more than 20 years.

       701.   As of April 2014, Defendants Aurobindo, Heritage, and Teva were the

dominant sellers of glyburide sold throughout the United States. Defendant Citron would

enter the glyburide market in July of 2014.

       702.   As alleged elsewhere in this Complaint, on April 15, 2014, Heritage’s

Malek called Teva’s Patel and they discussed various generic drugs, including glyburide.

During their conversation, Heritage and Teva agreed not to compete in the glyburide

market. Malek and Patel spoke several more times over the next several months to

confirm and finalize their agreements regarding glyburide and numerous other drugs.

       703.   On April 22, 2014, the Heritage sales team held a teleconference during

which Malek identified a large number of drugs that Heritage targeted for price increases,

including glyburide. At the time of this call, Aurobindo and Teva were Heritage’s only

competitors in the glyburide market.

       704.   Malek was responsible for communicating with Teva (among other

Defendants) and Lukasiewicz was assigned to communicate with Aurobindo.

       705.   Malek and Glazer pushed Heritage employees to communicate with their

competitors in order to reach agreements to raise prices. Malek and Glazer sent several

emails imploring their sales staff to reach agreements with their competitors in the


                                 237
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 243 of 367




generic glyburide market, among other generic markets, as soon as possible. For

example, on April 28, 2014, Malek sent an email to one Heritage employee—likely

Lukasiewicz—concerning the status of discussions with Aurobindo.

       706.   Glazer followed up the next day (April 29) with an email to Lukasiewicz

requesting further information, and Malek sent an additional email on April 30

requesting an update. Lukasiewicz eventually connected with his Aurobindo contact on

May 8, 2014, when the two spoke for sixteen minutes. During this call, they agreed to

raise the price of a number of drugs, including glyburide.

       707.   On May 9, 2014, Heritage’s sales team had another teleconference to share

the results of their conversations with competitors and further discuss the contemplated

price increases for at least nine generic drugs, including glyburide.

       708.   The following week, on May 14, Heritage’s Sather met in person and

discussed price increase strategies with several competitors at MMCAP in Bloomington,

Minnesota. During that meeting, Aurobindo and Heritage’s Sather agreed to raise the

prices of glyburide. Sather confirmed this agreement in a May 15 email to Malek. Sather

also indicated that she would try to meet with Teva at MMCAP.

       709.   On June 23, 2014, Heritage employees met and discussed the specific

percentage amounts they would seek to increase glyburide, as well as other generic

drugs, and the strategies for doing so. They reached a consensus that glyburide prices

would be increased by 200%.




                               238
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 244 of 367




       710.   Over the next several weeks, Heritage employees continued reaching out

to numerous generic drug competitors and potential competitors—including in the

glyburide market—in order to secure agreements to raise prices for glyburide and other

generic drugs.

       711.   On June 25, 2014, one Heritage employee texted her friend, an employee

of Defendant Citron, to discuss whether Citron would be selling glyburide in the near

future. Once it was determined that Citron would be entering the glyburide market,

Citron and Heritage had extensive phone, text message, and in-person conversations

concerning Citron’s glyburide pricing and bidding strategies.

       712.   For example, on July 1, 2014, Citron called an employee at Heritage and

they spoke for thirteen minutes, confirming Citron’s agreement to raise prices on certain

drugs, including glyburide. During this conversation, the Citron employee told Heritage

that they should not communicate with Citron through email, but should instead call to

convey any sensitive information about pricing for glyburide or other drugs.

       713.   The two spoke for nearly twenty-two minutes the next day.

       714.   As Citron entered the glyburide market in July 2014, it frequently

contacted Heritage about glyburide pricing and bidding strategies. Citron set an initial

target of obtaining less than 10% of the glyburide market share. It was careful, however,

to coordinate with Heritage so that it could acquire additional market share without

eroding the price increases.




                               239
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 245 of 367




         715.   Citron and Heritage’s discussions did not occur in isolation. Concurrent

with these pricing discussions, Heritage’s Malek and his sales team continued to

communicate with Defendants about pricing for glyburide and other generic drugs at

issue.

         716.   By July 9, 2014, Heritage had announced glyburide price increases for at

least seventeen customers. Teva also had increased pricing on glyburide. Citron, after

confirming internally that Heritage had increased its list prices for glyburide, also

increased its glyburide pricing in line with the price increases on July 15, 2014.

         717.   Consistent with the parties’ understanding of their agreements and the

principles of “playing fair” within the market, throughout the summer, Teva, Aurobindo,

Citron, and Heritage were in contact with each other to ensure they were complying with

their agreements on pricing for glyburide.

         718.   For example, on July 9, 2014, a large national retail chain asked Teva to

bid on both glyburide and nystatin because of Heritage’s price increases. Instead of

quoting a price that would win the business, Teva—consistent with Defendants’

agreement—raised its own list prices for glyburide to a similar level as Heritage.

         719.   Similarly, in response to Heritage’s price increase on glyburide and other

drugs discussed in this complaint, a large wholesaler separately emailed Teva and

Aurobindo on July 25, 2014 and asked for bids. Aurobindo and Teva immediately

contacted Heritage to coordinate their responses and ensure that they were complying

with their pricing agreements.


                                240
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 246 of 367




       720.   Teva’s Patel and Heritage’s Malek spoke for fifteen minutes the day the

wholesaler’s request was received. After this conversation, Teva declined to provide a

bid to the wholesaler.

       721.   The same day, Malek sent a text message to an unidentified individual

believed to be at Aurobindo. Malek and this individual then spoke for thirteen minutes

and determined that Aurobindo would not provide a glyburide bid in response to the

wholesaler.

       722.   Ultimately, neither Teva nor Aurobindo responded to the bid.

       723.   While Teva, Aurobindo, and Heritage were trying to maintain their price

increases for glyburide, Citron also was communicating directly with Aurobindo

presumably to coordinate its entry into at least the glyburide market.

       724.   On July 28, 2014, a Citron employee called and texted an Aurobindo

employee several times until the two were finally able to connect by phone. They spoke

later that day for more than twenty-four minutes, including about the pricing of glyburide

and other drugs.

       725.   Glazer’s plea agreement with DOJ, which provided the factual basis for

his felony conviction imposed by Judge Surrick, states that “[i]n furtherance of the

conspiracy, [Glazer] and his co-conspirators at [Heritage], including individuals the

defendant supervised, engaged in discussions and attended meetings with co-

conspirators involved in the production and sale of glyburide. During such discussions




                               241
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 247 of 367




and meetings, agreements were reached to allocate customers and fix and maintain the

prices of glyburide sold in the United States.”

       726.   Similarly, Malek’s plea agreement with DOJ, which provided the factual

basis for his felony conviction imposed by Judge Surrick, states that “[i]n furtherance of

the conspiracy, [Malek] and his co-conspirators at [Heritage], including individuals the

defendant supervised, engaged in discussions and attended meetings with co-

conspirators involved in the production and sale of glyburide. During such discussions

and meetings, agreements were reached to allocate customers and fix and maintain the

prices of glyburide sold in the United States.”

       727.   Through their continued collusion, Citron, Heritage, Aurobindo, and Teva

were able to maintain their collusive pricing on glyburide throughout the relevant period.

This conspiratorial agreement continues to impact prices that UHS, Pharmacy Assignors,

and others in the United States pay for glyburide.

       Q.     Glyburide-Metformin

       728.   The market for glyburide-metformin is mature, as the drug has been

available in generic form since 2004. Glyburide-metformin has been marketed and sold

by a number of Defendants since 2009, including Actavis, Aurobindo, Citron (entered

the market in August 2014), Dr. Reddy’s (selling only de minimis amounts by 2011),

Heritage (entered the market in January 2013), Par (selling only de minimis amounts by

2010), Sandoz (selling only de minimis amounts by 2013), Teva, and Zydus (entered the

market in September 2016).


                                 242
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 248 of 367




       729.   As of April 2014, Teva, Aurobindo, and Actavis were the primary sellers

in the market for glyburide-metformin. Heritage had approximately a 5% market share,

but nonetheless wanted to raise prices.

       730.   As discussed above, on April 15, 2014, Heritage’s Malek called Teva’s

Patel and the two discussed a number of generic drugs, including glyburide-metformin.

Patel and Malek agreed not to compete on these drugs. Over the next several months,

Malek and Patel spoke several more times to confirm and finalize their agreements.

       731.   On April 22, 2014, Heritage held a teleconference during which Malek

identified a large number of drugs that Heritage targeted for price increases, including

glyburide-metformin. After the call, Malek assigned Lukasiewicz to contact Aurobindo

about glyburide-metformin (and, as discussed above, fosinopril HCTZ), and Sather was

assigned to Actavis to discuss glyburide-metformin.

       732.   Right after the Heritage sales call and in response to Malek’s direction,

Sather communicated with three different competitors about multiple drugs—including

with Actavis about glyburide-metformin. Sather spoke with Actavis for nine minutes

the day of the April 22 pricing call and reached an agreement with Actavis to raise the

price of glyburide-metformin (and, as discussed below, verapamil). Sather updated

Malek on her communications with Actavis on May 8.

       733.   Within Actavis, news of its agreement with Heritage spread quickly. On

April 28, 2014, an email to the Actavis sales and pricing team discussed the agreement

and potential price increases for a number of different drugs.


                               243
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 249 of 367




      734.   In response to that April 28 email, on May 6, an unidentified employee at

Actavis called an employee at Mylan, and they spoke for five minutes. They spoke three

more times on May 6, with one call lasting fifteen minutes.         They continued to

communicate over the next several months. It is believed that they discussed pricing for

glyburide-metformin.

      735.   On April 28, 2014, Heritage CEO Glazer sent an email to Lukasiewicz

directing him to contact Aurobindo about potential price increases on a number of drugs,

including glyburide-metformin. Tellingly, Glazer told Lukasiewicz not to put any of his

communications with Aurobindo on pricing in writing. Lukasiewicz exchanged several

voicemails with his contact at Aurobindo on April 28 and 29, 2014. Glazer would

request status updates from Lukasiewicz several times at the end of April.

      736.   Heritage’s Lukasiewicz and his Aurobindo contact spoke for sixteen

minutes on May 8, 2014. During this phone call, they reached an agreement to raise the

price of glyburide, glyburide-metformin and fosinopril HCTZ.

      737.   And on May 15, 2014, while attending the MMCAP National Member

Conference, Sather confirmed pricing agreements for at least five different drugs with

three different Defendants. Among the agreements Sather confirmed was an agreement

with Aurobindo on pricing for glyburide-metformin and two other drugs.

      738.   Concurrent with these discussions, on May 12, an employee of Actavis

spoke with Bob Cunard, the CEO of Aurobindo, twice about its glyburide-metformin




                              244
                        PUBLIC VERSION
         REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 250 of 367




pricing.   Between May 19 and May 22, 2014, that same Actavis employee also

exchanged thirty text messages with a Teva employee about drug pricing.

       739.   On June 25, 2014, a Heritage employee texted a friend at Citron about

Citron’s entrance into the glyburide market. As part of this discussion, they also spoke

about glyburide-metformin, a drug which Citron had approval to sell, but was not

actively selling at the time.

       740.   In July 2014, both Heritage and Teva increased their WAC prices for

glyburide-metformin.

       741.   Citron took note of these actions. In a July 9, 2014 internal Citron memo,

Citron noted that both Heritage and Teva had increased their prices on three different

drugs, including glyburide-metformin. In the same memo, a Citron employee then

reiterated Citron’s intent to abide by the agreement with Heritage and Teva.

       742.   On August 20, 2014, an unidentified individual—likely a Heritage

employee—exchanged text messages with a Sun employee. The text exchange described

the agreements reached with Actavis to increase the price of glyburide-metformin and

verapamil. This, again, highlights the overarching nature of the conspiracy; Sun was

kept apprised of agreements (in this case between Actavis and Heritage) relating to

generic drugs at issue that it did not market or sell.

       743.   By September 2014, Citron had mobilized to enter the glyburide-

metformin market. Instead of undercutting the prices of Actavis, Aurobindo, Heritage,




                                245
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 251 of 367




and Teva in an effort to gain market share, Citron announced list (WAC) prices higher

than all of them.

       R.     Leflunomide

       744. The market for leflunomide is mature, as the drug has been available in

generic form since 2005. As of April 2014, the main competitors for leflunomide were

Defendants Apotex, Teva, and Heritage. Heritage was a dominant player in the market,

with a 60% market share.

       745. As discussed above, during the week of April 14, 2014, Malek met with

two employees and asked them to analyze the impact of price increases for numerous

generic drugs, including leflunomide.

       746. Before introducing the market-wide price increases to the rest of his sales

team, Malek began communicating with Patel at Teva about numerous generic drugs,

including leflunomide.

       747. On April 15, 2014, Malek and Patel spoke on the phone and agreed that if

Heritage increased prices for leflunomide, acetazolamide, glipizide-metformin,

glyburide, and glyburide-metformin, Teva would support the increases.

       748. Malek and Patel spoke several more times over the next several months to

confirm their agreements. During this time, Malek kept Patel updated on the progress of

Heritage’s proposed price increases.




                                 246
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 252 of 367




       749. While Malek was speaking with Teva’s Patel about increasing prices on

leflunomide, he and other Heritage employees were also in contact with individuals from

Apotex to discuss price increases for at least leflunomide.

       750. During the infamous April 22, 2014 Heritage sales call, Malek identified

leflunomide as a drug slated for an increase. In the wake of this call, Malek personally

took responsibility for communicating with Teva. Matt Edelson was assigned to Apotex.

       751. Defendants had numerous opportunities to meet in person at industry

events to discuss the pricing of leflunomide. For example, on April 26-29, Heritage’s

Glazer attended the NACDS Annual Meeting where he had the opportunity to meet with

representatives from Teva and Apotex, among others.

       752. On May 2, 2014, Edelson spoke with Apotex’s Beth Hamilton for thirteen

minutes about at least leflunomide. Four days later, on May 6, a Heritage employee—

likely Edelson—had two more phone calls with Apotex’s Hamilton after learning that

Teva would be exiting the leflunomide market.

       753. After speaking with Hamilton, Edelson emailed Malek to report what they

discussed. Malek replied, confirming the strategy with Edelson. That same day (May

6), either Malek or Edelson called Apotex. They had two calls, lasting nine and eight

minutes, respectively.

       754. The following day—on May 7, 2014—Edelson and Hamilton had two

more phone conversations where they agreed to avoid competition and increase prices

on leflunomide. Seven phone calls in five days, and an agreement was reached.


                               247
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 253 of 367




       755. On May 8, in response to an email from Malek requesting a status update,

Edelson provided an additional update on his discussions with Apotex.

       756. On May 9, Heritage had another internal conference call discussing the list

of drugs proposed for increases, including for leflunomide. During the conference call,

the Heritage sales team shared the results of their conversations with competitors,

including Apotex.

       757. On May 27, Heritage learned that Apotex had increased the price on

leflunomide to bring it more in line with Heritage’s price.

       758. On June 26, 2014, Heritage began sending price increase notices to its

customers for nine drugs, including leflunomide, and had fully implemented the price

increase on all its major leflunomide accounts by early July.

       759. Beginning in July 2014, rather than compete for leflunomide sales, Teva

ceded the market to Apotex and Heritage and began to exit the market.

       S.     Levothyroxine

       760.   The market for levothyroxine is mature, as levothyroxine has been

available in the United States for over 50 years. Levothyroxine is on the WHO’s list of

essential medicines.   Levothyroxine is often featured on lists of the top ten most

prescribed generic drugs and, as of June 2015, it was the most prescribed generic drug

in the United States and constituted 2.7% of the entire generic drug market by number

of prescriptions. Over 120 million prescriptions are written annually for Levothyroxine

in the United States, treating 15% of the population over the age of 55


                                 248
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 254 of 367




      761.   Since December 2010, Defendants Lannett, Mylan, and Sandoz all sold

levothyroxine throughout the United States, and have dominated the market for

levothyroxine.

      762.   In the years 2013 and 2014, the three competitors coordinated to

significantly raise the price of Levothyroxine. Nesta of Mylan spearheaded the

discussions by speaking with K.S., a senior sales executive at Lannett, and with CW-4

of Sandoz. In addition to communicating directly with CW-4 on this drug, Nesta also

communicated indirectly with Sandoz through a mutual contact at a competitor company

– Green of Teva. Notably, Levothyroxine was not a drug that Teva sold.

      763.   Mylan increased prices on a number of drugs on January 4, 2013, including

Levothyroxine. The day before the Mylan increase, on January 3, 2013, Nesta of Mylan

and Green of Teva spoke at least four times by phone. The next morning – the day of the

Mylan price increases – Green spoke twice with Kellum, including a six (6) minute call

at 9:34am.

      764.   Shortly after hanging up the phone with Green, Kellum sent an internal e-

mail stating, among other things, that he “[j]ust heard from a customer that . . . Mylan

took a significant price increase on Levothyroxine” and Kellum advised his team to

“please be cautious” on this product. As the phone records demonstrate, Kellum’s source

for the information was not “a customer,” but rather Green of Teva.

      765.   That same morning, K.S. of Lannett called Nesta of Mylan. The phone call

lasted 44 seconds. Then, on January 10, 2013, Nesta called K.S. back and they spoke for


                              249
                        PUBLIC VERSION
         REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 255 of 367




more than six (6) minutes. That same day, McKesson e-mailed Sandoz and requested a

price reduction on Levothyroxine. Kellum responded internally, “This is a no. We just

learned that Mylan look a large price increase.”

       766.   The following Monday – January 14, 2013 – Lannett raised its WAC

pricing for Levothyroxine to match Mylan. Notably, after these phone calls, Nesta would

not speak again with K.S. of Lannett until August 6, 2013 – three days before Mylan

increased its prices for Levothyroxine a second time.

       767.   On July 16, 2013 – as detailed above – CW-4 spoke with Nesta and sent

the July 2013 E-mail identifying the Mylan price increases. The price list included

Levothyroxine and noted that Lannett had followed.

       768.   On August 6, 2013, Nesta called CW-4 two times. Both calls lasted less

than a minute. A few minutes after the second call, Nesta called K.S. at Lannett. The call

lasted 24 seconds (likely a voicemail). Three days later, on August 9, 2013, Mylan

increased WAC pricing on Levothyroxine for a second time.

       769.   On August 10, 2013, S.G., a national account executive at Sandoz, sent an

internal e-mail that stated: “Mylan took a 300% price increase on Levothyroxine!!!

Based on my intelligence (we will need to confirm), please lock down inventory (strict

allocation per AK) and no new product offers until we can clarify the situation.” CW-4

replied to S.G.’s e-mail stating, “This is correct based on my info as well.”

       770.   Pursuant to their ongoing understanding, Lannett followed quickly and

matched Mylan’s WAC pricing on August 14, 2013.


                               250
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 256 of 367




         771.   On August 14, 2013, S.G. sent an e-mail to Kellum, copying CW-1,

regarding “Levothyroxine Mylan” and asked “[w]e taking the pricing up?” CW-1

responded: “[w]orking on it.” In response, S.G. replied: “Thx. I believe Lannett

rationalized the market earlier this week.” CW-1 answered “We just noticed that as

well.”

         772.   On September 5, 2013, Cigna – a Mylan customer – contacted Lannett and

requested a bid on Levothyroxine. J.M., a national account manager at Lannett,

forwarded the request to K.S. stating “due to Mylan’s across the board price increases

on a number of products, they are looking for new suppliers wherever there is crossover.”

J.M. explained that “[t]he volume isn’t gigantic on the 1000s so it wouldn’t attract much

attention from Mylan if it went to us ….” Nonetheless, on September 12, 2013, Lannett

declined the opportunity and blamed supply issues stating “[a]s much as we’d love to

take on the business, we are not in a position to do so at this time.”

         773.   During a September 10, 2013 earnings call, Lannett’s CEO, A.B., was

asked for his reaction to Mylan’s Levothyroxine price increase. A.B. responded, “You

mean after I sent them a thank you note? I’m just kidding. . . . I’m always grateful to see

responsible generic drug companies realize that our cost of doing business is going up as

well. . . . So whenever people start acting responsibly and raise prices as opposed to the

typical spiral down of generic drug prices, I’m grateful.”




                                251
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 257 of 367




       774.   On September 13, 2013, Sandoz did indeed act “responsibly” and,

consistent with the understanding it had with its competitors, raised WAC pricing to

match Mylan and Lannett.

       775.   The three competitors - Defendants Mylan, Lannett, and Sandoz - did not

stop there. They coordinated again to raise price on Levothyroxine in April/May 2014.

       776.   Consistent with the 2013 increases, Mylan was the first to raise its WAC

pricing on Levothyroxine on April 25, 2014. In the two days leading up to the increase,

Nesta and K S. of Lannett spoke by phone several times. These calls are listed below.

Notably, these calls are the last documented telephone calls between these two

executives.




       777.   On April 25, 2014 - the day that Mylan increased its pricing for

Levothyroxine - P.C., a sourcing manager at Cardinal Health, sent a text message to

Sullivan of Lannett stating: “[n]ot sure if you knew already ... Mylan increasing levos.”

Sullivan responded: “Thanks for the heads up ... We heard 55% on contract price, can

you confirm?” P.C. replied, “[y]es ~50-55%.” Sullivan had “heard” about the Mylan

increase from her supervisor, K S., who had communicated with Nesta only days prior.

       778.   Lannett quickly followed with a price increase of its own - raising its WAC

pricing to match Mylan on April 28, 2014. In accordance with their ongoing agreement,
                               252
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 258 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 259 of 367




                         254
                   PUBLIC VERSION
    REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 260 of 367




                         255
                   PUBLIC VERSION
    REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 261 of 367




       781.   Mylan, Sandoz, and Lannett have maintained their prices at these

supracompetitive levels and, as of the filing of this Complaint, UHS and Pharmacy

Assignors continue to pay supracompetitive prices for generic levothyroxine.

       T.     Lidocaine-Prilocaine

       782.   The market for lidocaine-prilocaine is mature, as lidocaine-prilocaine has

been available in the United States for decades. It is marketed in the United States under

the brand name EMLA. Defendants Akorn, Hi-Tech, Impax, Sandoz, and Fougera have

all sold lidocaine-prilocaine throughout the United States.




                                 256
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 262 of 367




      783.   At all times relevant to this lawsuit there has been more than one

manufacturer of lidocaine-prilocaine on the market. Defendants Akorn, Hi-Tech, Impax,

Sandoz, and Fougera sold lidocaine-prilocaine throughout the United States.

      784.   For more than two years prior to the conspiracy period, Defendants’

average price in the U.S. for lidocaine-prilocaine was remarkably stable. Until around

March of 2014, generic lidocaine-prilocaine pricing was fairly stable. That stability is

reflected in the following chart displaying NADAC data for generic lidocaine-prilocaine

covering the years 2012 to 2015:




      785.   Beginning on or around March of 2014 however—and without any

explanation—the price of Defendants’ generic lidocaine-prilocaine began to skyrocket.

As shown in the NADAC chart above, the average price per unit of generic lidocaine-

prilocaine sold across all Defendants was $0.49 in January of 2014, compared to $1.20

in January of 2015, a 145% increase.
                              257
                        PUBLIC VERSION
         REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 263 of 367




       786.   Upon information and belief, the price increases were the result of

collusive agreements between and among the Defendants to increase pricing and restrain

competition for the sale of lidocaine-prilocaine throughout the United States.

       787.   Upon information and belief, this agreement to increase prices on

lidocaine-prilocaine was the result of collusive communications between and among

Defendants that were initiated by Sandoz and Fougera to increase pricing and restrain

competition for the sale of lidocaine-prilocaine in the United States, and this agreement

to increase prices was facilitated because each Defendant adhered to the overarching

market allocation agreement in the generic drug industry during this time period. The

collusive agreement to increase prices on lidocaine-prilocaine was furthered, at least in

part, through in-person discussions conducted at meetings and industry events hosted by

GPhA and HDMA as well as other meetings and communications (as identified

throughout this Complaint).

       U.     Meprobamate

       788.   The market for meprobamate is mature, as the drug has been available in

the United States since 1955. During the relevant time period, Heritage and Dr. Reddy’s

were the primary sellers of meprobamate throughout the United States.

       789.   In 2013, Actavis exited the meprobamate market, which left Heritage and

Dr. Reddy’s as the two remaining suppliers in the market. Heritage wanted to use

Actavis’ exit from the market as pretext to increase prices.




                                 258
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 264 of 367




       790.      While Dr. Reddy’s and Heritage were negotiating pricing and market share

for zoledronic acid (as discussed above), they also were discussing pricing for

meprobamate.

       791.      On March 21, 2013, Heritage’s Malek emailed O’Mara and Edelson and

instructed them to contact Dr. Reddy’s—the only competitor remaining in the

meprobamate market—to tell Dr. Reddy’s that Heritage wanted to increase the price on

meprobamate. Malek’s proposed price increase was approximately four times the

current price.

       792.      On March 22, during the same time they were exchanging price

information for zoledronic acid with Dr. Reddy’s, Heritage’s O’Mara spoke to Dr.

Reddy’s Adams for nine minutes about at least meprobamate. During that conversation,

Dr. Reddy’s and Heritage reached an agreement to, at a minimum, raise the price of

meprobamate. O’Mara confirmed the agreement in an email to Malek that same day,

stating, “Dr. Reddy’s is on board.”

       793.      Three days later, on March 25, Malek emailed O’Mara about the

agreement, and O’Mara responded again confirming that Dr. Reddy’s would “follow

suit” if Heritage raised the price on meprobamate. In a competitive market, a supplier

risks losing market share if it raises price, but Dr. Reddy’s assurance to Heritage that it

would “follow suit” eliminated that risk—and eliminated price competition in the market

for meprobamate.




                               259
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
    Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 265 of 367




      794.   During this period, Dr. Reddy’s was having supply issues with

meprobamate, and Heritage’s O’Mara reported that this “lack of inventory” kept Dr.

Reddy’s prices “stationary.” As a result of these supply issues, on March 27, 2013,

AmerisourceBergen (“ABC”) asked Heritage to give a bid on both formulations of

meprobamate.

      795.   Malek immediately forwarded the RFP internally and discussed Heritage’s

proposed response. Malek’s response to the discussion reflected a clear understanding

of and an intention to abide by the agreement between Heritage and Dr. Reddy’s on

pricing for meprobamate. This agreement was confirmed in a four and a half minute

conversation between Heritage and Dr. Reddy’s on March 29, 2013.

      796.   In April 2013, Dr. Reddy’s approached Heritage to discuss obtaining

additional meprobamate market share and asked Heritage to give up a specific large

pharmacy chain. Because of their agreement, Heritage gave up some of its market share

to Dr. Reddy’s.

      797.   Heritage sent an email to the large pharmacy chain on April 24, 2013, and

on May 17, Heritage’s Malek provided Dr. Reddy’s with clarifying information about

precisely which business Heritage had agreed to give up to Dr. Reddy’s.

      798.   Heritage’s O’Mara called Adams, his counterpart at Dr. Reddy’s, on May

17, 2013. The two subsequently spoke on May 21, 2013 for nearly seven minutes.

      799.   As a result of Heritage and Dr. Reddy’s agreement, both raised

meprobamate prices across the board. Their price increases were nearly simultaneous.


                              260
                        PUBLIC VERSION
         REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
        Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 266 of 367




Heritage’s price increase became effective in late April 2013, and Dr. Reddy’s price

increases became effective in early May. Heritage and Dr. Reddy’s imposed identical

list prices for 200 mg meprobamate tablets (an increase of nearly 400%) and 400 mg

meprobamate tablets (an increase of approximately 350%).         AWP prices for both

products were elevated as well.      List and AWP prices remained elevated above

competitive levels thereafter.

         800.   No product shortages or other market changes can explain Defendants’

abrupt, simultaneous and identical price increases.

         801.   Dr. Reddy’s and Heritage’s meprobamate pricing discussions happened

nearly simultaneously with their pricing and market share discussions about zoledronic

acid.

         802.   Further, as discussed above, Defendants’ ability to quickly reach

agreement on market share and price increases was aided by the prevalence of trade

association meetings and conferences where the parties were able to meet in person.

Heritage, Dr. Reddy’s, and representatives of other Defendants attended at least three

such meetings when these price increases were being discussed.

         803.   Heritage and Dr. Reddy’s continued to discuss pricing for meprobamate

throughout the relevant period. For example, meprobamate was identified during the

April 22, 2014 Heritage teleconference as one of the numerous drugs targeted for a price

increase.




                                 261
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 267 of 367




      804.   On April 24, 2014, a Heritage employee—believed to be Matt Edelson—

exchanged six text messages with his contact at Dr. Reddy’s about pricing for

meprobamate (and possibly other drugs as well). The two spoke briefly on May 6, 2014.

      805.   On May 8, 2014, Malek emailed the Heritage sales team requesting an

update on the status of agreements with competitors so that Heritage could move forward

with the price increases discussed on April 22, 2014. A Heritage employee (likely

Edelson) responded to Malek that he was awaiting feedback from one competitor

(believed to be Dr. Reddy’s) about the drug meprobamate.

      806.   As a result of this anticompetitive conduct, Heritage and Dr. Reddy’s

increased the prices for meprobamate sold throughout the United States to

supracompetitive levels. This market allocation and price-fixing agreement and the

ensuing supracompetitive pricing has continued in either force or effect (or both)

throughout the relevant period.

      V.     Nimodipine

      807.   The market for nimodipine is mature, as the drug has been available in the

United States in generic form for more than 10 years. During the relevant period,

Ascend, Heritage, and Sun (through Caraco) were the primary sellers of nimodipine

throughout the United States.




                                262
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 268 of 367




        808.   In June 2012, Teva was preparing to exit the market for nimodipine. 20 This

 exit would leave Heritage and Sun21 as the only manufacturers of nimodipine. Heritage

 wanted to use Teva’s exit as a cover to raise nimodipine prices.

        809.   Pricing discussions with competitors were part of Defendants’ “toolkit”

 for achieving and maintaining elevated prices on generic drugs, and Defendants

 understood that to maintain market share and increase prices they needed to “play fair.”

 With this in mind, Heritage devised a plan to approach Sun.

        810.   Heritage’s Malek understood that nimodipine price increases would need

 to be “socialized” with competitors, by which he meant that direct outreach to other

 manufacturers was important in order to coordinate and implement a market-wide price

 increase. To “socialize” a nimodipine price increase, Malek instructed NAM Sather to

 reach out to Sun to discuss whether it would agree to raise prices.

        811.   At Malek’s direction, Ann Sather contacted Sun—most likely Knoblauch.

 Heritage’s Sather exchanged numerous text messages and had multiple phone calls with

 her contact throughout June 2012. These conversations between Heritage and Sun were

 successful. The ostensible competitors reached an agreement not to compete; their goal

 was to raise prices.




20
   Teva marketed and sold nimodipine during the relevant period at least in part through
its subsidiary, Barr.
21
   Sun marketed and sold nimodipine during the relevant period at least in part through
its subsidiary, Caraco.
                                263
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 269 of 367




       812.   Ultimately, Teva never completely exited the market for nimodipine, yet

it did reduce its sales to a very small share, and ceded the market to Sun and Heritage.

       813.   Sather kept Malek apprised of her negotiations with Sun, including

through a June 28, 2012 email discussing the status of the agreement on nimodipine

between Heritage and Sun.

       814.   That same day, Sather sent an analysis of a Cardinal RFP to Malek, Glazer,

and other Heritage employees. Sather noted that Heritage would submit a bid at an

artificially high price which would allow Sun to retain Cardinal’s business. Heritage

informed Sun about the pricing before submitting to Cardinal. This information allowed

Sun to retain Cardinal’s business at a price that was higher than it would have been in a

competitive market.

       815.   On July 20, 2012, another employee at Heritage circulated proposed

pricing in response to the Cardinal RFP, which, upon information and belief, quoted

pricing at a level lower than Sun. Malek responded the same day and exchanged emails

with a Heritage employee (possibly Keith Fleming) about Heritage’s pricing on

nimodipine and Heritage’s agreement on pricing with Sun. Around the same time, Sather

and her contact at Sun were also discussing at least nimodipine.

       816.   Heritage’s Sather and Sun’s Knoblauch communicated by text and phone

over the next few weeks. They also met in person at an industry event.

       817.   Through these communications, at the end of July, Heritage and Sun

reaffirmed their agreement to raise prices and allocate the market for nimodipine. As


                               264
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 270 of 367




part of this understanding, as it had in June, Heritage again agreed to provide a cover bid

to Cardinal.

       818.    As a result of Heritage’s cover bid, Sun retained its business with Cardinal,

and both Heritage and Sun were able to maintain nimodipine prices above the

competitive level.

       819.    In September 2012, after Cardinal awarded Sun its nimodipine business,

Sun began to experience supply issues with its nimodipine.

       820.    In October 2012, Cardinal approached Heritage asking for a new bid

because it was concerned about Sun’s supply chain. Although Sun never fully exited the

market, its sales of nimodipine declined to a small share.

       821.    Sather immediately emailed Heritage’s Malek, Glazer, and Fleming to

apprise them of Cardinal’s request. Given the circumstances, Sather felt that responding

to Cardinal’s request for an RFP did not violate Heritage’s agreement with Sun because

Cardinal was coming directly to Heritage.

       822.    Sather proposed that Heritage respond to Cardinal’s request consistent

with a price increase it had recently imposed on a different wholesaler. Sather believed

that Heritage could offer a higher price and still win the business from Cardinal because

she had received Sun’s Cardinal pricing from her contact at Sun. Sather also shared

information she had learned at the earlier trade conference, which, consistent with

industry practice, presumably involved competitive market information.




                               265
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 271 of 367




       823.   Heritage’s Sather confirmed her understanding that Heritage could submit

a bid to Cardinal without violating its agreement with Sun when she spoke with Sun’s

Knoblauch for thirty-eight minutes the next day.

       824.   Heritage continued to monitor when Sun would reenter the nimodipine

market. Malek emailed Sather on December 17, 2012 about Sun’s supply issues. In

response to Malek’s email, Sather reached out to her contact at Sun and kept Malek

informed about her conversations.

       825.   On April 16, 2013, Sather reported to Malek that Sun was not pursuing

nimodipine customers because it did not know when its product would be available.

       826.   Heritage’s Malek responded to this information by expressing his

willingness to continue Heritage’s pricing and market allocation agreement with Sun

when Sun reentered the nimodipine market.

       827.   Heritage’s Sather continued speaking with Sun’s Knoblauch to assess

when Sun might reenter the nimodipine market. When they spoke on May 23, 2013,

Sather learned that Sun might be returning to the nimodipine market in June or July.

Sather immediately reported this development to Malek, and the two exchanged emails

about pricing for nimodipine.

       828.   Ultimately, Sun decided not to reenter the nimodipine market. In the

spring of 2013, Heritage more than doubled the price of nimodipine capsules and

maintained this inflated price for the duration of the relevant period.




                               266
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 272 of 367




       829.    When Heritage’s Malek learned that Ascend was planning to enter the

nimodipine market in April 2014, he immediately began the process of trying to contact

Ascend and bring them into the “fair share” agreement.

       830.    On April 8, 2014, Malek informed his staff that Ascend would be entering

the nimodipine market and personally took responsibility for coordinating with Ascend.

Malek had met John Dillaway, the Executive Vice President of Ascend, in February

2013, and he used that connection as a way to reach out to Dillaway through LinkedIn.

The two executives communicated frequently through LinkedIn in the weeks leading up

to April 22.

       831.    As discussed above, during an April 22, 2014 Heritage teleconference,

Malek identified numerous drugs that were slated for a price increase, including

nimodipine.

       832.    On April 22, Dillaway and Malek spoke on the phone about Ascend’s entry

into the nimodipine market for nineteen minutes.

       833.    Concurrently with Malek’s discussions with Ascend, Malek and the rest of

Heritage’s sales teams were involved in large-scale outreach to Defendants to increase

prices for numerous generic drugs.

       834.    As part of a May 9 internal conference call about industry-wide price

increases for various drugs, Heritage discussed allocating customers to co-conspirators

as part of the agreements, including, but not limited to, the potential allocation of certain

customers to Ascend as part of the efforts to raise or maintain prices on nimodipine.


                               267
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 273 of 367




      835.   On June 6, 2014, Heritage’s Malek emailed Ascend’s Dillaway trying to

arrange a phone call to discuss nimodipine. When they were unable to connect by phone,

they planned to meet at the NACDS Total Store Expo in Boston in August to solidify

their agreements.

      836.   As discussed above, during a conference call on June 23 with the Heritage

sales team, the targeted percentage price increases for eight drugs were discussed,

including nimodipine, which was slated for a 48% increase.

      837.   Three days later, on June 26, Heritage began telling customers that it was

increasing prices for nine different drugs, including nimodipine. Price increase notices

were issued on the same date.

      838.   Notwithstanding its approval from the FDA and its agreement with

Heritage, Ascend did not fully complete its launch of nimodipine until May 1, 2015.

However, Ascend discussed its agreement with Heritage repeatedly while it took steps

to fully complete its launch of the drug. This included the in-person meeting in Boston

in June 2014, a number of emails with Malek in October and November 2014, and

additional contacts in January 2015.

      839.   When Ascend finally completed its entry into the nimodipine market in the

United States, it announced a WAC price and charged to customers a per-tablet price

that were even higher than Heritage’s prices. Despite entering the market with higher

pricing than Heritage, Ascend was able to gain substantial market share, because




                              268
                        PUBLIC VERSION
         REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 274 of 367




Heritage ceded business to Ascend by submitting sham bids to customers, as the

companies had agreed.

       840.   These anticompetitive agreements by Heritage, Sun, Caraco, and Ascend

resulted in supracompetitive prices for nimodipine in the United States that have

persisted as of the filing of this Complaint.

       W.     Nystatin

       841.   The market for nystatin is mature, as the drug has been available in the

United States since 1950. The drug is considered an essential medicine by the World

Health Organization. Defendants Actavis, Par, Perrigo, Sandoz, Taro, Heritage, Sun

(through Mutual), and Teva sold nystatin throughout the United States at

supracompetitive prices inflated by the unlawful and anticompetitive agreements alleged

in this Complaint.

       842.   Nystatin is produced in multiple formulations, including an external

cream, an external ointment, and a tablet.

       843.   During the relevant time frame, Defendants Actavis, Par, Perrigo, Sandoz,

and Taro were the primary manufacturers of nystatin external cream, Defendants

Actavis, Perrigo, and Sandoz were the primary manufacturers of nystatin external

ointment, and the primary manufacturers for nystatin tablets were Teva, Heritage, and

Sun (through Mutual).

       844.   In the second half of 2011, Taro, Perrigo, Par, and Actavis all raised the

list prices of nystatin external cream. Taro and Perrigo increased their prices in very


                                 269
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 275 of 367




close succession in the late spring of 2011. Par followed the price increase in August,

and Actavis joined in November. Sandoz joined the price increase when it re-entered

the market in 2013.

       845.   In June 2011, Taro initiated a large price increase of more than 600%.

Rather than compete on price in order to gain market share, Perrigo almost immediately

followed Taro’s increase and raised its own prices to nearly identical levels. Perrigo

ramped up production and managed slowly to gain some market share over the next two

years, but—as contemplated by the overarching “fair share” agreement—market prices

remained elevated and stable.

       846.   In August 2011, although it had only approximately 1% of the market, Par

followed the Taro and Perrigo price increase in lockstep, also choosing to eschew price-

competition. Par also managed to grow its market share over the next couple of years,

but it did so without eroding the elevated prices imposed by Taro and Perrigo, just as the

“fair share” agreement intended.

       847.   In November 2011, Actavis ramped up production of nystatin cream and

re-joined the market. It, too, immediately elevated its prices to match those of Taro,

Perrigo, and Par, also choosing to forgo price competition and the prospect of winning a

larger share of the market. Even a fourth entrant into the nystatin cream market did not

cause prices to erode. Defendants’ agreement was working.

       848.   Sandoz’s share of the nystatin cream market was close to 0% until the fall

of 2013, at which point it ramped up production for re-entry into the market. Like


                               270
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 276 of 367




Perrigo, Par, and Actavis before it, rather than compete on price in order to regain lost

market share, Sandoz priced its nystatin cream at the same inflated level as its co-

conspirators. Prices remained stable and elevated even with a fifth seller in the market.

       849.   As depicted in the graph below, Defendants’ list price increases for

nystatin external cream were almost identical, and once in place the prices remained

stable and elevated thereafter.




       850.   The graph highlights that after a long period of relatively low and stable

pricing for nystatin external cream, Defendants implemented large, abrupt and nearly

uniform price increases. The AWP prices for Defendants’ products also were elevated

to nearly identical levels.

       851.   No product shortages or other market changes can explain Defendants’

price increases. In a competitive generic pharmaceutical market, prices tend to decline

as the number of sellers increases. Here, the elevated and stable pricing of nystatin cream
                                            271
                                   PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 277 of 367




even as multiple sellers joined the market is more consistent with anticompetitive

conduct than with competition.

      852.     Throughout this period, Defendants had numerous opportunities to

coordinate their pricing for nystatin cream. For example, Defendants had the opportunity

to discuss pricing at the ECRM Retail Pharmacy Conference in March 2011, which was

attended by representatives from Actavis, Par, Perrigo, Sandoz, and Taro.

      853.     The next month, in April 2011, right before the price increases began, all

Defendant manufacturers of nystatin cream again gathered. Actavis, Par, Perrigo,

Sandoz, and Taro attended the NACDS Annual Meeting.

      854.     The nystatin cream manufacturers continued to meet at trade conferences

thereafter. For example, leading into and following Sandoz’s price increase for nystatin

external cream, Sandoz had multiple opportunities to meet with other Defendants. In

April 2013, Sandoz was joined by Actavis, Par, Perrigo, and Taro at the NACDS Annual

Meeting.     Then, in June 2013, representatives from these companies attended the

GPhA/FDA CMC Workshop in Bethesda, Maryland. In August, all five nystatin cream

manufacturers converged again at the NACDS Total Expo in Las Vegas. These meetings

were also attended by numerous other Defendants.

      855.     Nystatin external ointment prices followed a similar pattern to those of

nystatin external cream. In 2009, Sandoz had captured approximately 75% of the

market, while Perrigo had 20%, and Actavis 5%. From that point through the summer

of 2011, Actavis and Sandoz drastically reduced production until they were effectively


                                272
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 278 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 279 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 280 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 281 of 367
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 282 of 367




       871.   On the day of the Actavis launch, the phone lines among the three

competitors were alive with activity. In the morning, T.P. at Perrigo placed two calls to

CW-6 at Fougera to discuss the Actavis development. After the second call, T.P. called

M.D., an Actavis sales executive, setting off a chain of three more calls back and forth

between them totaling more than twenty-three (23) minutes collectively. During these

calls, the competitors discussed which customers Actavis should target to obtain its

market share goals without eroding the high prices currently in the market.

       872.   In the coming weeks, having coordinated its entry with market leader

Perrigo, Actavis began collecting its share of accounts, winning business at Omnicare,

Publix, and Rite Aid, among others.

       873.   Meanwhile, unable to gear up its production for an immediate re-launch,

Fougera set its sights on a June 2012 re-launch date for nystatin ointment.

       874.   On June 15, 2012, a Fougera marketing executive provided Kaczmarek

with WAC pricing data for Perrigo and Actavis and asked what Fougera’s re-launch

WAC prices would be. The competitors’ prices were identical to the penny with each

charging $14.00 for a 15gm tube, and $21.00 for a 30gm tube. Later that day, Kaczmarek

announced to his colleagues that Fougera would also fall in line, saying:



       875.   On June 21, 2012, Kaczmarek instructed CW-6 to gather intelligence on

price points and                for nystatin ointment. CW-6 initially e-mailed Cardinal

asking for contract pricing, emphasizing that Fougera did not


                               277
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 283 of 367
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 284 of 367




competitors, Fougera proceeded to claim its share of accounts over the coming weeks,

including business at HEB, Giant Eagle, and Cardinal Health.

       880.   Thus, by the summer of 2012, the pattern had repeated itself. Sandoz

ramped up its production of nystatin ointment in June; but rather than compete on price

to regain its lost market share, Sandoz raised its list prices to nearly identical levels as

Perrigo and Actavis. Even with a third market participant prices remained unchanged,

just as devised by Defendants’ agreement.

       881.   As depicted in the graph below, Defendants’ list price increases for

nystatin ointment were almost identical, and once in place the prices remained stable and

elevated.




       882.   The graph highlights that after a long period of relatively low and stable

pricing for nystatin ointment, Defendants implemented abrupt and nearly uniform price

increases of more than 300%. The AWP prices for Defendants’ products also were

elevated to nearly identical levels.
                                 279
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 285 of 367




        883.   No product shortages or other market changes can explain Defendants’

 price increases. The pricing conduct here is not consistent with competitive behavior.

 As multiple sellers enter the market, economic theory predicts that prices should decline.

 Yet, nystatin ointment prices remained unchanged, which suggests an anticompetitive

 agreement among Defendants.

        884.   Again, Defendants also had the opportunity to discuss pricing of nystatin

 external ointment at numerous industry events during the relevant period. For example,

 all Defendant manufacturers of nystatin ointment attended the ECRM Retail Pharmacy

 Conferences and the NACDS Annual Meetings in 2011 and 2012 (in addition to other

 meetings).

        885.   In 2010 and 2011, the nystatin oral tablet market was split between Teva

 and Sun.22 Teva held approximately 60% of the market, while Sun held 40%. During

 that time, Teva and Sun had nearly identical list prices for their nystatin tablets.

        886.   In the summer of 2012, Heritage entered the market. Rather than price its

 nystatin tablets below that of the incumbent sellers, Heritage identically matched the list

 prices of Teva and Sun, consistent with the “fair share” agreement between them.

        887.   As Heritage ramped up production, it reached out to Teva and Sun, and in

 April 2013, Sun, Heritage, and Teva began discussing pricing for nystatin tablets. By




22
  Sun marketed and sold Nystatin tablets during the relevant period at least in part
through its subsidiary, Mutual.
                                280
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 286 of 367




this point in time, Sun had accumulated a larger share of the market. Defendants

therefore devised a plan to reallocate the shares.

       888.   Sun would implement a large price increase. After Teva and Heritage

obtained their “fair share” of the market, they would join Sun’s price increase. On April

15, 2013, Sun more than doubled its price for nystatin tablets. Sun, Teva, and Heritage

had ongoing communications both before and after this increase. The day after Sun

increased its nystatin prices, Sun Sr. Sales Manager Knoblauch called Heritage’s NAM

Sather and they spoke for forty minutes.

       889.   Knoblauch and Sather regularly communicated throughout the summer

of 2013. For example, both Sather and Knoblauch attended the NACDS Total Store

Expo in August 2013. This trade association meeting, which also was attended by

representatives from every U.S. Defendant except Mayne, provided an opportunity to

meet in person and exchange competitive information.

       890.   In June 2013, Teva began internally discussing price increases for nystatin

tablets, and contemplating when would be the appropriate time to join Sun’s elevated

prices. But Teva needed to coordinate with Heritage. Accordingly, on July 9, 2013,

Teva’s Patel called Heritage’s Malek and they spoke for twenty-one minutes. Malek

knew Patel from her previous work at AmerisourceBergen. They spoke throughout

July—with a nearly ten-minute call on July 23 and two calls on July 30. The second call

on July 30 lasted more than twelve minutes.




                               281
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 287 of 367




       891.    While Heritage’s Malek was speaking with Patel at Teva, Heritage

remained in contact with Sun. On July 30—the same day Malek spoke with Teva’s Patel

twice—Malek also spoke to Sun for nearly eleven minutes.

       892.    As these conversations continued, in late July 2013 Teva placed nystatin

tablets on its list of potential price increases.

       893.    Similarly, throughout August 2013, Malek sent internal Heritage emails

discussing drugs targeted for a price increase. ystatin tablets were identified as one of

those drugs.

       894.    Discussions between Heritage and Teva about a nystatin price increase

were temporarily tabled while Teva’s Patel went on maternity leave on August 12, 2013.

       895.    On February 4, 2014, Teva’s Patel contacted Heritage’s Malek for the first

time since she went on maternity leave in August 2013. Malek returned her call the next

day and the two spoke for more than an hour. Upon information and belief, they

discussed a price increase for at least the drugs nystatin and theophylline. Teva had been

considering price increases for both drugs since early 2014.

       896.    Three days after that, on February 7, an unidentified employee of either

Heritage or Teva created a spreadsheet identifying nystatin and theophylline as

candidates for price increases. Heritage’s Malek and Teva’s Patel continued discussing

the possibility of such increases.




                               282
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 288 of 367




       897.   Throughout February and March 2014, Heritage’s Malek and Teva’s Patel

had a series of phone calls discussing price increases for multiple drugs, including at

least the pricing of nystatin and theophylline.

       898.   Following these discussions, Teva implemented a price increase for

nystatin tablets with an effective date of April 4, 2014. The increase more than doubled

Teva’s list price to a price nearly identical to Sun’s.

       899.   The early success in coordinating with Sun and Teva on nystatin oral

tablets emboldened Malek. During the week of April 14, 2014, he met with two Heritage

employees and asked them to start analyzing the impact of price increases for numerous

generic drugs, including but not limited to acetazolamide, doxycycline monohydrate,

fosinopril HCTZ, glipizide-metformin, glyburide, glyburide-metformin, leflunomide,

meprobamate, nimodipine, nystatin, paromomycin, theophylline, and verapamil.

       900.   Before introducing the market-wide price increases to the rest of his sales

team, Malek continued to communicate with Patel at Teva.           On April 15, 2014,

Heritage’s Malek had a seventeen-minute phone conversation with Patel, discussing

numerous different drugs at issue, including at least acetazolamide, glipizide-metformin,

glyburide, glyburide-metformin, leflunomide, nystatin, and theophylline.

       901.   As Malek and Patel had already agreed in February, Teva would lead the

price increases for nystatin and theophylline.

       902.   During their conversation, Malek and Patel agreed that if Heritage

increased prices for the other five drugs—acetazolamide, glipizide-metformin,


                               283
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 289 of 367




glyburide, glyburide-metformin, and leflunomide—Teva would increase its prices for

these drugs, or at a minimum, would not offer lower prices to any of Heritage’s

customers.

       903.   Heritage’s Malek and Teva’s Patel spoke several times over the next

several months to confirm their agreements on nystatin and other drugs. Malek also kept

Patel updated on the progress of Heritage’s proposed price increases.

       904.   On April 22, 2014, Heritage’s Malek held a teleconference with his sales

team. On the call, Malek dictated a price increase strategy for various generic drugs to

Heritage’s NAMs. Prior to the conference call, Malek circulated a spreadsheet to his

sales team, which identified each drug slated for a price increase, the competitors for

each drug, and their respective market shares.

       905.   This call set off a chain of pricing and market allocation discussions

between Defendants and resulted in numerous drug-specific agreements. Members of

Heritage’s sales team were assigned to specific competitors for whom they had primary,

but not exclusive, responsibility for communicating with about pricing and market share.

Malek personally took responsibility to communicate with Defendants Teva and Zydus,

as well as co-conspirator Ascend. Anne Sather was assigned to Sun to reaffirm the

agreement on nystatin.23 She also was assigned Actavis and Lannett. Her Heritage



 23
   Sather also spoke with Sun about Paromomycin and spoke with Actavis to
 confirm agreements on glyburide-metformin and Verapamil and with Lannett to
 confirm agreements on doxy mono.


                               284
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 290 of 367




colleagues Matt Edelson, Daniel Lukasiewicz, and Neal O’Mara were responsible for

pricing discussions with four other Defendants.

       906.   Heritage’s Sather was responsible for communicating with Sun about the

agreed-upon price increase for nystatin tablets. On April 22, 2014, the same day Heritage

held an internal meeting with its sales team to discuss a number of prices increases,

Sather and Sun’s Knoblauch spoke for more than forty-five minutes and agreed to

increase the prices of numerous drugs, including nystatin tablets. With respect to

nystatin, by this time, Sun already had raised its price and Teva had just announced that

it was matching that price increase. Sather and Knoblauch reaffirmed that Heritage, too,

would follow the nystatin price increase.

       907.   Sather emailed Heritage’s Glazer, Malek, Edelson, Rich Smith, and

O’Mara immediately after her conversation with Knoblauch to report the agreements

with Sun. Glazer immediately responded to Sather, instructing her not to put this type

of information in writing. He then contacted her using his cell phone.

       908.   During this time frame, Glazer directed Malek to call G.P. Singh, the

President of Sun, to get further confirmation of Sun’s pricing intentions. Ultimately,

Malek decided not to reach out to Singh, whom he had never met.

       909.   Four days later, however, on April 26-29, 2014, Glazer attended the

NACDS Annual Meeting where he had the opportunity to meet in person with G.P. Singh

from Sun, as well as with representatives from Teva and nearly every other U.S.

Defendant.


                               285
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 291 of 367




       910.      On or about May 8, Malek requested an update on the status of Sather’s

negotiations with competitors. Sather confirmed her agreement with Sun.

       911.      On or about May 9, Heritage had an internal call to discuss the status of

the proposed price increases. Nystatin tablets were slated for a 95% increase.

       912.      On June 23, the Heritage sales team had a meeting where they discussed

the specific percentage amounts they would seek to increase on certain drugs and their

strategy for doing so. Malek proposed increases of:

           (a)            Acetazolamide—75%.

           (b)            Fosinopril HCTZ—200% effective July 1, 2014.

           (c)            Glipizide-Metformin—100% effective July 1, 2014.

           (d)            Glyburide—200% effective July 1, 2014.

           (e)            Nimodipine—48%.

           (f)            Nystatin—95%.

           (g)            Paromomycin—100%.

           (h)            Theophylline—150%.

       913.      One Heritage employee’s notes about the June 23 call indicated that

Heritage needed to promptly increase its nystatin WAC price because Teva already had

done so.

       914.      Heritage had one final internal call to discuss price increases, including the

price of nystatin tablets, on June 25, 2014. While still participating in this internal call




                                 286
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 292 of 367




about pricing, Heritage’s Sather exchanged text messages with Sun’s Knoblauch,

informing her of the details of Heritage’s anticipated price increases.

       915.   Similarly, on June 25, Malek had a fourteen-minute call with an

individual— likely Teva’s Patel—in which he reported that Heritage’s price increase

notices would be mailed on June 26 for nystatin tablets and several other drugs for which

Heritage and Teva had agreed to raise prices.

       916.   On June 26, 2014, Heritage began telling its customers that it was

increasing its prices for nine drugs, including nystatin tablets. By July, among the other

price increases it implemented, Heritage increased its nystatin oral tablet list prices to

the identical level of Teva (and nearly identical to Sun). This impacted Heritage’s

customers nationwide.

       917.   In accord with their agreement, Teva did not undercut Heritage’s prices,

even when approached by large potential customers. For example, on July 8, 2014, a

large retail customer emailed a Teva representative asking for a quote for nystatin tablets

because it recently was notified of a large price increase from its current supplier. Teva

either did not provide a bid or provided a cover bid that allowed Teva and Heritage to

maintain their anticompetitive agreement.

       918.   The price increases of approximately 100% initiated by Sun and joined by

Teva and Heritage occurred after a long period of relatively low and stable pricing for

nystatin tablets. The AWP prices for Defendants’ products also were elevated to nearly




                               287
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 293 of 367




identical levels. These prices remained stable and elevated above competitive levels

thereafter.

       X.     Paromomycin

       919.   The market for paromomycin is mature, as the drug has been available in

the United States since 1960. Sun and Heritage were the sellers of paromomycin during

the relevant time period, with Heritage having approximately a 65% market share.

       920.   As discussed above, starting in at least June 2012, Heritage and Sun began

discussing price increases and market allocation for at least two drugs—paromomycin

and nimodipine.

       921.   At Malek’s direction, Ann Sather contacted Sun—most likely Knoblauch.

Throughout the summer of 2012, Heritage’s Sather exchanged numerous text messages

and had multiple phone calls with her Sun contact.

       922.   Heritage and Sun, as well as other Defendants, had the opportunity to

discuss pricing and market share and otherwise further their conspiratorial discussions

at trade meetings throughout this period, including at the October GPhA Fall Technical

Conference.

       923.   By the end of October 2012, Sun had increased its list (WAC) prices for

paromomycin to be identical with Heritage’s pricing. Heritage and Sun kept their list

prices at the same level thereafter.




                                 288
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 294 of 367




       924.   After the April 22, 2014 Heritage teleconference with the sales team in

which paromomycin was targeted for a price increase, Malek assigned Anne Sather to

communicate with Sun.

       925.   Right after the Heritage sales call, Sather communicated with three

different competitors—Sun, Actavis, and Lannett—and reached a number of pricing

agreements with these Defendants covering various different drugs, including

paromomycin.

       926.   Sather spoke with Susan Knoblauch, her counterpart at Sun, for more than

forty-five minutes. During this conversation, Sather and Knoblauch discussed pricing

and agreed to increase the prices of numerous drugs, including paromomycin. Sather

immediately reported her agreement with Sun to Malek.

       927.   In response to a May 8 status request from Malek, Sather emailed him to

report the agreement she had reached with a number of competitors, including with Sun

for paromomycin.

       928.   During a May 9 internal Heritage call, paromomycin remained on the list

of drugs slated for a price increase.

       929.   Heritage and Sun spoke again for more than twelve minutes on May 20.

During the call, Heritage learned that Sun would be making changes to the production

of paromomycin. Malek was immediately informed of this development.




                               289
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 295 of 367




       930.   On June 23, Heritage employees discussed the specific percentage

increases they would seek for a variety of drugs. Paromomycin was slated for a 100%

increase.

       931.   Heritage had a final call confirming that paromomycin would have a price

increase on June 25, 2014, and the next day Heritage began sending out price increase

notices.

       932.   By July 9, 2014, Heritage announced price increases for paromomycin to

at least thirteen different customers nationwide.

       933.   Over the ensuing months, pursuant to their agreement, Heritage and Sun

continued to increase their prices for paromomycin.

       934.   Upon information and belief, it was ultimately agreed between the two

companies that Sun would exit the market for paromomycin. Upon information and

belief, Heritage agreed to concede market share to Sun on another generic drug in

exchange for Sun’s agreement to stop manufacturing paromomycin.

       Y.     Pravastatin

       935.   The market for pravastatin is mature, as generic pravastatin has been

available in the United States for over 10 years. In October 1991, Bristol Meyers Squibb

received FDA approval to market Pravachol, which is prescribed to control high

cholesterol and triglycerides. Pravastatin in the generic version of Pravachol.

       936.   Upon the expiration of Bristol Meyers Squibb’s patent in 2006, a number

of generic manufacturers applied for ANDAs to market pravastatin in the United States.


                                 290
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 296 of 367




By 2010, Apotex, Glenmark, Teva, Lupin, Zydus, and Mylan had all received ANDAs

to manufacture and sell generic pravastatin and each sold pravastatin throughout the

United States. As a result, the average cost of a dose of generic pravastatin sold at a

competitive price of less than 10 cents between January 2010 and June 2013.

       937.   Beginning in May 2013, Defendants conspired to implement a series of

collusive price increases on pravastatin. Although the price increases were taken in stair-

step fashion, they could not have been implemented without collusion between and

among each of the eight generic manufacturers of pravastatin.

       938.   As early as May 2, 2013, Patel of Teva engaged in discussions regarding a

price increase for pravastatin with CW-5, a senior executive at Glenmark. Early in the

morning of May 2, as she was in the process of formulating her list of “high quality”

competitors and the list of price increase candidates, Patel informed a colleague that she

expected to have some “priority items” to add to the price increase list “shortly.” Within

minutes, she received a call from CW-5 and they discussed price increases for a number

of different drugs, including pravastatin. Shortly after that call, Patel sent an e-mail to

her Teva colleague directing him to add pravastatin, and several other Glenmark drugs,

to the price increase list. In all, Patel spoke to CW-5 four (4) times throughout the day

on May 2, 2013, as set forth below:




                               291
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 297 of 367




       939.   As of May 2013, the market for pravastatin included five competitors:

Glenmark, Teva, Lupin, Zydus and Apotex. The number of competitors made it more

difficult to coordinate a price increase. This difficulty stemmed in part because two of

those competitors - Zydus and Apotex - were also the two lowest quality competitors in

Patel’s quality of competition rankings, and any price increase for that drug would

require significant coordination and communication before Teva could feel comfortable

raising its own price.

       940.   Teva was able to achieve a sufficient level of comfort and substantially

raise prices for pravastatin by systematically communicating and reaching agreement

with each and every competitor on that drug over the next several months.

       941.   On May 3, 2013, Green called M.K., a senior executive at Zydus, twice

with one call lasting four (4) minutes. Over the next several weeks, Green communicated

numerous times with both M.K. and K.R., a senior sales executive at Zydus, to

coordinate a Zydus price increase on pravastatin.

       942.   On May 6 and 7, 2013, Patel communicated with her contacts at Lupin

(Berthold) and Glenmark (J.C., a national account executive) multiple times. Those calls

are detailed below:




                               292
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 298 of 367




       943.   During one or more of her calls with J.C. and/or CW-5 of Glenmark in

early May 2013, Patel obtained specific price points from Glenmark for its pravastatin

(and other) price increases - well before the Glenmark increases became public - and

documented those price points in her price increase spreadsheet.

       944.   By May 8, 2013, Teva executives clearly understood that Glenmark would

be leading the pravastatin price increase, and were comfortable enough with the situation

that one marketing executive at Teva indicated in an e-mail to Patel that he was hoping

to raise price on pravastatin “if/when Glenmark does.”

       945.   As the Glenmark increase for pravastatin was approaching, Patel began

preparing. On May 15, 2013 - the day before Glenmark’s increase would become

effective - a Teva executive sent an e-mail out to the pricing team stating that “Nisha

would like to be made aware of any requests (including in-house RFPs) that include”

several of the Glenmark product families, including pravastatin. The Teva executive

concluded: “[i]n the event you are reviewing these products for any request, please make

her aware and as a group we can discuss where to price based on market intelligence

she has collected.”
                               293
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 299 of 367




       946.   That same day, Glenmark notified its customers that it would substantially

raise the price of pravastatin, effective May 16, 2013.

       947.   As was now the practice among co-conspirators, the day before and the

day of the Glenmark increase brought a flurry of phone calls among several of the

competitors, including Teva executives. At least some of those calls are set forth below:




       948.   As of May 16, 2013, Patel was still considering whether Teva should

increase its price for pravastatin, because she was concerned about whether Zydus would

act responsibly and follow a price increase. At that time, Patel did not view Zydus as a

quality competitor. Patel stated: “I have asked to get Zydus’ ability to supply on this. If

it’s not so great, I would like to add back to the increase list.” Patel later indicated that

“[t]he only threat was Zydus. Just waiting to hear on their ability to supply.”

       949.   Green was responsible for coordinating with Zydus. As seen in the table

above, on May 15, 2013, Green spoke with three Zydus employees, including a call with

K.R. of Zydus lasting sixteen (16) minutes. The next day, on May 16, Green spoke with

                               294
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 300 of 367




M.K. for 4 minutes. Later that day, K.R. called M.K. and the two Zydus executives spoke

for more than seventeen (17) minutes. Green also spoke to Rekenthaler and Patel the

same day, conveying what he had learned from his communications with the Zydus

executives.

       950.   Also on May 16, Patel’s supervisor, K.G., sent an internal e-mail to several

colleagues, including Patel and Rekenthaler, stating “I think we need to understand

additional competitor ability to take on additional share and pricing actions. The volume

is huge for us. It would be nice to try to increase our price, but we do not really want to

lose a lot of share on this product.” In response, Rekenthaler indicated that he was now

comfortable with the price increase, but he did not want to put his reasoning in writing:




       951.   The next day – May 17, 2013 – Patel continued to coordinate the price

increase with executives at both Glenmark and Lupin. For example, at 12:08pm, Patel

called Berthold at Lupin for an eleven (11) minute call. While she was on the phone with

Be1thold, CW-5 of Glenmark called Patel (at 12:09pm) and left a 23-second voice mail.

Immediately after she hung up the phone with Defendant Be1ihold, Patel returned the

call to CW-5; they ultimately connected for nearly eight (8) minutes.

       952.   As of this point, Teva executives had spoken to all of their competitors

about pravastatin except Apotex. From May 20-24, Patel had the following series of
                                      295
                                PUBLIC VERSION
         REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 301 of 367




phone calls with B.H., a senior sales executive at Apotex, during which Apotex agreed

to raise its price for pravastatin:




       953.    These were the first documented phone calls between Patel and B.H. since

Patel had joined Teva.

       954.    But even with this agreement in hand, Patel was still hesitant to add

pravastatin to the price increase list until Apotex actually increased its price. For

example, when she sent the “Immediate PI” spreadsheet to her supervisor K.G. on May

24, 2013, pravastatin was still not on the list.

       955.    That would change sho1ily. On May 28, 2013, Apotex raised its price for

pravastatin. That same day, Green also exchanged six (6) text messages with K.R. at

Zydus. The next day, after a conversation with Defendant Maureen Cavanaugh, Patel

added pravastatin to the Teva price increase list.

       956.    The day after the Apotex increase, Green spoke to K.R. at Zydus two more

times, and exchanged four (4) more text messages. Zydus then quickly followed with a

price increase of its own on June 14, 2013.




                               296
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 302 of 367




       957.   Following the normal pattern, Green spoke to KR. and M.K at Zydus

several times in the days leading up to the Zydus increase, including at least the following

calls and text messages:




       958.   Teva ultimately followed Glenmark, Apotex and Zydus with a significant

(653%) price increase of its own on August 9, 2013. As described in more detail above,

in the days and weeks leading up to August 9, Patel and Green were communicating with

all of Teva’s competitors for pravastatin to coordinate the increase.

       959.   When Patel sent the “Price Increase Overview” to her supervisor, K G., on

August 7, 2009, two days in advance of Teva’s price increase, she included one piece of

very telling information about the agreement she had in place with Defendants Be1ihold

and Lupin: specifically, that Lupin was “waiting on Teva” before implementing its own

increase. Based on this representation from Lupin, and Lupin’s status as a high-quality

competitor, Teva executives felt comfortable implementing the significant price

increase.



                                 297
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 303 of 367
    Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 304 of 367




 500 ct      Zydus        68382007005        $0.15       $0.48      14-Jun-13        222%
 90 ct       Teva         00093077198        $0.17       $0.48      9-Aug-13         189%
 1000 ct     Teva         00093077110        $0.15       $0.48      9-Aug-13         221%
 90 ct       Lupin        68180048509        $0.17       $0.48     28-Aug-13         190%
 500 ct      Lupin        68180048502        $0.15       $0.48     28-Aug-13         222%

      965.    NADAC data for pravastatin likewise illustrates this drastic increase. The

NADAC data show the average increase in the price of pravastatin across the major

manufacturers and demonstrate that price hikes for pravastatin were industry-wide:




                                299
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 305 of 367




      966.      The increase in average prices was not the result of one dominant

manufacturer raising the price while others kept prices in check and sought to capture

market share.

      967.      Although prices for pravastatin have receded somewhat from the peak in

early 2014, Defendants continue to charge supracompetitive prices for pravastatin

throughout the United States. The conspiracy overcharge remains embedded in the price

of pravastatin paid by United and others.

       Z.       Propranolol

      968.      The market for propranolol is mature, as propranolol has been available in

the United States for decades. The drug is considered an essential medicine by the World

Health Organization, and is used by millions of patients in the United States. The price



                                 300
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 306 of 367




for propranolol had fallen steadily since its introduction in the 1960s, and as recently as

early 2013, a monthly prescription for propranolol cost as little as $8.00.

       969.   Actavis, Breckenridge, and Upsher-Smith each manufacture propranolol

in capsule form, while Actavis, Mylan, Teva, PLIVA, UDL, Par, and Heritage

manufacture propranolol in tablet form. Each sold either propranolol capsules or tablets

(or both) throughout the United States.

       970.   Actavis, Breckenridge, and Upsher-Smith implemented a collusive price

increase beginning in November 2013 on propranolol capsules. Breckenridge, which

had previously had lower prices for propranolol capsules, increased its prices for all

dosages by 88% to 140%. Upsher-Smith followed in December with a corresponding

price increase on all dosages of propranolol capsules that ranged from 49% to 79%,

depending on the dosage strength. In February 2014, Actavis increased prices for all

dosages of propranolol capsules by 64% to 81%, depending on the dosage strength.

Although prices fell slightly from their peak in 2014, Actavis, Breckenridge, and Upsher-

Smith continue to price propranolol capsules at supracompetitive levels as of the filing

of this Complaint. The conspiracy continued in either force or effect until the filing of

this Complaint.

       971.   For the two and a half years before the conspiracy began, transaction prices

for propranolol capsules were only 57 cents per capsule on average and were at times as

low as 44 cents per capsule. After Defendants agreed to raise and fix prices, the average

price doubled, regularly reaching more than $1 per capsule, and often $1.43 per capsule.


                               301
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 307 of 367




The average capsule price charged by certain Defendants reached as high as over $1.70

per capsule, over a 350% increase in price.

       972.   Upon information and belief, the price increases on propranolol capsules

were the result of collusive agreements between and among Defendants that were

initiated by Actavis to increase pricing and restrain competition for the sale of

propranolol capsules throughout the United States. These collusive agreements were

furthered, at least in part, through in-person discussions conducted at meetings and

industry events hosted by GPhA and HDMA as well as other meetings and

communications (as identified throughout this Complaint).

       973.   Although the conspiring Defendants increased prices on propranolol

capsules by early 2014, Defendants’ prices for propranolol tablets remained stable

throughout 2014.

       974.   Beginning in January 2015, however, Actavis, Mylan, Teva, PLIVA,

UDL, Par, and Heritage colluded to increase prices on propranolol tablets as well.

       975.   On January 15, 2015, Actavis sent a notice to its customers informing them

of a significant increase to its WAC and Suggested Wholesale Prices (SWP) for

propranolol. The increases would not become effective (and thus publicly visible to the

rest of the market) until February 17, 2015.

       976.   In the days before Actavis sent this notice to its customers, Falkin of

Actavis and Rekenthaler of Teva spoke frequently. For example:




                               302
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 308 of 367




       977.   Indeed, the day before Actavis sent the price increase notice to its

customers, Rekenthaler coordinated the price increase with Falkin and Nesta of Mylan -

the other quality competitor in the market for propranolol. The timing and duration of

those phone calls are set forth in the table below:




       978.   On January 16, 2015 - more than a month before the Actavis price increase

for propranolol was disclosed to the public - Rekenthaler forwarded Teva’s price

increase list to Patel. Propranolol was on the list, with the following explanations about

pricing strategy and reasons for the price increase:




                               303
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 309 of 367




       979.   Teva raised its pricing for propranolol on January 28, 2015 – before the

Actavis price increase even became effective. As discussed above, Rekenthaler was in

constant communication with Falkin of Actavis and Nesta of Mylan in the days leading

up to Teva’s price increase.

       980.   When the Actavis price increase on propranolol did become effective – on

February 17, 2015 –Rekenthaler and Falkin continued to discuss pricing. For example,

the day before those price increases became visible to the public – February 16, 2015 –

Rekenthaler and Falkin spoke two times, including one call lasting nearly twenty- three

(23) minutes. Rekenthaler then spoke to Nesta twice on February 18, 2015 and again on

February 19, 2015.

       981.   Mylan ultimately followed the Teva and Actavis price increases for

propranolol with a price increase of its own on July 10, 2015.

       982.   Heritage increased effective prices by 102%-151% in January 2015, and,

a few weeks later, Teva, PLIVA, and Actavis increased their own prices in March 2015

by 566%-898% and 395%-638%, respectively. Mylan and Par began increasing their

prices soon after, in April and June 2015, by amounts ranging from 55%-607% and 52%-

216%, respectively. Actavis, Mylan, Teva, PLIVA, Par, and Heritage continued to

increase prices throughout 2015, and by January 2016, Defendants had increased their

prices for some strengths of propranolol tablets by more than 1,700%. For example,

Actavis raised its prices of 80 mg propranolol tablets from an average of $0.30 to $0.46

per tablet between December 2014 and November 2015.


                               304
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 310 of 367




        983.   In the four years before the tablets conspiracy began, transaction prices for

 propranolol tablets remained under 4 cents per pill on average, sometimes reaching as

 low as 3 cents per pill on average. After the conspiracy started, the average price was

 regularly over 475% higher, reaching 19 cents per pill and even as high as 26 cents per

 pill, a 650% increase. During the conspiracy period, some Defendants charged almost

 30 cents per pill on average across all dosage strengths of their tablet products.

        984.   With respect to both the capsule and the tablet price increases, even in

 those instances in which the Defendants did not increase prices in perfect unison, they

 still managed to align their pricing on a bi-monthly or quarterly basis, which is consistent

 with an illegal agreement.

        985.   Defendants continue to charge supracompetitive prices for propranolol as

 of the filing of this Complaint.

        AA.    Theophylline ER

        986.   The market for theophylline ER is mature, as theophylline has been used

 in various forms to treat various conditions since approximately 1900. During the

 relevant period, Heritage and Teva sold theophylline ER throughout the United States.

        987.   Prior to Heritage’s entry into the market for 300 mg and 450 mg

 theophylline ER tablets in late 2011, Teva had captured nearly 100% of sales. 24




24
   Teva marketed and sold Theophylline during the relevant period at least in part through
its subsidiary, PLIVA.
                                305
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 311 of 367




       988.   Instead of pricing its products below Teva’s in order to gain market share,

Heritage announced theophylline ER list prices that were identical or even slightly above

those of Teva. Even with Heritage’s entry into the market, theophylline ER prices

remained relatively stable. Consistent with their “fair share” agreement, prices did not

decline as would be expected in a competitive market.

       989.   Teva began considering a price increase for theophylline ER in early 2014.

On February 4, 2014, Teva’s Patel contacted Heritage’s Malek for the first time since

she went on maternity leave in August 2013. Malek returned her call the next day and

the two spoke for more than an hour and discussed a price increase for theophylline ER

and at least one other drug (nystatin, as discussed above).

       990.   Three days after that, on February 7, a Heritage employee created a

spreadsheet that included theophylline ER as a candidate for price increases.

       991.   Throughout February and March 2014, Malek and Patel had a series of

phone calls discussing price increases for multiple drugs, including theophylline ER.

       992.   Shortly thereafter, Teva began implementing across-the-board price

increases for theophylline ER. These price increases also had an effective date of April

4, 2014.

       993.   By the time Heritage held its April 22, 2014 meeting with its sales team to

discuss a number of price increases, it had already agreed to follow Teva on theophylline

ER and nystatin price increases. As he outlined the proposed price increases, Malek




                                306
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 312 of 367




specifically told his sales team that Heritage would follow Teva’s price increase on

theophylline ER.

       994.   On April 24, 2014, Teva received an email from a customer seeking an

adjustment to its price increase. Consistent with its agreement with Heritage, Teva stuck

to its price increase for theophylline ER.

       995.   On May 9, 2014, Heritage had an internal sales call regarding the drugs

subject to price increases, including theophylline ER. Several weeks later, on June 23,

Heritage employees discussed the specific percentage price increases they would seek.

Theophylline ER was slated for a 150% increase.

       996.   On June 25, Malek had a nearly fourteen-minute call with a Teva

employee—likely Patel. Malek reported that Heritage would be sending out price

increase notices on June 26 for theophylline ER and several other drugs for which

Heritage and Teva had agreed to raise prices.

       997.   On June 26, 2014, Heritage began telling customers that it would be

increasing prices for various drugs, including theophylline ER. By July 9, 2014, among

the other price increases it implemented, Heritage increased its theophylline ER prices

to at least twenty different customers nationwide.

       998.   Teva and Heritage imposed list price (WAC) increases on both 300 mg

tablets and 450 mg tablets pursuant to their agreement.




                               307
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 313 of 367
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 314 of 367




       1004. As the chart illustrates, for more than a year prior to Defendants’ price

increases, the prices of ursodiol remained flat and at competitive levels. Then, starting

in May of 2014, the average price of ursodiol abruptly increased by more than 1,600%,

from an average market price of approximately $0.29 per capsule as of June 4, 2014 to

$4.73 per capsule as September 17, 2014.

       1005. Upon information and belief, the price increases on ursodiol were the result

of collusive agreements between and among Defendants that were initiated by Actavis

to increase pricing and restrain competition for the sale of ursodiol in the United States.

These collusive agreements were furthered, at least in part, through in-person discussions

                               309
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 315 of 367




conducted at meetings and industry events hosted by GPhA and HDMA as well as other

meetings and communications (as identified throughout this Complaint).

       CC.      Verapamil

       1006. The market for verapamil is mature, as the drug has been available in the

United States since 1981. The drug is considered an essential medicine by the World

Health Organization. Actavis, Heritage, and Mylan sold verapamil throughout the

United States.

       1007. From 2009 forward, Actavis and Mylan have dominated the market for

verapamil regular release tablets and for certain dosages of verapamil sustained-release

capsules. Combined, the two companies enjoyed nearly 100% market share until

Heritage began to gain tablet share in 2013.

       1008. Heritage entered the verapamil tablet market in the second half of 2011,

but its share remained around 5% until 2013. When Heritage entered, it announced list

(WAC) prices identical to Mylan and slightly higher than Actavis for 80 mg tablets.

Heritage announced prices slightly higher than both Mylan and Actavis for 120 mg

tablets. Heritage did not begin to sell 40 mg verapamil tablets until the second half of

2015, at which point it set list prices identical to Actavis, the only seller of 40 mg tablets

at that time.

       1009. Instead of entering the market with lower prices of verapamil tablets in

order to gain market share—as would be expected in a competitive market—Heritage




                               310
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 316 of 367




priced its tablets identically or even higher than the incumbent producers, Actavis and

Mylan. This was entirely consistent with Defendants’ “fair share” agreement.

       1010. Without offering better prices, Heritage was hard pressed to gain market

share, and initially was able to capture only a sliver of the market. In October 2012,

however, Mylan increased its tablet prices by approximately 50%, which facilitated

Heritage rapidly gaining share. By January, Heritage had captured more than 25% of

the entire tablet market. As devised by their “fair share” agreement, market shares

between Actavis, Heritage, and Mylan quickly stabilized and remained relatively

constant thereafter.

       1011. In the months prior to Mylan’s price increases, Actavis, Heritage, and

Mylan had numerous opportunities to meet and discuss verapamil. For example, all three

Defendants attended the HDMA Business Leadership Conference in San Antonio, Texas

in early June 2012. All three also attended the GPhA Fall Technical Conference in

Bethesda, Maryland, which took place on October 1 through 3, 2012.

       1012. Similarly, on the heels of the 2013 NACDS Total Store Expo—attended

by (among others) Actavis, Mylan (Nesta and Aigner), and Heritage (Glazer, Malek,

O’Mara, Sather and Edelson)—Mylan raised the list (WAC) prices of its verapamil

capsules to identical levels as Actavis.

       1013. As market shares for verapamil tablets between Actavis, Heritage, and

Mylan stabilized, Heritage aimed to implement a price increase. Verapamil was on the

list of drugs that Heritage’s Malek identified on the April 22, 2014 sales team call.


                               311
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 317 of 367




       1014. As part of those price increase discussions, Heritage’s O’Mara had the

primary responsibility for communicating with Mylan about verapamil. On April 23,

O’Mara contacted his counterpart at Mylan (believed to be Aigner). O’Mara and Aigner

agreed to raise prices on at least three different drugs, including verapamil (and, as

discussed above, doxycycline and glipizide-metformin).

       1015. Immediately after speaking with Mylan’s Aigner, O’Mara emailed Malek

providing an update of his discussions with Mylan.

       1016. Heritage’s Sather was responsible for speaking with Actavis about

verapamil, among other drugs. On April 22, she and an unidentified Actavis employee

spoke for nine minutes and reached an agreement to raise the price of verapamil and

other drugs slated for an increase.

       1017. News of the agreement on verapamil and at least one other drug (as

discussed above, glyburide) reached the Actavis sales and pricing team on April 28,

2014, including through an internal email discussing potential price increases for a list

of different drugs.

       1018. A week after the April 28 email, on May 6, 2014, an Actavis employee

called a Mylan employee and left a message seeking to discuss at least pricing for

verapamil. The two spoke for three minutes on May 9 and spoke for almost seven

minutes on May 19, presumably about at least verapamil.             Both continued to

communicate over the next several months.




                               312
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 318 of 367




       1019. On May 8, 2014, Malek emailed the Heritage sales team requesting an

update on competition communications. An employee responded to Malek’s email,

providing an update on communications with at least Actavis (verapamil and glyburide-

metformin), Lannett (doxy mono), and Sun (nystatin and paromomycin).

       1020. While Heritage did not increase its verapamil prices market wide in July

as it did for other drugs, it announced a price increase for verapamil to at least one

customer as the result of Defendants’ price increase efforts.

       1021. On August 20, 2014, a Heritage employee exchanged text messages with

an employee at Sun. The text exchange described the agreement Heritage and Actavis

reached to increase the price of verapamil among other drugs.

       1022. Throughout this period, Actavis and Mylan coordinated increases on their

verapamil sustained-release capsules (120 mg, 180 mg, 240 mg). The price increases by

Actavis and Mylan were staggered, but steady and unexplained, suggesting coordination

throughout the relevant period. From April of 2012 (shortly before Mylan imposed a

price increase for its verapamil tablets) through April of 2016, Actavis and Mylan

attended at least 25 trade events together. Over this period, Mylan’s verapamil capsule

prices nearly tripled, and Actavis’s prices doubled. By the spring of 2016, Actavis and

Mylan had imposed virtually identical list (WAC) prices.

       1023. The higher prices for 120 mg, 180 mg, and 240 mg capsules enabled

Actavis also to raise its prices for 360 mg capsules, for which it was the lone seller in the




                               313
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 319 of 367




market. Between April 2012 and May 2016, Actavis’s prices for 360 mg capsules nearly

tripled.

       1024. During phone calls with senior sales executives from Mylan and Actavis

on April 22 and April 23, 2014, Heritage, Mylan, and Actavis agreed to raise prices on

verapamil in the United States.

       1025. Heritage began announcing the price increase to its customers in late June

2014, and had fully implemented the verapamil price increase by July 9, 2014.

       1026. During the summer of 2014, Mylan and Actavis also implemented the

collusive price increase on verapamil, as agreed by the three Defendants. As a result of

this agreement, prices for verapamil sold throughout the United States remain at

supracompetitive levels as of the filing of this Complaint.

       DD.    Zoledronic Acid

       1027. The market for zoledronic acid is mature, as the drug has been available in

generic form since 2013. The drug is considered an essential medicine by the World

Health Organization. Heritage, Dr. Reddy’s, and Par sold zoledronic acid throughout

the United States at supracompetitive prices.

       1028. In early 2013, Heritage began preparing to launch a generic version of a 5

mg injection formulation of the drug. It planned to be the first generic entrant in the

zoledronic acid market.

       1029. Dr. Reddy’s was positioned to enter the zoledronic acid market shortly

after Heritage. Par, which did not have an ANDA for zoledronic acid, eventually was


                                314
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 320 of 367




able to obtain the rights to market and sell zoledronic acid using an ANDA obtained by

Defendant Breckenridge. Par entered the market approximately eight months after

Heritage and Dr. Reddy’s.

       1030. Being the first generic to the market was atypical for Heritage, and

Heritage wanted to work with its competitors so that it could enter the market at a price

that would not be challenged by subsequent market entrants. For that reason, on January

21, 2013, Heritage’s Malek instructed O’Mara to reach out to his contact at Dr. Reddy’s,

VP of Sales and Marketing John Adams, to discuss market strategy and to “socialize”

the idea of keeping prices elevated above a competitive level.

       1031. O’Mara attempted to call Dr. Reddy’s Adams the next day, but Adams was

on a conference call. When O’Mara informed Malek that Adams was going to call him

back later that morning, Malek outlined exactly what he wanted O’Mara to say when he

finally spoke with Adams.

       1032. Dr. Reddy’s Adams called Heritage’s O’Mara after his conference call on

January 22, 2013 and they spoke for ten minutes. After the call, O’Mara reported to

Malek. O’Mara had learned that Dr. Reddy’s would launch a 4 mg product on the first

day it could produce a generic, but it was not certain if it would launch on the 5 mg

formulation. (Dr. Reddy’s ultimately did launch the 5 mg formulation.)

       1033. O’Mara also reported that Dr. Reddy’s wanted its “fair share” of the

market. As discussed above, “fair shares” were allocated to Defendants across generic

drugs and within a particular drug market based upon the number of competitors in the


                               315
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 321 of 367




market and the timing of their entry into the market. If Dr. Reddy’s entered the

zoledronic acid market first—consistent with fair share agreements that had long existed

in the generic pharmaceuticals market—it expected a 60% share of the market. If

Heritage entered the market at the same time as Dr. Reddy’s, the expectation was that

the market share would be split evenly.

       1034. Less than an hour after they first spoke on January 22, Heritage’s O’Mara

and Dr. Reddy’s Adams spoke again for nearly nine minutes and discussed a plan to keep

the pricing of zoledronic acid elevated above competitive levels. O’Mara and Adams

spoke for nearly twenty-four minutes again on January 24, 2013.

       1035. While Heritage had confirmed that Dr. Reddy’s was going to enter the

market, it would not have been difficult for Heritage to ascertain that Mylan and Actavis

also had received ANDA approval for 4 mg zoledronic acid in early March 2013.

       1036. Not wanting to take chances, Heritage’s Malek set out to confirm that there

would be no other entrants to the market. Malek instructed another Heritage employee

(believed to be Sather) to reach out to competitors and large customers in an effort to

confirm that no other manufacturers were planning on entering the generic zoledronic

acid market. In his instructions to this employee, Malek provided the same list of

questions he had provided to O’Mara for contacting Dr. Reddy’s Adams.

       1037. Prior to the launch, Heritage continued communicating with Dr. Reddy’s

to refine their agreement on market share and pricing. For example, Heritage’s O’Mara

called his counterpart at Dr. Reddy’s, Adams, on March 3, 2013 and left a message.


                               316
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
    Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 322 of 367




Adams (or another individual from Dr. Reddy’s) returned the call two days later and

spoke with Heritage’s O’Mara for fifteen minutes.

      1038. While these conversations were occurring, Heritage’s Malek learned that

Dr. Reddy’s was quoting low prices on zoledronic acid to customers, including Cardinal,

and the pricing was lower than he had hoped. Malek was upset by Dr. Reddy’s pricing

because Malek did not view Dr. Reddy’s as “playing fair.” He emailed Sather and

O’Mara on March 6 to express this concern and to ask about pricing.

      1039. Malek also instructed O’Mara to speak with Dr. Reddy’s Adams about

zoledronic acid when they were both attending the same customer conference in March

2013. On March 12, 2013, the two spoke by phone twice and exchanged numerous text

messages.

      1040. Heritage’s Malek asked O’Mara for an update on Dr. Reddy’s on March

13. O’Mara responded with information about his conversation with Dr. Reddy’s

Adams.

      1041. On April 3, 2013, Heritage’s O’Mara spoke with Dr. Reddy’s Adams and

confirmed that Dr. Reddy’s had just begun shipping the 5 mg product. Adams also

provided information about its pricing. O’Mara and Adams spoke numerous times

throughout the rest of April about customers and pricing for both zoledronic acid and

meprobamate.

      1042. Consistent with their agreement, in April 2013 both Heritage and Dr.

Reddy’s entered the zoledronic acid market at a higher price than they otherwise would


                              317
                        PUBLIC VERSION
         REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 323 of 367




have absent their collusive pricing agreement. Heritage and Dr. Reddy’s announced list

prices that were within a few percentage points of each other. They maintained these list

prices through at least early 2016. These list prices remained stable even when a third

manufacturer entered the market.

         1043. After zoledronic acid launched, any disagreements about the allocation of

customers between Heritage and Dr. Reddy’s were resolved through direct

communications between the two companies.

         1044. Heritage’s ability to contact Dr. Reddy’s and obtain an agreement on

allocation of the market and the price of zoledronic acid would not have been possible

absent the existing “fair share” agreement among Defendants. The discussions between

Dr. Reddy’s and Heritage make clear that they were not starting from zero in working

out the details of their agreement on zoledronic acid, but were building on an existing

understanding about “fair share” and the avoidance of competition across numerous

drugs.

         1045. Defendants were aware that their conversations were anticompetitive and

illegal. For example, on April 19, 2013, Malek sent a text message to his entire sales

team reminding them not to put their pricing discussions with competitors in writing.

         1046. Defendants’ ability to exchange information and negotiate pricing

agreements was aided by the near constant ability of Defendants to meet in person at

trade association meetings and conferences. For example, shortly before Dr. Reddy’s




                                318
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 324 of 367




and Heritage’s March conversations, both Defendants attended two trade association

meetings where they also had the opportunity to exchange information.

       1047. Similarly, shortly before Par entered the market for zoledronic acid, it

attended the NACDS Total Store Expo in Las Vegas, which also was attended by

numerous Defendants (including personnel directly implicated in anticompetitive

communications): Apotex (Hamilton), Aurobindo (Cunard), Citron, Dr. Reddy’s,

Glenmark, Heritage (Glazer, Malek, O’Mara, and Sather), Lannett (Sullivan), Mylan

(Nesta, Aigner), Sandoz, Sun (Knoblauch), Taro, Teva, West-Ward, and Zydus

(Lukasiewicz).

       1048. When Par finally entered the market in late 2013, it announced list prices

even higher than Heritage and Dr. Reddy’s. List prices for Dr. Reddy’s, Heritage, and

Par remained elevated thereafter. As it had done in the doxy mono market discussed

above, Par sought to avoid price competition.       Although it was the third generic

manufacturer into the market, Par did not undercut the prices of Heritage and Dr. Reddy’s

in an effort to gain market share, as economic theory predicts of a competitive market.

Rather, consistent with the “fair share” agreement Par imposed higher list prices and

attempted to prevent price erosion in the market for zoledronic acid.

X.     THE GENERIC DRUG INDUSTRY WAS SUSCEPTIBLE TO
       COLLUSION

       1049. Defendants’ anticompetitive conduct alleged in the Complaint constitutes

a conspiracy to fix prices and engage in market customer allocation, which is a per se

violation of the antitrust laws. Therefore, Plaintiff need not define a relevant market.
                               319
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 325 of 367




There are, however, features of the industry relevant to this case that show both (i) that

the industry is susceptible to collusion, and (ii) that the price increases were in fact the

result of collusion and not the result of conscious parallelism.

       1050. Indeed, the U.S. market for each of the Price-Fixed Generic Drugs has been

characterized by numerous factors that facilitated Defendants’ conspiracy, including: (i)

industry concentration; (ii) sufficient numbers to drive competition; (iii) substantial

barriers to entry; (iv) demand inelasticity; (v) lack of substitutes; (vi) interchangeability;

(vii) absence of non-conspiring competitors; (viii) opportunities for contact and an

extremely high level of inter-firm communications; (ix) the magnitude of the price

increases; and (x) the reimbursement of generic drugs.

       1051. Since 2005, consolidation has reduced the number of competitors in the

generic drug industry, which has rendered the market ripe for collusion. For example:

Teva acquired Ivax Corporation in 2006, Barr Laboratories in 2008 (including Defendant

PLIVA), Ratiopharm (Germany’s second largest generic drug producer) in 2010, and

Allergan’s generics business (including Actavis) in 2016; Watson Pharmaceuticals

acquired Andrx Corporation in 2006; Endo acquired Qualitest in 2010; Perrigo acquired

Paddock Laboratories, Inc. in 2011; and Sandoz acquired Fougera in 2012. As a result

of the industry-wide consolidation, for each of the Price-Fixed Generic Drugs, there were

between three and ten manufacturers in the United States during the time period relevant

to claims asserted in this Complaint, thus rendering the market for each drug

concentrated. Each of the drugs at issue in this Complaint also had at least two sellers.


                               320
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 326 of 367




While the numbers were small enough to foster collusion, the number of competitors

was enough to suggest that, absent collusion, prices would have been much lower.

       1052. Barriers to entry increase a market’s susceptibility to a coordinated effort

to maintain supracompetitive prices because it is difficult for new suppliers to enter the

market and destabilize coordinated supracompetitive prices. Costs of manufacture,

intellectual property, and expenses related to regulatory oversight create substantial

barriers to entry in the generic pharmaceutical industry.

       1053. Each of the Price-Fixed Generic Drugs is medically appropriate to the

health and well-being of the patient for whom it is prescribed. For that reason, each

demonstrates substantial demand inelasticity. Indeed, notwithstanding the substantial

price increases alleged in this Complaint, demand for each of the Price-Fixed Generic

Drugs dropped very little following the increase in price.

       1054. Because a generic drug must be the therapeutic equivalent of its branded

counterpart, each generic drug that is approved for sale in the United States is

interchangeable with each other generic drug of the same dosage strength. For example,

a 40 mg tablet of pravastatin manufactured by Mylan is interchangeable with a 40 mg

tablet of pravastatin manufactured by Teva. Accordingly, each of the Price-Fixed

Generic Drugs is highly interchangeable from Defendant to Defendant. In the absence

of collusion, Defendants would compete on price to gain market share.




                               321
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 327 of 367




       1055. The Defendants control the markets for each of the Price-Fixed Generic

Drugs, which enables them to increase prices without losing market share to non-

conspirators.

       1056. As alleged above in Section VIII, there was a high level of interfirm

communications within the generic pharmaceutical industry, and numerous

opportunities for such communications through various trade association and similar

meetings.    The magnitude of the price increases involved in this case further

differentiates them from parallel price increases.

XI.    DEFENDANTS’ CONSPIRACY WAS EFFECTIVE AND IS STILL
       ONGOING

       1057. As a proximate result of this conspiracy, and during the relevant time

period, Defendants and their co-conspirators were able to and did maintain

supracompetitive prices (i.e., prices above a competitive level) throughout the United

States for each of the Price-Fixed Generic Drugs. As a further proximate result, UHS

and Pharmacy Assignors have been overcharged and continue to incur overcharges for

Price-Fixed Generic Drugs.

       1058. Each Defendant knew that UHS, Pharmacy Assignors, and other

purchasers and/or payors would not be able to obtain a competitive price for each Price-

Fixed Generic Drug. Defendants also knew that any new entrants to the market would

also follow the conspiracy pricing (or even seek to increase it further) based on the

conspiracy’s overarching market allocation and price-fixing agreement.



                                 322
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 328 of 367




       1059. As alleged in this Complaint, during the conspiracy, Defendants and co-

conspirators agreed on the timing and amount of price increases for each of the Price-

Fixed Generic Drugs. They were successful in achieving these price increases, which

enabled them to impose supracompetitive prices on the market. This was because

Defendants knew during the conspiracy that all of them were increasing prices (or

offering the same or similar prices) of each Price-Fixed Generic Drug; and the resulting

prices were higher than would have occurred if, in the absence of the conspiracy, each

Defendant had competed and independently and unilaterally set its own prices for each

Price-Fixed Generic Drug. Defendants’ coordinated price increases also provided them

with a higher, unified starting point in negotiating sales prices to their large direct

purchaser customers for each Price-Fixed Generic Drug than would have resulted if each

Defendant had independently and unilaterally set its own price increases for each Price-

Fixed Generic Drug.

       1060. The conspiracy alleged in this Complaint remains in either force or effect

(or both) as of the date of this Complaint, and prices at each level of distribution and/or

payment (including as paid by UHS and Pharmacy Assignors) continue to remain at

supracompetitive levels for each Price-Fixed Generic Drug as a result of Defendants’

conduct.

       1061. Beyond the fact that Defendants and distributors and/or retailers continue

to sell the Price-Fixed Generic Drugs throughout the United States at levels inflated by

the conspiracy, Defendants continue to seek to impose additional collusive price


                                323
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
       Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 329 of 367




increases on other generic drugs. At an investor conference held on March 14, 2017, in

Laguna Niguel, California, Arthur Bedrosian (the CEO of Lannett) boasted behind

closed doors that Lannett had just been able to triple the price of a generic drug that day

(he did not identify which one) and that Lannett still has the ability to impose additional

substantial price increases. Bedrosian’s claim is consistent with a continuing conspiracy.

XII.    DISCOVERY WILL ESTABLISH THE FULL SCOPE OF THE
        CONSPIRACY

        1062. Discovery is necessary to determine the full scope of the conspiracy,

including the exact time frame, products, and participants. Plaintiff reserves the right to

amend or supplement this Complaint to add other Defendants, claims, time period,

products, or other allegations based upon discovery and further investigation.

XIII. ANTITRUST INJURY

        1063. Defendants’ conspiracy has had the following effects, among others:

              a.    Price competition has been unreasonably restrained or eliminated

with respect to the generic drugs at issue and;

              b.    The prices of the generic drugs at issue have been fixed, raised,

maintained, or stabilized at artificially inflated levels, including as paid by UHS and

Pharmacy Assignors in that, but for Defendants’ anticompetitive conduct, lower prices

would have been paid for the generic drugs at issue.

        1064. During the period alleged in this Complaint, Defendants charged supra-

competitive prices for the generic drugs at issue. By reason of Defendants’ alleged

violations of the antitrust laws, UHS and Pharmacy Assignors have sustained injury,
                                         324
                                  PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 330 of 367




having paid substantially higher prices for each of the generic drugs at issue than they

would have paid absent Defendants’ alleged illegal contract or conspiracy, and, as a

result, have suffered damages in an amount to be determined. This is an antitrust injury

of the type the antitrust laws were meant to punish and prevent.

       1065. As to overcharges paid by UHS, inflated prices of the generic drugs at

issue resulting from Defendants’ price-fixing conspiracy have been passed on to UHS,

who paid such overcharges. General economic principles recognize that any overcharge

at a higher level of distribution generally results in higher prices at every level below.

Moreover, the institutional structure of pricing and regulation in the pharmaceutical drug

industry assures that overcharges at the higher level of distribution are passed on to end

payors such as UHS. The impairment of generic competition at the direct purchaser level

similarly injured UHS, who was equally denied the opportunity to pay less for the Price-

Fixed Generic Drugs.

       1066. The impact of Defendants’ conduct on the prices of the generic drugs at

issue can be measured and quantified. Commonly used and well-accepted economic

models can be used to measure both the existence and the amount of the supra-

competitive charge paid by UHS and its Pharmacy Assignors. Thus, the economic harm

alleged can be quantified.

       1067. Defendants’ anticompetitive conduct and/or its effects are ongoing, and,

as a result, United continues to pay supra-competitive prices for each of the generic drugs




                               325
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 331 of 367




 at issue. UHS seeks damages for all injuries proximately caused by the unlawful

 conduct.

 XIV. TOLLING AND FRAUDULENT CONCEALMENT

        1068. The statutes of limitation as to Defendants and their co-conspirators’

 continuing antitrust violations and each of the claims alleged in this Complaint were

 tolled because of one or more of the following events:

        (a)           The pendency of one or more Class Action Complaints, and any

 Amendments, against Defendants and their co-conspirators for conspiring to fix prices

 of each of the Price-Fixed Generic Drugs tolled the running of the statutes of limitations

 as of the date the first such Class Action Complaint was filed;

        (b)           The pending government proceedings and actions described herein

 have tolled and/or suspended the running of the state of limitations, including as provided

 under 15 U.S.C. § 16(i), Minn. Stat. § 325D.64, Subd. 2, and similar statutes and

 doctrines as may be applicable; ; and/or

        (c)           Defendants’ affirmative and fraudulent concealment of the

 conspiracy prevented UHS and Pharmacy Assignors from having notice of these claims

 more than four years before filing this Complaint, and tolled the running of the statutes

 of limitations.

      1069.     Each of the overt acts in furtherance of the conspiracy alleged in this

Complaint was done for the purpose of concealing the conspiracy and preventing UHS,

Pharmacy Assignors, and other purchasers or payors of generic drugs from learning about


                                   326
                             PUBLIC VERSION
              REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 332 of 367




the conspiracy’s existence. Defendants concealed, misrepresented and/or materially

omitted that the generic drugs at issue were subject to their price-fixing and market

allocation scheme, in which the prices for the drugs were artificially and unconscionably

inflated, and not subject to unrestrained and lawful competition.             Defendants

misrepresented the real cause of price increases and/or the absence of price reductions in

generic drugs. Defendants’ false statements and conduct concerning the prices of generic

drugs were deceptive as they had the tendency or capacity to mislead UHS, Pharmacy

Assignors, and others into believing that they were paying for the Price-Fixed Generic

Drugs at prices established by a free and fair market.

        1070. Accordingly, UHS and Pharmacy Assignors did not know or reasonably

 suspect the existence of their claims more than four years before filing this Complaint,

 nor were they aware of any facts more than four years before filing this Complaint that

 would have put them on reasonable notice of their claims. More than four years before

 the filing of this Complaint, Defendants and their co-conspirators fraudulently concealed

 the existence of each and every antitrust claim alleged in this Complaint so that UHS and

 Pharmacy Assignors, acting reasonably, did not know of the existence of the claims at

 the time.

        1071. During the relevant time period, including the time period more than four

 years before the filing of this Complaint, Defendants and their co-conspirators concealed

 the existence of the alleged antitrust claims from UHS and Pharmacy Assignors as a

 result of the self-concealing nature of the conspiracy; and/or because Defendants and


                                  327
                            PUBLIC VERSION
             REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 333 of 367




their co-conspirators engaged in affirmative and deceptive acts of concealment as

described below. As a result, UHS and Pharmacy Assignors did not know, and through

the exercise of due diligence (which they exercised) could not have known, about the

existence of their antitrust claims more than four years before filing this Complaint.

       1072. Among other things, as alleged in the State AGs’ Hertitage Complaint,

Heritage executives took affirmative steps to conceal and destroy evidence of their

wrongdoing since as early as 2012. These steps included failing to maintain a document

retention policy, instructing each other and their co-conspirators not to put

communications relating to the conspiracy in writing, intentionally withholding

documents subject to subpoenas, and deleting text messages from their telephones, as

alleged in paragraphs 454-462 of the State AGs’ Heritage Complaint, which are

incorporated by reference.     This conduct extended to Heritage’s co-conspirators,

including Mayne.

       1073. Notwithstanding the self-concealing nature of their conspiracy, during the

relevant time period, including more than four years before the filing of this Complaint,

Defendants and their co-conspirators affirmatively misled UHS and Pharmacy Assignors

by wrongfully and affirmatively concealing the existence of their antitrust conduct and

the claims alleged in this Complaint. In addition to the many overt acts alleged above

that were undertaken for the purpose of concealing the conspiracy, Defendants took

additional steps to conceal their illegal conduct from UHS, Pharmacy Assignors, and

others. For example:


                               328
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 334 of 367




       (a)           During the conspiracy alleged in this Complaint, and as alleged

above, Defendants and co-conspirators spoke and met in secret to affirmatively conceal

the existence of the conspiracy. For each of the numerous meetings between Defendants

alleged in this Complaint, Defendants took steps to either conceal the existence of the

meeting, or to create a pretextual explanation for why the meeting occurred.

       (b)           During the conspiracy alleged in this Complaint, Defendants made

false and pretextual statements about their prices and the bids they provided in response

to requests for competitive bids. For example, upon information and belief, when

Cardinal requested that Heritage provide a competitive bid for nimodipine in June 2012,

Heritage made representations to Cardinal that the sham bid that Heritage submitted in

response (and that Heritage had coordinated with Sun and Caraco in advance) was the

lowest price that Heritage could provide. In reality, Heritage could have manufactured

and sold the drug for substantially less than it quoted to Cardinal, but Heritage had agreed

in advance with Sun and Caraco that Heritage would not submit a competitive price in

response to Cardinal’s request. Accordingly, Heritage’s false statements to Cardinal

were intended to conceal from all purchasers and/or payors of nimodipine (and all other

generic drugs) the existence of the conspiracy. As another example, during an August

11, 2015 earnings call, Dilip Shanghvi, the Managing Director at Sun Pharmaceutical

Industries Ltd., misleadingly discussed “competitive pressure on some of the products

like . . . Doxycycline . . . where competitive intensity has increased,” when in fact, Sun

was engaged in a conspiracy to lessen competitive forces and inflate prices.


                                  329
                            PUBLIC VERSION
             REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 335 of 367




       (c)           During the conspiracy alleged in this Complaint, Defendants took

steps to ensure that their communications in furtherance of the conspiracy were not

recorded in writing. For example, on April 19, 2013, Malek instructed his employees at

Heritage not to keep in writing any evidence of the agreements that Heritage was

negotiating (and that it would soon reach) with other Defendants relating to the

zoledronic acid (and other drugs).     Similarly, during the July 1, 2014 telephone

conversation in which a senior sales executive at Heritage discussed the collusive price

increases of glyburide and fosinopril HCTZ with a senior sales executive at Citron, the

Citron representative told the Heritage representative not to communicate with Citron

through email.

       (d)           During the conspiracy alleged in this Complaint, Defendants took

steps to confine knowledge of the conspiracy to a small group of employees for the

purpose (and with the effect) of concealing the conspiracy’s existence. For example,

during the same July 1, 2014 telephone conversation between Heritage and Citron, the

Citron representative told the Heritage representative to communicate with a specifically

designated employee of Citron that was fully briefed on the conspiracy.

       (e)           During the conspiracy alleged in this Complaint, Defendants

discussed and coordinated the timing of their price increase announcements for the

purpose of making each price increase seem like it was each Defendant’s independent

decision to raise prices even though, in reality, it was not. For example, Sandoz and

Mylan coordinated their price increases on amitriptyline and levothyroxine.          For


                                  330
                            PUBLIC VERSION
             REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 336 of 367




levothyroxine, Mylan increased its prices on April 25, 2014, and Sandoz issued its

matching price increase on May 23, 2014. Also, on May 23, 2014, Sandoz increased its

price for amitriptyline, an increase that Mylan matched on July 16, 2014. By staggering

the announcement of these price increases, Sandoz and Mylan intended to convince the

public and market participants, including UHS and Pharmacy Assignors, that the latter

price increase was the independent response to the initial price increase, and not a result

of Defendants’ illicit conduct. As the allegations in this Complaint make clear though,

Defendants actively discussed, coordinated, and agreed to these price increases in secret,

in order to conceal the existence of the conspiracy.

       (f)            Defendants further stated throughout the relevant period, including

on their public internet websites, that they do not engage in the type of collusion alleged

in this Complaint but instead maintain antitrust/fair competition policies that prohibit the

unlawful conduct alleged in this Complaint. For example:

              Allergan’s (predecessor to Actavis) Code of Conduct states: “We support
               a free and open market, which is why we comply with competition laws
               everywhere we do business and strive to always compete fairly.”

              Apotex’s Code of Conduct directs employees: “Do not communicate with
               competitors about competitive business matters such as prices, costs
               discounts, customer suppliers, marketing plans, production capacities or
               any terms of conditions of sale that could create the appearance of
               improper agreements or understandings. Do not make agreements or
               reach understandings with competitors regarding allocation of customers,
               territories or market share. Do not conspire with other bidders when
               competing for contracts.”

              Dr. Reddy’s’ Code of Conduct provides: “We believe in free and open
               competition and never engage in improper practices that may hamper fair
               competition. We never look to gain competitive advantages through

                                  331
                            PUBLIC VERSION
             REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 337 of 367




       unethical or unlawful business practices. . . . [W]e must never enter into
       agreements with competitors to engage in any anti-competitive behavior,
       including colluding or cartelization, fixing prices, dividing up customers,
       suppliers or markets.”

     Glenmark’s Code of Conduct states: “We must engage in fair competition
      and must ensure that our business dealings comply with all applicable local
      antitrust and competition laws, such as monopoly, unfair trade, or price
      discrimination laws. We must not make agreements or engage in
      concerted actions with a competitor with the intent of improperly dividing
      markets by allocating territories, customers, goods, or services, or price-
      fixing or collusion.”

     Hikma’s (the parent of West-Ward) Code of Conduct provides: “Hikma
      will engage in free and fair competition and not seek competitive
      advantage through unlawful means. Hikma will not collude with
      competitors on prices, bids or market allocations, nor exchange
      information with third parties in a way that could improperly influence
      business outcomes.”

     Mayne’s Business Code of Conduct provides: “Do not agree, even
      informally, with competitors on price (or any elements of price including
      discounts or rebates), production, customers or markets without a lawful
      reason.”

     Mylan’s Code of Conduct and Business Ethics states: “Mylan is committed
      to complying with applicable antitrust and fair competition laws.”

     Novartis’ (Parent of Sandoz) Code of Conduct states: “We are committed
      to fair competition and will not breach competition laws and regulations.”

     Par’s Code of Conduct provides: “It is Company policy to comply with the
      antitrust and competition laws of each country in which the Company does
      business.”

     Perrigo’s Code of Conduct provides: “We will succeed based on the
      quality and value of our products and not by illegal or otherwise improper
      business practices. Competition laws, also known as “antitrust” laws,
      generally prohibit agreements with competitors, suppliers or customers
      that could unfairly limit free and open competition.”

     Sun Pharmaceutical Industries, Ltd. (parent of Sun and Taro) has a Global
      Code of Conduct that provides: “We seek to outperform our competition

                         332
                   PUBLIC VERSION
    REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
    Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 338 of 367




             fairly and honestly. We seek competitive advantages through superior
             performance, never through unethical or illegal business practices.” It
             goes on to state: “Sun Pharma shall compete only in an ethical and
             legitimate manner and prohibits all actions that are anti-competitive or
             otherwise contrary to applicable competition or anti-trust laws.”

           Taro’s Code of Conduct provides: “We do not discuss any of the following
            topics with our competitors: prices or price-fixing, customer or market
            allocation, bids or bid-rigging, any topic that seems to be about restricting
            competition. If a competitor attempts to engage you in a discussion on any
            of these topics, make it clear that you do not wish to participate. Leave the
            conversation immediately, and report the matter to Corporate
            Compliance.”

           Teva’s Code of Conduct provides: “We believe that customers and society
            as a whole benefit from fair, free and open markets. Therefore, we compete
            on the merits of our products and services and conduct business with
            integrity. We recognize that the potential harm to Teva’s reputation and
            the penalties for breaching competition laws are severe, and can subject
            Teva, members of the Board of Directors and employees to severe civil
            fines and criminal penalties.”

      1074. During the conspiracy, including more than four years before the filing of

this Complaint, Defendants and their co-conspirators’ affirmative acts of concealment

were intended by them to conceal the existence of their unlawful actions from UHS,

Pharmacy Assignors, and others; and UHS and Pharmacy Assignors were unaware, and

had no reasonable basis to be aware, of Defendants and their co-conspirators’ acts of

concealment. Defendants’ misrepresentations, including regarding their price changes

and purported competition, were intended to lull UHS, Pharmacy Assignors, and others

into accepting the price hikes as a normal result of competitive and economic market

trends rather than the consequences of Defendants’ collusive acts. The statements made

by Defendants were designed to mislead UHS, Pharmacy Assignors, and others into

paying unjustifiably higher prices for Price-Fixed Generic Drugs.
                                           333
                                  PUBLIC VERSION
         REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
       Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 339 of 367




        1075. As a direct result of Defendants and their co-conspirators’ affirmative and

 fraudulent acts of concealment alleged above, UHS and Pharmacy Assignors did not

 have actual or constructive knowledge of their claims, or the facts that might reasonably

 have led them (or a reasonable person or plaintiff in in their position) to discover or

 suspect that they had the antitrust claims against Defendants and their co-conspirators

 alleged in this Complaint, more than four years before the filing of this Complaint.

 Before then, UHS and Pharmacy Assignors were unaware of facts that would have

 alerted them (or a reasonably diligent person or plaintiff in their position) of the need to

 investigate whether they had the antitrust claims alleged in this Complaint.

        1076. Accordingly,      Defendants     and    their   co-conspirators’    fraudulent

 concealment of their unlawful conduct tolled the statute of limitations for each of the

 claims alleged in this Complaint.

        1077. The claims alleged in this Complaint have been brought within the

 applicable statutes of limitations period.

 XV.    ANTITRUST VIOLATIONS, BY CONSPIRACY

         A.     Overarching Conspiracy on All Price-Fixed Generic Drugs (All
                Defendants)

       1078. Plaintiff incorporates by reference ¶¶ 1 through 1085 above.

       1079. Starting as early as at least June 2009 (and potentially earlier), Defendants

had come to a broad “fair share” agreement concerning generic drugs generally. While

the effects of the “fair share” agreement were felt (in the form of higher prices) in more

specific markets, the agreement itself was not confined to individual markets or drugs.
                                334
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 340 of 367




The foundation of the overarching agreement was Defendants’ understanding that they

are current and future competitors across numerous drugs within the broader generic drug

industry. Defendants developed the concept of “fair share,” in which each market

participant (within and across multiple drugs) was able to obtain an allocated share of

market sales without resorting to free and fair price competition. Because Defendants are

repeat players who routinely enter new markets but face the same competitors, their basic

agreement—to eschew price competition and seek only a “fair share” of the market—

became the “rules of the road” that governed their overarching conspiracy. Defendants’

decisions whether and if so when to enter a market, how to price their drugs, and which

customers to target were made in accordance with their unlawful “fair share” agreement.

          1080. As alleged above, the market for manufacture, pricing and sale of generic

 drugs had become conducive to cartelization. The Defendants’ efforts to manipulate the

 pricing and sale of some generic drugs as alleged above infected and over time spread to

 the pricing and sale of the Price-Fixed Generic Drugs alleged above. Beginning at a time

 yet to be determined, but no later than March 2011, and continuing in force or effect, or

 both, through the date of filing of this Complaint, the Defendants engaged in a continuing

 agreement, understanding and conspiracy not to compete on the manufacture and sale of

 the Price-Fixed Generic Drugs throughout the United States in unreasonable restraint of

 trade and commerce in violation of federal and state laws, including those specified

 below.




                                 335
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
    Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 341 of 367




      1081. Each Defendant consciously committed to a common scheme, the ultimate

objective of which was to cartelize the Price-Fixed Generic Drugs in order to achieve

substantial supracompetitive profits. This objective was a common goal among all the

Defendants. In furtherance of the scheme, each Defendant consciously committed to an

overarching market allocation agreement that governed each of their respective market

shares for the Price-Fixed Generic Drugs.

      1082. Each Defendant had knowledge of the conspiracy to increase prices,

allocate markets, rig bids, and decrease production for each of the Price-Fixed Generic

Drugs, and each Defendant knowingly participated in the conspiracy’s common goal of

cartelizing the Price-Fixed Generic Drugs in order to achieve supracompetitive profits.

Each Defendant’s knowledge of the overarching conspiracy is demonstrated by the fact

that the numerous collusive agreements reached in furtherance of the conspiracy were

discussed at the same meetings and social gatherings, including the industry meetings

alleged above in Section VIII. Further, this overarching conspiracy contemplated a

continuous result that would not continue without the continuous cooperation of all

Defendants.

      1083. Every Defendant knowingly joined the overarching, or “all-Price-Fixed

Generic Drugs” conspiracy.

      1084. By joining and/or participating in the overarching conspiracy, the

Defendants became interdependent upon one another, in that their respective benefit

depended on the success of the overarching conspiracy.           Indeed, each of the


                              336
                        PUBLIC VERSION
         REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 342 of 367




conspiratorial price increases and price-fixing agreements alleged in Section IX, supra,

were interdependent for at least six reasons.

       1085. First, every agreement on each of the Price-Fixed Generic Drugs was

interdependent because every agreement was the byproduct of the same overlapping

overarching market allocation agreement. Indeed, the interdependent nature of these

agreements was what allowed the Defendants to enforce and police every agreement

reached in furtherance of the overarching conspiracy. For example, Defendants with a

proportionately smaller market shares of certain drugs agreed not to compete for

additional market share in return for an agreement that their competitors would not

compete for additional market share of other drugs for which they enjoyed a

proportionately larger market share. Further, because each Defendant knew that its

market share was safe from competition, market share itself became a fungible

commodity that could be traded.

       1086. The overarching conspiracy also benefitted              conspirators   that

manufactured just one of the Price-Fixed Generic Drugs. For example, Ascend, agreed

with Heritage to increase prices and allocate each company’s market share for

nimodipine. Such an agreement would be against the self-interest of a company that was

not aware of the overarching market allocation agreement, because it resulted in a

supracompetitive price, and this supracompetitive price would be expected to attract

other generic drug manufacturers to enter the market for nimodipine. But Ascend agreed

to the price increase knowing that even if another Defendant entered the market for


                               337
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 343 of 367




nimodipine, that manufacturer would agree to follow the supracompetitive pricing for

nimodipine. Accordingly, Ascend’s knowledge of the overarching conspiracy, which it

learned through its agreement with Heritage and its attendance at industry events where

other collusive agreements were discussed, allowed it to agree to increase prices on

nimodipine, an act that Ascend would not have done in the absence of the overarching

all-Price-Fixed Generics conspiracy. Along these same lines, when Mayne entered the

doxy DR market that had been cartelized by Heritage and Mylan, the overarching

conspiracy allowed Defendants to reach an agreement that allocated to Mayne a

percentage of the market and prevented price competition that would have disturbed the

prevailing supracompetitive prices on doxy DR.

       1087. In this manner, the existence of the overarching conspiracy permitted the

manufacturers to induce the collusive agreements of others as needed to raise prices on

each of the Price-Fixed Generic Drugs. For example, the existence of the overarching

conspiracy allowed Actavis to persuade Breckenridge to lead a series collusive price

increases on propranolol capsules and to persuade Epic to raise its prices by more than

1,000% on ursodiol, notwithstanding the fact that the actions taken by Breckenridge and

Epic were against their respective self-interests and would not have been taken absent

collusion. Similarly, the existence of the overarching conspiracy facilitated the ability

of Defendants, including Actavis, Mylan, and Teva, to reach an agreement with Lupin

that would triple its prices on pravastatin. And, the overarching conspiracy facilitated

the collusive agreement of Morton Grove and Wockhardt to raise prices on clobetasol,


                               338
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 344 of 367




and Teligent’s collusive agreement to raise prices on econazole. And although certain

Defendants were the primary facilitators of the collusive conduct alleged in this

Complaint, the success of the overarching conspiracy was also dependent on the

agreement (or understanding) that the other Defendants would participate in the

overarching conspiracy as well.     For example, Breckenridge’s participation in the

conspiracy was dependent on its knowledge—gained in part from attending the many

industry events alleged in Section VIII, supra—that each of the manufacturers would

follow the conspiracy’s supracompetitive pricing and market allocation agreements in

the event that any entered the market for propranolol.

       1088. Second, the success of each conspiratorial price increase, each rigged bid,

and/or each individual market allocation agreement was interdependent, because a given

Defendant’s commitment to one price increase helped solidify and protect other

conspiracy price increases that were implemented. For example, as alleged above, Teva

declined to offer a competitive bid to a customer that sought glyburide based not only on

its agreement with Heritage on glyburide, but also based on its collusion with Heritage

on a second drug. In other words, Teva knew that undercutting the conspiratorial price

increase on glyburide would impact not only glyburide, but also the conspiratorial price

increases on other drugs. Because a number of other Defendants manufactured multiple

Price-Fixed Generic Drugs, a manufacturer who cheated on the conspiracy as to one

Price-Fixed Generic Drug would be subject or susceptible to punishment by the cartel

with respect to accounts for that drug, along with each of the other Price-Fixed Generic


                               339
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 345 of 367




Drugs that the cheater manufactured.      Thus, the overarching conspiracy enhanced

Defendants’ ability to enforce the conspiracy, both for conspirators that manufactured

many Price-Fixed Generic Drugs, and for those that manufactured just one. For example,

Mayne (which manufactured only doxycycline) knew that Mylan and Heritage had an

added incentive to follow through on the unlawful agreements on doxycycline, which

helped to ensure that Mayne also committed to the conspiracy.

       1089. Third, and along the same lines, the coordination of price increases and

market allocation agreements across multiple Price-Fixed Generic Drugs allowed

Defendants to police individual conspiratorial agreements and better conceal the

conspiracy from the public and market participants, including UHS and Pharmacy

Assignors.   For example, Sandoz and Mylan coordinated their price increases on

amitriptyline and levothyroxine. For levothyroxine, Mylan increased its prices on April

25, 2014, and Sandoz increased its matching price increase on May 23, 2014. That same

day, Sandoz increased its price for amitriptyline, an increase that Mylan matched on July

16, 2014. By staggering these price increases in a “my turn, your turn” fashion, Sandoz

and Mylan were able to ensure that each would follow through with its promise to

increase prices (as they had unlawfully agreed), while avoiding announcing price

increases on the same day or extremely close in time. And for the same reasons

explained in the preceding paragraphs, the ability of primary facilitators such as Sandoz

and Mylan to compel each other’s compliance with the unlawful agreement helped to




                               340
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 346 of 367




ensure that other manufacturers—even if they manufactured just one of the drugs subject

to staggered price increases—would also commit to the unlawful agreement.

       1090. Fourth, each successful conspiratorial price-fixing agreement helped the

Defendants by reducing the quantity produced of the drug, which in turn reduced demand

for the raw materials required to manufacture that drug. Because all of the drugs

involved in the conspiracy shared common inputs such as binding agents, the reduction

in supply of propranolol (for example) helped to reduce the demand for these inputs,

which reduced the cost to produce not only propranolol, but also each of the other Price-

Fixed Generic Drugs, which also used the same binding agents.

       1091. Fifth, with each successful price increase, Defendants were able to commit

a portion of their production capacity to a drug priced substantially above marginal cost.

However, successful price increases also incentivized other manufacturers to substitute

capacity towards the high margin drugs. Accordingly, it was useful and valuable for

Defendants to implement the numerous conspiratorial price increases and price-fixing

agreements alleged in this Complaint, so that each member of the conspiracy could enjoy

supracompetitive profits.    Further, in the instances, if any, that the Defendants

determined that excess capacity was devoted to a particular drug, one conspirator would

agree to discontinue production of that drug. For example, Fougera stopped production

of fluocinonide in January 2015, after the collusive price increase had been implemented

on the drug. Similarly, Teva discontinued production of doxy hyclate in May 2013, after

the collusive price increase had been implemented on the drug.


                               341
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 347 of 367




       1092. Sixth, certain of the Price-Fixed Generic Drugs are subject to varying

degrees of long-run demand-side substitution depending on the degree to which they

provide the same clinical benefits and same side effects.

       1093. The contract, combination and conspiracy among Defendants consisted of

a continuing course, pattern, and practice of conduct regarding the production, pricing,

marketing, and/or sale of generic drugs in violation of federal and state antitrust laws.

       1094. The course, pattern and practice of conduct described above included,

among other things, a continuing agreement, understanding, and concert of action among

Defendants, the substantial terms and purpose of which were one or more of the

following:

       (a)           To fix, stabilize, maintain, and/or raise prices of the Price-Fixed

Generic Drugs sold throughout the United States;

       (b)           To allocate customers, the volume of sales, and/or market shares of

the Price-Fixed Generic Drugs sold throughout the United States;

       (c)           To control the production and/or sale of the Price-Fixed Generic

Drugs throughout the United States; and/or

       (d)           To earn supracompetitive profits on the price of the Price-Fixed

Generic Drugs sold throughout the United States that resulted from the collusion alleged

in this Complaint.




                                  342
                            PUBLIC VERSION
             REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 348 of 367




         1095. In order to formulate and effect the foregoing illegal combination and

conspiracy, Defendants engaged in one or more of the following overt acts (including

those overt acts alleged above in this Complaint):

         (a)          They agreed to exchange, and did exchange, current and future

price information about the Price-Fixed Generic Drugs sold throughout the United

States, including the prices quoted or charged for the sale of the Price-Fixed Generic

Drugs;

         (b)          They agreed to coordinate, and did coordinate, price levels, price

terms, and/or price movements for sale of the Price-Fixed Generic Drugs sold throughout

the United States;

         (c)          They agreed on prices, price levels, and/or production levels of the

Price-Fixed Generic Drugs in the United States; and/or

         (d)          They agreed not to compete for certain customers or sales on certain

products sold throughout the United States.

         1096. Defendants entered into and refined their illegal combination and

conspiracy through, among other things, the overt acts described above, including,

without limitation, participating in conversations and meetings to discuss the prices of

the Price-Fixed Generic Drugs to be sold throughout the United States; participating in

conversations and attending meetings concerning implementation of and adherence to

their conspiracy; issuing price announcements and/or price quotations in accordance




                                    343
                              PUBLIC VERSION
               REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 349 of 367




with the conspiracy; and/or exchanging confidential information on the pricing and/or

sale of the Price-Fixed Generic Drugs.

       1097. As a result of this conspiracy in violation of federal and state laws, and

during the relevant time period:

       (a)           Price competition in the sale of the Price-Fixed Generic Drugs

throughout (and in each of) the United States has been restrained, suppressed, and

eliminated;

       (b)           Prices for the Price-Fixed Generic Drugs have been raised, fixed,

maintained and/or stabilized at artificially high and supracompetitive levels throughout

(and in each of) the United States, including the prices as paid by UHS and Pharmacy

Assignors; and

       (c)           UHS, Pharmacy Assignors, and others that paid for and/or

purchased Price-Fixed Generic Drugs have been deprived of the benefit of free and open

competition.

       1098. UHS and Pharmacy Assignors have been injured in their business or

property by reason of the Defendants’ antitrust violations in amounts not yet ascertained.

Having paid anticompetitive overcharges for the Price-Fixed Generic Drugs, their

injuries are of the type the antitrust laws were designed to prevent and flow from that

which makes the Defendants’ conduct unlawful.




                                  344
                            PUBLIC VERSION
             REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 350 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 351 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 352 of 367
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 353 of 367
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 354 of 367




Defendants’ officers, agents, employees, or representatives while actively engaged in the

management of Defendants’ affairs.

          1106. The anticompetitive acts by Defendants and their co-conspirators had, and

continues to have, a substantial and foreseeable effect on interstate commerce by

artificially raising and fixing prices for the generic drugs at issue throughout the United

States.

          1107. As a proximate result of Defendants’ unlawful conduct, UHS and

Pharmacy Assignors have been harmed by being forced to pay artificially inflated, supra-

competitive prices for generic drugs in the United States.

          1108. UHS and Pharmacy Assignors have been injured and will continue to be

injured in their business and property by paying more for the generic drugs at issue than

in the absence of Defendants’ unlawful conduct.

          1109. UHS, by virtue of its assignments from Pharmacy Assignors, seeks and is

entitled to treble damages under Section 4 of the Clayton Act, 15 U.S.C. § 15, for all

overcharges proximately caused by the antitrust violation(s) alleged above.          Such

damages have been suffered in an amount to be proven at trial.

          1110. UHS is separately and further entitled, under Section 16 of the Clayton

Act, 15 U.S.C. § 26, to an injunction against Defendants, restraining and preventing the

violations alleged in this Complaint, as well as attorneys’ fees and costs, and all other

forms of relief available under federal law.




                                 349
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 355 of 367




                           SECOND CLAIM FOR RELIEF

                        Violation of Minnesota Antitrust Law
                           (Damages, All UHS Payments)

       1111. Plaintiff incorporates by reference the allegations in all preceding

paragraphs.

       1112. As set forth above, each of the Defendants has engaged and participated in

one or more contracts, combinations, and/or conspiracies to artificially inflate prices for

generic drugs throughout the United States, including as paid in Minnesota.

       1113. Each Defendant’s conduct violated, and continues to violate, Minnesota

Antitrust Law, Minn. Stat. §§ 325D.49, et seq., as an unreasonable restraint of trade.

Defendants’ conduct is per re unlawful under the Minnesota Antitrust Law.

       1114. As set forth above, as well as in the State AGs’ Complaints, a substantial

number of significant events including meetings and other acts establishing and

furthering the Defendants’ unlawful agreements took place and were performed in the

State of Minnesota.     Numerous such events and acts were further organized and

participated in by Defendants’ employees and representatives who reside in the State of

Minnesota, and numerous communications central to and effectuating and/or furthering

the conspiracies alleged in this Complaint were sent from and/or received in Minnesota.

See, e.g., supra §§ VIII, IX.




                               350
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
        Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 356 of 367




          1115. In addition, at all relevant times, UHS, 26 a Minnesota corporation

 headquartered in Minnesota, was contractually responsible for the payments for the

 Price-Fixed Generic Drugs dispensed to UnitedHealthcare Insureds.           UHS entered

 agreements with PBMs, pursuant to which UHS was, and is, responsible for paying

 PBMs for pharmaceutical drugs, including the Price-Fixed Generic Drugs prescribed and

 dispensed to UnitedHealthcare Insureds throughout the United States. UHS entered

 these contracts, received invoices, and ensured and administered for payment pursuant

 thereto in amounts totaling several billion dollars for the Price-Fixed Generic Drugs at

 its headquarters in Hennepin County, Minnesota. Employees involved with making,

 processing, and managing payments to the PBMs for UnitedHealthcare Insured’s claims

 for the Price-Fixed Generic Drugs work and reside in Minnesota. Likewise, employees

 with knowledge of UHS’s agreements and payment relationships work and reside in

 Minnesota.

          1116. The distribution scheme employed by Defendants involves contracting

 with distributors and/or retailers. Through their relationship with the distributors and/or

 retailers who sold the Price-Fixed Generic Drugs, Defendants were able to ensure sales

 of the Price-Fixed Generic Drugs to UnitedHealthcare Insureds nationwide, paid for by

 UHS.




26
     As used in this paragraph, UHS refers to the entity United HealthCare Services, Inc.
                                              351
                                    PUBLIC VERSION
             REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
        Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 357 of 367




         1117. During the relevant period, through either Defendants themselves or the

regional and national distributors and retailers that Defendants have engaged for the sale

of the Price-Fixed Generic Drugs, many millions of dollars’ worth of the Price-Fixed

Generic Drugs have been, and continue to be, sold and/or paid for in Minnesota each

year.

         1118. The anticompetitive acts by Defendants and their co-conspirators had, and

continue to have, a substantial and foreseeable effect on Minnesota commerce by

artificially raising and fixing prices for the generic drugs at issue, as were paid in, and/or

out from, Minnesota, and otherwise injuring corporations and persons located in

Minnesota.

         1119. Defendants’ unlawful activities, as described in this Complaint, affected

both intrastate commerce in Minnesota and interstate commerce flowing in to or out from

Minnesota, and had direct, substantial and reasonably foreseeable effects upon trade and

commerce in Minnesota.

         1120. As a proximate result of Defendants’ violation of Minnesota Antitrust

Law, UHS has been harmed by being forced to pay artificially inflated, supra-

competitive prices for generic drugs dispensed to insureds throughout the United States,

and UHS has suffered damages in an amount to be proven at trial.

         1121. UHS has been injured and will continue to be injured in its business and

property by paying more for the generic drugs at issue than in the absence of Defendants’

unlawful conduct in violation of Minnesota Antitrust Law.


                                 352
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 358 of 367




        1122. In light of the foregoing, and other facts to be learned and developed

through discovery and/or proved at trial, Plaintiff seeks treble damages under Minnesota

law for all overcharges incurred and paid by UHS as a result of Defendants’ conduct, as

well as attorneys’ fees and costs, and all other forms of relief available under Minn. Stat.

§ 325D.49, et seq.

                            THIRD CLAIM FOR RELIEF

       Violation of Various State Antitrust and Consumer Protection Statutes
         (Damages/Monetary Relief for UHS Payments, In the Alternative)

        1123. Plaintiff incorporates by reference the allegations in ¶¶ 1 through 1110.

        1124. This claim for relief is pleaded in the alternative to the Second Claim for

Relief, in the event that the Court disagrees that UHS’s statutory claims for damages

and/or monetary relief for all payments made for drugs dispensed to UnitedHealthcare

Insureds are governed by Minnesota.

        1125. By engaging in the conduct alleged above, each of the Defendants has

entered into one or more contracts, combinations, or conspiracies in restraint of trade

violating the antitrust and competition statutes of each the following States and

territories:

               (a)   Alabama: Ala. Code §§ 6-5-60, et seq.; §§ 8-10-1, et seq.

               (b)   Arizona: Ariz. Rev. Stat. Ann. §§ 44-1401, et seq.

               (c)   California: Cal. Bus. Code §§ 16700, et seq.

               (d)   Connecticut: Conn. Gen. Stat. Ann. § 35-24, et seq.

               (e)   District of Columbia: D.C. Code Ann. §§ 28-4501, et seq.
                                353
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 359 of 367




      (f)   Hawaii: Haw. Rev. Stat. §§ 480-1, et seq.

      (g)   Illinois: 740 Ill. Comp. Stat. 10/1, et seq.

      (h)   Iowa: Iowa Code §§ 553.1, et seq.

      (i)   Kansas: Kan. Stat. Ann. §§ 50-101, et seq.

      (j)   Maine: Me. Rev. Stat. Ann. 10, §§ 1101, et seq.

      (k)   Maryland: Md. Code, Com. Law § 11-204, et seq.

      (l)   Michigan: Mich. Comp. Laws Ann. §§ 445.771, et seq.

      (m)   Minnesota: Minn. Stat. §§ 325D.49, et seq.

      (n)   Mississippi: Miss. Code Ann. §§ 75-21-1, et seq.

      (o)   Nebraska: Neb. Code Ann. §§ 59-801, et seq.

      (p)   Nevada: Nev. Rev. Stat. Ann. §§ 598A.010, et seq.

      (q)   New Hampshire: N.H. Rev. Stat. §§ 356:1, et seq.

      (r)   New Mexico: N.M. Stat. Ann. §§ 57-1-1, et seq.

      (s)   New York: New York Gen. Bus. Law §§ 340, et seq.

      (t)   North Carolina: N.C. Gen. Stat. §§ 75-1, et seq.

      (u)   North Dakota: N.D. Century Code §§51-08.1-01, et seq.

      (v)   Oregon: Or. Rev. Stat. §§ 646.705, et seq.

      (w)   Puerto Rico: 10 L.P.R.A. §§ 257, et seq.

      (x)   Rhode Island: R.I. Gen. Laws §§ 6-36-1, et seq.

      (y)   South Dakota: S.D. Codified Laws §§ 37-1-3.1, et seq.

      (z)   Tennessee: Tenn. Code Ann. §§ 47-25-101, et seq.


                         354
                   PUBLIC VERSION
    REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
      Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 360 of 367




               (aa)   Utah: Utah Code §§ 76-10-3101, et seq.

               (bb)   Vermont: Vt. Stat. Ann. 9, §§ 2453, et seq.

               (cc)   West Virginia: W. Va. Code §§ 47-18-1, et seq.

               (dd)   Wisconsin: Wis. Stat. §§ 133.03, et seq.

       1126. The conduct of each of the Defendants further constitutes unfair

competition or unfair, unlawful, unconscionable, deceptive, and/or fraudulent acts or

practices in violation of the consumer protection statutes of each the following States and

territories:

               (a)    Alaska: Alaska Stat. §§ 45.50.471, et seq.

               (b)    Arkansas: Ark. Code §§ 4-88-101, et seq.

               (c)    California: Cal. Bus. & Prof. Code §§ 17200, et seq.

               (d)    Colorado: Colo. Rev. Stat. §§ 6-1-101, et seq.

               (e)    Delaware: 6 Del. Code § § 2511, et seq.

               (f)    District of Columbia: D.C. Code §§ 28-3901, et seq.

               (g)    Florida: Fla. Stat. §§ 501.201, et seq.

               (h)    Georgia: Ga. Code Ann. §§ 10-1-370, et seq.; §§ 10-1-390, et seq.

               (i)    Hawaii: Haw. Rev. Stat. §§ 480-1, et seq.

               (j)    Massachusetts: Mass. Gen. Laws, Ch. 93A, §§ 1, et seq.

               (k)    Michigan: Mich. Compiled Laws §§ 445.903, et seq.

               (l)    Minnesota: Minn. Stat. §§ 325D.43, et seq.

               (m)    Missouri: Mo. Rev. Stat. §§ 407.010, et seq.


                                355
                          PUBLIC VERSION
           REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 361 of 367




             (n)     Montana: Mont. Code, §§ 30-14-103, et seq.; §§ 30-14-201, et seq.

             (o)     Nebraska: Neb. Code Ann. §§ 59-1601, et seq.

             (p)     Nevada: Nev. Rev. Stat. § 598.0903, et seq.

             (q)     New Hampshire: N.H. Rev. Stat. §§ 358-A, et seq.

             (r)     New Jersey: N.J. Stat. § 56:8-1, et seq.

             (s)     New Mexico: N.M. Stat. Ann. §§ 57-12-1, et seq.

             (t)     New York: New York Gen. Bus. Law §§ 349, et seq.

             (u)     North Carolina: N.C. Gen. Stat. §§ 75-1.1, et seq.

             (v)     North Dakota: N.D. Century Code §§ 51-15-01, et seq.

             (w)     Rhode Island: R.I. Gen. Laws § 6-13.1-1, et seq.

             (x)     South Carolina: S.C. Code Ann. § 39-5-10, et seq.

             (y)     South Dakota: S.D. Codified Laws §§ 37-24-1, et seq.

             (z)     Utah: Utah Code §§ 13-5-1, et seq.

             (aa)    Vermont: Vt. Stat. Ann. 9, §§ 2451, et seq.

             (bb)    Virginia: Va. Code Ann. § 59.1-196, et seq.

             (cc)    West Virginia: W. Va. Code §§ 46A-6-101, et seq.

             (dd)    Wisconsin: Wis. Stat. §§ 100.18, et seq.

       1127. The unlawful acts by Defendants and their co-conspirators had, and

continue to have, a substantial and foreseeable effect on the commerce of each above

State and territory by artificially raising and fixing prices for the generic drugs at issue

as sold, paid for, and/or dispensed in each State or territory.


                               356
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 362 of 367




       1128. Defendants’ unlawful activities, as described in this Complaint, affected

both intrastate commerce and interstate commerce flowing in to or out from each of the

above States and territories, and had direct, substantial and reasonably foreseeable effects

upon trade and commerce in each respective State or territory.

       1129. During the relevant period, through either Defendants themselves or the

regional and national distributors and retailers that Defendants have engaged for the sale

of the Price-Fixed Generic Drugs, many millions of dollars’ worth of the Price-Fixed

Generic Drugs have been, and continue to be, sold in each of the above States and

territories every year.

       1130. As a direct and proximate result of Defendants’ violation of each of the

foregoing laws, UHS has been harmed by being forced to pay artificially inflated, supra-

competitive prices for generic drugs dispensed to insureds throughout the United States,

and UHS has suffered damages in an amount to be proven at trial.

       1131. There was and is a gross and unconscionable disparity between the price

that UHS paid and continues to pay for the generic drugs at issue, and the value received,

given that more cheaply priced generic drugs should have been available, and would have

been available, absent Defendants’ illegal conduct.

       1132. UHS has been injured and will continue to be injured in its business and

property by paying more for the generic drugs at issue than in the absence of Defendants’

unlawful conduct and violation of the foregoing laws.




                               357
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 363 of 367




      1133. Defendants’ conduct in violation of each of the foregoing laws was done

knowingly, willfully, and flagrantly.

      1134. In light of the foregoing, and other facts to be learned and developed

through discovery and/or proved at trial, Plaintiff seeks damages, trebled or multiplied

to the full extent permitted by each of the foregoing States and territories, for all

overcharges incurred and paid by UHS as a result of Defendants’ conduct, restitution, as

well as attorneys’ fees and costs, and all other forms of relief available.

                           FOURTH CLAIM FOR RELIEF

                                Unjust Enrichment
                       (UHS and Pharmacy Assignor Payments)

      1135. Plaintiff incorporates by reference the allegations in ¶¶ 1 through 1100.

      1136. To the extent required, this claim is pleaded in the alternative to the other

claims and/or causes of action in this Complaint.

      1137. Defendants have unlawfully benefited from their sales because of the

unlawful and inequitable acts alleged in this Complaint.           Defendants unlawfully

overcharged UHS and Pharmacy Assignors, who paid for the Price-Fixed Generic Drugs

at prices that were more than they would have been but for Defendants’ unlawful actions.

      1138. Defendants’ financial benefits resulting from their unlawful and

inequitable acts are traceable to overpayments by UHS and Pharmacy Assignors.

      1139. To their economic detriment, UHS and Pharmacy Assignors have

conferred upon Defendants an economic benefit, in the nature of profits resulting from

unlawful overcharges.
                               358
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 364 of 367




      1140. Defendants have been enriched by revenue resulting from unlawful

overcharges for the Price-Fixed Generic Drugs while UHS and Pharmacy Assignors have

suffered an impoverishment by the overcharges they paid for the Price-Fixed Generic

Drugs imposed through Defendants’ unlawful conduct. Defendants’ enrichment and the

impoverishment to UHS and Pharmacy Assignors are connected.

      1141. There is no justification for Defendants’ retention of, and enrichment from,

the benefits they received, which caused an impoverishment to UHS and Pharmacy

Assignors, having paid supracompetitive prices that inured to Defendants’ benefit, and it

would be inequitable for Defendants to retain any revenue gained from their unlawful

overcharges.

      1142. UHS and Pharmacy Assignors did not interfere with Defendants’ affairs in

any manner that conferred these benefits upon Defendants.

      1143. The benefits conferred upon Defendants were not gratuitous, in that they

constituted revenue created by unlawful overcharges arising from Defendants’ illegal

and unfair actions to inflate the prices of the Price-Fixed Generic Drugs.

      1144. The benefits conferred upon Defendants are measurable, in that the

revenues Defendants have earned due to their unlawful overcharges of the Price-Fixed

Generic Drugs are ascertainable by review of sales and/or payment records.

      1145. As to payments by UHS, it would be futile for UHS to seek a remedy from

any party with whom they have privity of contract.            Defendants have paid no




                               359
                         PUBLIC VERSION
          REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 365 of 367




consideration to any other person for any of the unlawful benefits they received indirectly

from UHS with respect to Defendants’ sales of the Price-Fixed Generic Drugs.

      1146. As to payments by UHS, it would be futile for UHS to seek to exhaust any

remedy against the immediate intermediary in the chain of distribution from which they

indirectly purchased or paid for the Price-Fixed Drugs, as the intermediaries are not liable

and cannot reasonably be expected to compensate UHS for Defendants’ unlawful

conduct.

      1147. The economic benefit of overcharges and monopoly profits derived by

Defendants through charging supracompetitive and artificially inflated prices for the

Price-Fixed Generic Drugs is a direct and proximate result of Defendants’ unlawful

practices.

      1148. The financial benefits derived by Defendants rightfully belong to UHS,

because UHS and its Pharmacy Assignors paid supracompetitive prices during the

relevant period, inuring to the benefit of Defendants.

      1149. It would be inequitable under unjust enrichment principles of Minnesota,

or alternatively, all States and territories in the United States, except Ohio and Indiana,

for Defendants to be permitted to retain any of the overcharges for the Price-Fixed

Generic Drugs derived from Defendants’ unlawful, unfair and unconscionable methods,

acts, and trade practices alleged in this Complaint.




                                  360
                            PUBLIC VERSION
             REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 366 of 367




       1150. Defendants are aware of and appreciate the benefits bestowed upon them

by UHS and its Pharmacy Assignors. Defendants consciously accepted the benefits and

continue to do so as of the date of this filing.

       1151. Defendants should be compelled to disgorge in a common fund for the

benefit of UHS all unlawful or inequitable proceeds they received from their sales of the

Price-Fixed Generic Drugs.

       1152. A constructive trust should be imposed upon all unlawful or inequitable

sums received by Defendants traceable to the payments made by UHS and Pharmacy

Assignors for the Price-Fixed Generic Drugs.

       1153. UHS has no adequate remedy at law.

       1154. By engaging in the foregoing unlawful or inequitable conduct depriving

UHS of lower prices for the Price-Fixed Generic Drugs and forcing them to pay higher

prices for the Price-Fixed Generic Drugs, Defendants have been unjustly enriched in

violation of the common law of Minnesota, or alternatively, all States and territories in

the United States, except Ohio and Indiana.

XVII. PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for the following relief:

       A.      A jury verdict in the amount of all compensatory damages sustained as a

result of Defendants’ conduct.

       B.      A judgment against Defendants, jointly and severally, by the Court, in

treble the amount of the jury verdict, and for attorneys’ fees, costs, and interest.

                                 361
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
     Case 2:19-cv-00629-CMR Document 69 Filed 12/15/20 Page 367 of 367




       C.     A permanent injunction pursuant to Section 16 of the Clayton Act, 15

U.S.C. § 26, enjoining Defendants from future violations of the antitrust laws and from

practices which facilitate those violations.

       D.     Restitution and disgorgement.

       E.     Such other and further relief as the Court may deem just and proper.

                                    JURY DEMAND

       Plaintiff demands a trial by jury of all issues so triable.

Dated: December 15, 2020


 BOIES SCHILLER FLEXNER LLP                    ZELLE LLP
 Hamish P.M. Hume                              By: /s/ Judith A. Zahid
 Abby L. Dennis                                Judith A. Zahid
 1401 New York Ave, NW                         Eric W. Buetzow
 Washington, D.C. 20005                        ZELLE LLP
 Telephone: (202) 895-7580                     555 12th Street, Suite 1230
 hhume@bsfllp.com                              Oakland, CA 94607
 adennis@bsfllp.com                            Telephone: (415) 693-0700
                                               jzahid@zelle.com
 Duane L. Loft                                 ebuetzow@zelle.com
 BOIES SCHILLER FLEXNER LLP
 575 Lexington Avenue                          James R. Martin
 New York, NY 10022                            Jennifer Duncan Hackett
 Telephone: (212) 446-2300                     ZELLE LLP
 dloft@bsfllp.com                              1775 Pennsylvania Avenue, NW,
                                               Suite 375
                                               Washington, D.C. 20006
                                               Telephone: (202) 899-4100
                                               jmartin@zelle.com
                                               jhackett@zelle.com

 ATTORNEYS FOR PLAINTIFF
 UNITED HEALTHCARE SERVICES,
 INC.


                                 362
                           PUBLIC VERSION
            REDACTED PURSUANT TO MDL 2724 PROTECTIVE ORDER
